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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


    VIIV HEALTHCARE COMPANY,
    SHIONOGI & CO., LTD., and VIIV
    HEALTHCARE UK (NO. 3) LIMITED,           C.A. No. 1:18-cv-00224-CFC-CJB

                          Plaintiffs,        JURY TRIAL DEMANDED

                     v.

    GILEAD SCIENCES, INC.,
                                              PUBLIC VERSION
                          Defendant.


                LETTER DATED JUNE 11, 2020 FROM DANIEL M. SILVER, ESQ.
                           TO MAGISTRATE JUDGE BURKE

                                            MCCARTER & ENGLISH, LLP
    OF COUNSEL:
                                            Michael P. Kelly (#2295)
    John M. Desmarais                       Daniel M. Silver (#4758)
    Justin P.D. Wilcox                      Alexandra M. Joyce (#6423)
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    Alyssa B. Monsen                        Wilmington, DE 19801
    Lindsey E. Miller                       (302) 984-6300
    Kyle G. Petrie                          mkelly@mccarter.com
    Thomas J. Derbish                       dsilver@mccarter.com
    Julianne M. Thomsen                     ajoyce@mccarter.com
    DESMARAIS LLP
    230 Park Avenue                         Attorneys for Plaintiffs,
    New York, New York 10169                ViiV Healthcare Company, Shionogi & Co.,
    (212) 351-3400                          Ltd., and ViiV Healthcare UK (No. 3) Limited
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    jwilcox@desmaraisllp.com
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    jthomsen@desmaraisllp.com




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   Dear Magistrate Judge Burke:
           The two issues Gilead raises lack any basis in the record and should be denied. First, ViiV
   and its expert witness, Dr. Alan Engelman, complied with all the Rule 26 requirements and Gilead
   cannot identify any material that Dr. Engelman considered but did not disclose or any legitimate
   prejudice it suffered. Second, Dr. Engelman did not raise a new opinion during his deposition.
   I.A Rule 26 Violations Require Undisclosed Facts Or Data; Gilead Identifies None.
           Gilead incorrectly argues that Rule 26(a)(2)(B)(ii) required Dr. Engelman to reveal to
   Gilead

                                (Gilead Br. 1.) That rule requires no such thing. Instead, it states that
   “[t]he [expert’s] report must contain . . . the facts or data considered by the witness in forming [all
   opinions the witness will express].” The term “facts and data” refers to factual materials1 that an
   expert witness considered in forming his or her opinions. Dyson Tech. Ltd. v. Maytag Corp., 241
   F.R.D. 247, 251 (D. Del. 2007) (“Courts have defined the term ‘considered’ broadly to include
   materials that an expert reviews, reflects upon, reads, and/or uses.”); FED. R. CIV. P. 26 Advisory
   Committee’s Notes – 2010 Amendment (“the intention is that ‘facts or data’ be interpreted broadly
   to require disclosure of any material considered by the expert, from whatever source, that contains
   factual ingredients.”). In fact, Gilead fails to identify any case that has interpreted Rule 26 to
   include a per se requirement to disclose                               .
           Gilead does not—and cannot—point to any material that Dr. Engelman considered in
   forming his opinions but did not identify in his reports. Instead, Gilead attempts to manufacture a
   Rule 26 disclosure violation, arguing that Dr. Engelman’s reports are “misleading” because
                                                          . No Rule 26 violation occurred. Dr. Engelman
   disclosed all of the materials he relied on in forming his opinions                    . Those materials
   included confidential internal documents from Gilead’s production,
                                                                     —documents that Dr. Engelman did
   not have access to                       . Those materials did not include, as Gilead suggests,
                                                 (Gilead Br. at 2.)
           Contrary to its sweeping allegations, Dr. Engelman did not seek to mislead Gilead. This is
   Dr. Engelman’s first engagement as an expert witness. Given his lack of litigation experience
                                                                                 , he did not think
                      was relevant to his opinions in this case. When Plaintiffs’ counsel learned a few
   days before his deposition that                                            , it did not disclose that fact
   because Dr. Engelman confirmed he had not relied upon                                         in forming
   his opinions here, and therefore, Rule 26 did not require any further disclosure.
           Dr. Engelman’s analysis                is consistent with the materials he considered where,
   having examined Gilead’s internal documents, he found additional flaws that he was unaware of
                       . Those additional flaws are not inconsistent


                                                                             Thus, Gilead knew that Dr.
   Engelman was likely one of the peer-reviewers.



   1
       Emphasis has been added unless otherwise noted.
                                                   1

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   I.B Gilead Was Not Prejudiced By Dr. Engelman’s Omission And Its Requested Relief Is
        Disproportionate And Unrelated To The Alleged Violation.
           Even assuming that Rule 26 imposes a duty on experts to disclose
              (which it does not), Gilead has failed to identify any legitimate prejudice it has suffered.
   Gilead’s claim of prejudice based on its supposed inability to prepare for the deposition lacks any
   basis. (Gilead Br. 2.) Gilead’s assertions that it was merely “[b]y happenstance” that it asked Dr.
   Engelman                                                 and that it was “surprise[d]” by his answer
   (id. at 1-2), are belied by the fact that




                                   Critically, Gilead has failed to identify any additional information it
   requires to test Dr. Engelman’s opinions. And, as it notes, Gilead is free to cross-examine Dr.
   Engelman on these issues at trial. See W.L. Gore & Assocs. v. C.R. Bard, Inc., No. 11-515-LPS-
   CJB, 2015 WL 12806484, at *5–6 (D. Del. Sept. 25, 2015) (concluding that prejudice was cured
   by deposing and cross-examining expert); Gicla v. United States, 572 F.3d 407, 412 (7th Cir. 2009)
   (concluding that disclosure of additional materials was “correct[ed]” by “cross-examin[ing] [the
   expert] on [those materials]”); Logan v. Harrah’s Atl. City Operating Co., LLC, No. 1:16-cv-
   03380-NLH-KMW, 2018 WL 4489671, at *1 n.3 (D.N.J. Sept. 19, 2018) (concluding that a
   “discrepancy” between an expert’s testimony and the materials considered “seems more fodder for
   cross-examination . . . than it does an uncurable and prejudicial violation of Rule 26.”). Because
   Gilead suffered no prejudice, its requested relief finds no basis in the record and should be denied.
            Moreover, the sanctions that Gilead seeks are both inappropriate and disproportionate to
   the alleged harm. Adverse jury instructions are typically ordered as a result of spoliation or failure
   to produce requested discovery. See e.g., Samsung Elecs. Co. v. Nvidia Corp., 314 F.R.D. 190, 203
   (E.D. Va. 2016) (explaining adverse inferences are “typically given in spoliation cases” so that
   “the jury may infer that absent evidence is favorable to a party”); Staley v. U.S. Bank Nat’l Ass’n,
   No. 1:10–cv–00591–BLW, 2013 WL 331271, at *5 (D. Idaho Jan. 29, 2013) (instructing jury on
   negative inference from the failure to produce certain documents). There is no such allegation here,
   and                                                                            and was free to cross-
   examine him on them—but chose not to—Gilead’s request is unwarranted.
   II. Dr. Engelman Did Not Raise Any New Opinions In His Deposition.
            Dr. Engelman did not, as Gilead suggests, provide “new opinions” on the Smith 2018
   article during his deposition. (Gilead Br. 2.) Dr. Engelman has consistently opined that Smith 2018
   is not reliable because the article is riddled with errors and misconceptions. (Ex. D ¶¶412-443; Ex.
   E ¶¶79-81.) When asked about those opinions, Dr. Engelman offered reasons why he believed the
   publication was flawed, including that some of the data cited in the paper was nearly a decade old.
   (Ex. C, 77:17-82:5.) Dr. Engelman’s statements were not new opinions but “consistent and
   appropriate elaborations of [his] prior opinions and statements.” Dow Chem. Co. v. Nova Chems.
   Corp. (Canada), No. 05–737–JJF, 2010 WL 2044931, at *2 (D. Del. May 20, 2010). Gilead chose
   not to ask any follow-up questions despite having over 2 hours left on the deposition clock,
   negating any claim of prejudice. (Ex. C, 82:6-9; 117:22-118:1; 188:10-13; 236:21-25.) Striking
   these statements would be an “extreme sanction” not warranted in this case. B. Braun Melsungen
   AG v. Terumo Med. Corp., 749 F. Supp. 2d 210, 221 (D. Del. 2010); Meyers v. Pennypack Woods
   Home Ownership Ass’n, 559 F.2d 894, 905 (3d Cir. 1977).
                                                       2

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   Respectfully submitted,
   /s/ Daniel M. Silver
   Daniel M. Silver (#4758)


   cc:     All Counsel of Record (via CM/ECF and electronic mail)




                                                 3

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                      EXHIBIT A
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                    EXHIBIT B
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      1          IN THE UNITED STATES DISTRICT COURT
      2             FOR THE DISTRICT OF DELAWARE
      3                        - - -
      4
              VIIV HEALTHCARE        :                   CIVIL ACTION
      5       COMPANY, SHIONOGI &    :
              CO., LTD., and VIIV    :                   NO.
      6       HEALTHCARE UK (NO. 3)  :                   1:18-cv-00224
              LIMITED,               :                   -CFC
      7                              :
                    Plaintiffs,      :
      8                              :
                    v.               :
      9                              :
              GILEAD SCIENCES, INC., :
     10                              :
                    Defendant.       :
     11
                           -                                   -
     12
     13                       - - -
     14                    June 2, 2020
     15                       - - -
     16                   Videotaped deposition of
            DOUGLAS D. RICHMAN, M.D., taken pursuant
     17     to notice, was held via Zoom
            videoconferencing, beginning at 8:28 a.m.
     18     PST, on the above date, before Michelle
            L. Gray, a Registered Professional
     19     Reporter, Certified Shorthand Reporter,
            Certified Realtime Reporter, and Notary
     20     Public.
     21                       - - -
     22             GOLKOW LITIGATION SERVICES
                877.370.3377 ph | 917.591.5672 fax
     23                   deps@golkow.com
     24
     25

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                                              Page 2                                            Page 4
     1   ZOOM VIDEOCONFERENCE APPEARANCES:              1            - - -
     2                                                  2            INDEX
     3    DESMARAIS, LLP                                3            - - -
          BY: JUSTIN P.D. WILCOX, ESQ.                  4
     4    BY: LINDSEY E. MILLER, ESQ.
          BY: ALYSSA B. MONSEN, ESQ.                        Testimony of:
                                                        5
     5    230 Park Avenue
          New York, New York 10169                                 DOUGLAS D. RICHMAN, M.D.
     6    (212) 351-4905                                6
          jwilcox@desmaraisllp.com                              By Mr. Wilcox         9
     7    lmiller@desmaraisllp.com                      7
          amonsen@desmaraisllp.com                      8
     8    Representing the Plaintiffs                   9
     9
                                                       10
          BARTLIT BECK, LLP
    10    BY: REBECCA T. HORWITZ, ESQ.
                                                       11            - - -
          BY: J. SCOTT MCBRIDE, ESQ.                   12           EXHIBITS
    11    BY: MADELINE LANSKY, ESQ.                    13            - - -
          BY: MATTHEW R. FORD, ESQ.                    14
    12    Courthouse Place                             15   NO.      DESCRIPTION         PAGE
          54 West Hubbard Street, Suite 300            16   Richman-1 Notice of Deposition 31
    13    Chicago, Illinois 60654                      17   Richman-2 Expert Report of     31
          (312) 494-4400                                          Douglas D. Richman, M.D.
    14    rebecca.horwitz@bartlitbeck.com
          scott.mcbride@bartlitbeck.com
                                                       18         1/9/20
    15    madeline.lansky@bartlitbeck.com              19   Richman-3 Materials Considered 31
          matt.ford@bartlitbeck.com                               1/9/20
    16    Representing the Defendant                   20
    17                                                      Richman-4 Supplemental Rebuttal 31
    18
    19
                                                       21         Expert Report of
    20                                                            Douglas D. Richman, M.D.
    21
                                                       22         3/25/20
    22
                                                       23   Richman-5 Errata to 1/9/20   31
    23                                                            Expert Report
    24                                                 24
    25                                                 25

                                      Page 3                                                    Page 5
     1    ZOOM VIDEOCONFERENCE APPEARANCES:             1            - - -
          (Cont'd.)                                     2       E X H I B I T S (Cont'd.)
     2
                                                        3
                                                        4
                                                                     - - -
     3    ALSO PRESENT:                                 5   NO.      DESCRIPTION            PAGE
     4                                                  6   Richman-6 Exhibit A           166
          Mark Rachlin, Esq.                                      Acknowledgement and
     5    Tom Smith, Esq.
                                                        7         Agreement to be Bound
                                                        8   Richman-7 Letter, 5/21/20      167
          (GSK)                                                   From Horwitz to Miller
     6                                                  9
     7    Andrew Zoltan, Esq.                               Richman-9 E-mail Thread         262
          (Shionogi, Inc.)
                                                       10         3/20/20
                                                                  Subject, HIV/AIDS 2019
     8                                                 11         Abstract
     9    Andrea Hutchison, Esq.                       12   Richman-10 2019 Update of the 289
          Andrew Kessel, Esq.                                     Drug Resistance
                                                       13         Mutations in HIV-1
    10    (Gilead)                                                (Wensing)
    11                                                 14
    12    VIDEOTAPE TECHNICIAN:                             Richman-11 2017 Update of the 282
           TJ (Thadd) Loebbaka
                                                       15         Drug Resistance
    13                                                 16
                                                                  Mutations in HIV-1
    14    LITIGATION TECHNICIAN:                            Richman-12 Project: HIV        127
           Jamey Johnson, FTI
                                                       17         Integrase Stand
           Steve Schwartz, FTI
                                                                  Transfer Inhibitor
    15                                                 18         INSTI
    16
                                                       19
                                                                  9/16/13
    17
                                                            Richman-17 E-mail Thread         192
    18                                                 20         1/30/19
    19                                                            No Subject
    20                                                 21         From Engelman to
    21                                                 22
                                                                  Richman
    22
                                                            Richman-18 Interim Week 48        155
    23                                                 23         Clinical Study Report
    24                                                            GS-US-380-1489
    25
                                                       24
                                                       25
                                                                  BICVIIVUS0031157-35

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                                               Page 6                                              Page 8
     1             - - -                                 1               - - -
     2        E X H I B I T S (Cont'd.)                  2           THE VIDEOGRAPHER: We are
     3             - - -
     4                                                   3       now on the record. My name is TJ
     5   NO.     DESCRIPTION         PAGE                4       Loebbaka, I'm a videographer and
     6   Richman-19 Interim Week 48   161
               Clinical Study Report                     5       certified remote deposition
     7         GS-US-380-1490                            6       operator for FTI Consulting.
               BICVIIVUS1492734-39
     8                                                   7           Today's date is June 2,
         Richman-20 Bictegravir Confers 47               8       2020. And the time is 8:28 a.m.
     9         Long-term Viral
               Suppression Against                       9       Pacific Daylight Time.
    10         Drug-Resistant Viruses                   10           This deposition is taking
               In Cell Culture
    11         (Cuadra-Foy)                             11       place via Cloud Video Services,
    12   Richman-22 Efficacies of     300               12       and the witness resides in La
               Cabotegravir and Bictegravir
    13         Against Drug-Resistant                   13       Jolla, California.
               HIV-1 Integrase Mutants                  14           This matter is in re Viiv
    14         (Smith)
    15   Richman-30 Bictegravir       246               15       Healthcare V Gilead in and for the
               Emtricitabine and                        16       U.S. District Court for the
    16         Tenofovir
               (Gallant)
                                                        17       District of Delaware.
    17                                                  18           Our deponent today is Doug
         Richman-32 Section 2.7    240                  19       Richman.
    18         Clinical Summary
               Summary of Clinical                      20           Counsel will be noted on the
    19         Efficacy                                 21       stenographic record.
               6/2/17
    20
    21
               BICVIIVUS0001176-64                      22           Our court reporter today is
    22                                                  23       Michelle Gray.
    23
    24
                                                        24           And counsel has agreed that
    25
                                                        25       the witness can be sworn in via
                                               Page 7                                              Page 9
     1           - - -                                   1        remote video.
     2        DEPOSITION SUPPORT INDEX                   2             Madam court reporter will
     3           - - -                                   3        now swear in the witness.
     4
                                                         4                - - -
     5   Direction to Witness Not to Answer
     6   PAGE LINE
                                                         5        ... DOUGLAS D. RICHMAN, M.D.,
         None.                                           6   having been first duly sworn, was
     7                                                   7   examined and testified as follows:
     8   Request for Production of Documents             8               - - -
     9   PAGE LINE                                       9              EXAMINATION
         None.                                          10              - - -
    10
    11   Stipulations
                                                        11   BY MR. WILCOX:
    12   PAGE LINE                                      12        Q. Good morning, Dr. -- Dr.
         None.                                          13   Richman. My name is Justin Wilcox, and
    13                                                  14   I'm with the law firm of Desmarais, LLP.
    14   Questions Marked                               15   I represent the plaintiffs in this matter
    15   PAGE LINE                                      16   that are ViiV Healthcare Company, ViiV
         None.
    16
                                                        17   Healthcare UK (No. 3) Limited, and
    17                                                  18   Shionogi.
    18                                                  19             Do you understand that
    19                                                  20   you're testifying here today in the
    20                                                  21   matter between -- and I'll call the
    21
    22
                                                        22   plaintiffs altogether ViiV. Do you
    23
                                                        23   understand you're testifying in the
    24                                                  24   matter of ViiV versus Gilead Sciences?
    25                                                  25        A. I do. Mm-hmm.
    Golkow Litigation Services                                                    Page: 3 (6 - 9)
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                                             Page 182                                            Page 184
     1            MS. HORWITZ: Objection.                1        A. No.
     2        Vague.                                     2        Q. When you're publishing a --
     3            THE WITNESS: Not original              3   strike that.
     4        lab research. I am part of the             4             When you're performing an
     5        IAS-USA mutations group guidelines         5   analysis that's going to go into a
     6        panel, and as a result of that,            6   scientific publication at some point,
     7        those papers include information           7   have you ever relied on an e-mail as a
     8        about INSTI drug resistance.               8   primary source for that analysis?
     9   BY MR. WILCOX:                                  9             MS. HORWITZ: Objection.
    10        Q. So you have not published a            10        Vague.
    11   single paper related to original research      11             THE WITNESS: I communicate
    12   on dolutegravir or bictegravir, correct?       12        all the time with colleagues and
    13        A. That's correct.                        13        collaborators by e-mail. But when
    14        Q. And you haven't published a            14        we publish a paper, we use
    15   scientific paper on original research          15        mutually agreed upon completed
    16   that you've conducted for other INSTIs,        16        data.
    17   correct?                                       17             But often my e-mail
    18            MS. HORWITZ: Objection.               18        exchanges with other people are
    19        Mischaracterizes prior testimony.         19        important for me to confirm or
    20            I -- Justin, can you hear             20        solidify my thoughts.
    21        me?                                       21   BY MR. WILCOX:
    22            MR. WILCOX: I think we're             22        Q. In any peer reviewed article
    23        frozen up --                              23   that you published, have you ever cited
    24            MS. HORWITZ: I think we may           24   to an e-mail?
    25        have -- I think we lost Doug.             25        A. So most journals won't let
                                             Page 183                                            Page 185
     1             MR. WILCOX: Can we go off             1   you cite something that isn't publicly
     2         the record?                               2   available. But infrequently people will
     3             MS. HORWITZ: TJ? Can we go            3   make a statement and say personal
     4         off the record?                           4   communication. But that is in
     5             THE VIDEOGRAPHER: We are              5   parentheses in the text, and not a
     6         currently off the video record.           6   scientific --
     7         The time is 12:52.                        7        Q. All right. So you typically
     8             (Short break.)                        8   don't cite to e-mails in a peer-reviewed
     9             THE VIDEOGRAPHER: We are              9   publications that you author, correct?
    10         back on the video record. The            10        A. You can't. The journals
    11         time is 12:59 p.m. Pacific               11   wouldn't admit it. You can only cite
    12         Daylight Time.                           12   publicly available material.
    13   BY MR. WILCOX:                                 13        Q. Are you familiar with ViiV's
    14         Q. Dr. Richman, before you               14   expert in this case, Dr. Engelman?
    15   left, we were talking about scientific         15        A. Yes, I am, mm-hmm.
    16   publications so I'd just like to follow        16        Q. How are you familiar with
    17   up on that.                                    17   Dr. Engelman outside of your work on this
    18             Have you published any               18   case?
    19   papers regarding original research on          19        A. Well, I've known of his work
    20   raltegravir?                                   20   for quite a few years. And I got to
    21         A. No, I have just used it as a          21   interact with him over the last maybe
    22   reagent in some original research.             22   three years as being on the scientific
    23         Q. And have you ever published           23   advisory board of this project run out of
    24   any papers involving original research on      24   Scripps in which he's a participant.
    25   elvitegravir?                                  25        Q. Do you consider Dr. Engelman
    Golkow Litigation Services                                            Page: 47 (182 - 185)
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                                              Page 186                                            Page 188
     1   to be honest?                                    1   reviewed any of the -- any of the
     2        A. Yes. He's an excellent                   2   articles that are involved in the case.
     3   scientist.                                       3        Q. Have you ever contacted
     4        Q. Do you have any questions                4   Dr. Engelman -- strike that.
     5   about Dr. Engelman's ethics?                     5            So previously you talked
     6        A. No. Why would I?                         6   about your work on this committee, and
     7        Q. Do you consider Dr. Engelman             7   perhaps that you interacted with
     8   to be one of the world's leading experts         8   Dr. Engelman, correct?
     9   in HIV virology?                                 9        A. Correct.
    10        A. Well, in integrase. I mean              10        Q. Outside of that interaction,
    11   HIV virology is a big area. And so              11   have you ever reached out to Dr. Engelman
    12   his -- we all have expertise in our own         12   about his expertise in HIV integrase?
    13   areas, either viruses or areas of               13        A. No.
    14   viruses. He's one of the top experts in         14        Q. So you never contacted him
    15   retroviral integrases.                          15   before by e-mail or anything prior to
    16        Q. So you'd agree that he's --             16   this past January?
    17   strike that.                                    17        A. I think we've exchanged a
    18            You'd agree that                       18   couple e-mails about asking him for
    19   Dr. Engelman is one of the world's              19   recommendations of people who might
    20   leading experts in HIV integrase,               20   review things for a journal I edit. But
    21   correct?                                        21   I have not communicated with him about
    22        A. Yes.                                    22   his basic science.
    23        Q. Now, have you reviewed any              23            Basically, his area of
    24   of Dr. Engelman's published research on         24   research is more basic than the
    25   HIV integrase outside of the context of         25   translational and clinical research that
                                              Page 187                                            Page 189
     1   this case?                                       1   I do.
     2        A. I haven't been a reviewer of             2             So although I've contributed
     3   his papers, if that's what you mean.             3   to integrase, our expertise are -- there
     4            But I definitely read                   4   is a lot -- there's some significant
     5   several of his papers.                           5   amount of overlap of our areas of
     6        Q. Yeah. I'm sorry. I'll be                 6   expertise.
     7   more clear.                                      7         Q. Where would you say the
     8            So outside of your work on              8   overlap in your expertise lies if we're
     9   this case, have you ever read of                 9   thinking of it in a diagram?
    10   Dr. Engelman's papers on HIV integrase?         10         A. We're both interested in how
    11        A. Yes.                                    11   integrase works and how drugs can inhibit
    12        Q. Did you find his research to            12   it.
    13   be thorough?                                    13         Q. When you said that his area
    14        A. Yes.                                    14   of research is more basic than the
    15        Q. Did you find it to be                   15   translational clinical research that you
    16   accurate?                                       16   do, what do you mean by that?
    17        A. Yes.                                    17         A. His research involves basic
    18        Q. Just a quick question about             18   biochemistry and structural biology. And
    19   peer reviewing. Have you ever served as         19   those are not -- those are the areas that
    20   a peer reviewer?                                20   do not overlap with what I do.
    21        A. Yes, I have.                            21         Q. So what are more of the
    22        Q. Did you run across any                  22   areas that you do?
    23   articles in your work on this case that         23         A. I do things like virus
    24   you peer reviewed previously?                   24   replication, pathogenesis, drug
    25        A. No. I have not peer                     25   resistance in the laboratory.
    Golkow Litigation Services                                             Page: 48 (186 - 189)
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                    EXHIBIT C
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      1          IN THE UNITED STATES DISTRICT COURT
      2             FOR THE DISTRICT OF DELAWARE
      3                        - - -
      4
              VIIV HEALTHCARE        :                   CIVIL ACTION
      5       COMPANY, SHIONOGI &    :
              CO., LTD., and VIIV    :                   NO.
      6       HEALTHCARE UK (NO. 3)  :                   1:18-cv-00224
              LIMITED,               :                   (CFC) (CJB)
      7                              :
                    Plaintiffs,      :
      8                              :
                    v.               :
      9                              :
              GILEAD SCIENCES, INC., :
     10                              :
                    Defendant.       :
     11
                           -                                   -
     12
     13                          - -    -
     14                    May 14, 2020
     15                       - - -
     16                   Videotaped deposition of
            ALAN ENGELMAN, PH.D., taken pursuant to
     17     notice, was held via Zoom
            videoconferencing, beginning at 9:56 a.m.
     18     EST, on the above date, before Michelle
            L. Gray, a Registered Professional
     19     Reporter, Certified Shorthand Reporter,
            Certified Realtime Reporter, and Notary
     20     Public.
     21                       - - -
     22             GOLKOW LITIGATION SERVICES
                877.370.3377 ph | 917.591.5672 fax
     23                   deps@golkow.com
     24
     25

    Golkow Litigation Services                                       Page: 1 (1)
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                                          Page 2                                             Page 4
     1   ZOOM VIDEOCONFERENCE APPEARANCES:          1            - - -
     2
     3     DESMARAIS, LLP
                                                    2            INDEX
           BY: JUSTIN P.D. WILCOX, ESQ.
                                                    3
                                                    4
                                                                 - - -
     4     BY: JOHN M. DESMARAIS, ESQ.
           BY: LINDSEY E. MILLER, ESQ.                  Testimony of:
     5     BY: JULIANNE M. THOMSEN, Ph.D., ESQ.     5
           230 Park Avenue                                        ALAN ENGELMAN, PH.D.
     6     New York, New York 10169                 6
           (212) 351-4905                                   By Mr. Mortara         9
     7     jwilcox@desmaraisllp.com                 7
           jdesmarais@desmaraisllp.com
     8     lmiller@desmaraisllp.com                         By Mr. Wilcox         291
           jthomsen@desmaraisllp.com                8
     9     Representing the Plaintiffs              9
    10                                             10
           BARTLIT BECK, LLP                       11
    11     BY: ADAM K. MORTARA, ESQ.                              - - -
           BY: REBECCA T. HORWITZ, ESQ.            12
    12     BY: MADELINE LANSKY, ESQ.
           Courthouse Place                                     EXHIBITS
    13     54 West Hubbard Street, Suite 300       13
           Chicago, Illinois 60654                                - - -
    14     (312) 494-4400                          14
           adam.mortara@bartlitbeck.com            15   NO.     DESCRIPTION          PAGE
    15     rebecca.horwitz@bartlitbeck.com
           madeline.lansky@bartlitbeck.com
                                                   16   Engelman-6 E-mail Thread     237
    16                                                        12/13/19
             - and -                               17         Subject, HIV/HIV AIDS
    17                                             18   Engelman-7 E-mail Thread     225
           BARTLIT BECK, LLP                                  3/20/20
    18     BY: MEG E. FASULO, ESQ.                 19         Subject, HIV/AIDS 2019
           BY: JOHN M. HUGHES, ESQ.
    19     1801 Wewatta Street                     20
                                                              Abstract
           Suite 1200
    20     Denver, Colorado 80202                       Engelman-9 Structural Basis     88
           (303) 592-3100                          21         Of Second Generation
    21     meg.fasulo@bartlitbeck.com                         HIV Integrase
           john.hughes@bartlitbeck.com             22         (Cook)
    22     Representing the Defendant              23
    23
    24                                             24
    25                                             25

                                      Page 3                                                 Page 5
     1    ZOOM VIDEOCONFERENCE APPEARANCES:         1             - - -
          (Cont'd.)                                 2        E X H I B I T S (Cont'd.)
     2
                                                    3
                                                    4
                                                                  - - -
     3    ALSO PRESENT:                             5   NO.      DESCRIPTION             PAGE
     4                                              6   Engelman-11 Bictegravir Confers 211
          Mark Rachlin, Esq.                                   Long-Term Viral
     5    Tom Smith, Esq.
                                                    7          Suppression Against
                                                               Drug Resistant
          (GSK)                                     8          Viruses in Cell Culture
     6
                                                    9
                                                               (Brenner)
     7    Andrew Zoltan, Esq.
          (Shionogi, Inc.)                              Engelman-13 Multifaceted HIV        69
                                                   10          Integrase Functionalities
     8                                                         And Therapeutic Strategies
     9    Andrea Hutchison, Esq.                   11          For their Inhibition
          Andrew Kessel, Esq.                      12
                                                               (Engelman)
    10    (Gilead)                                      Engelman-15 Dolutegravir Exhibits 244
    11                                             13          Significantly Slower
    12    VIDEOTAPE TECHNICIAN:                                Dissociation
           TJ (Thadd) Loebbaka
                                                   14          (Hightower)
                                                   15   Engelman-19 HIV-1 Integrase        104
    13                                                         Tetramers are the
    14    LITIGATION TECHNICIAN:                   16          Antiviral Target of
           Jamey Johnson, FTI                                  Pyridine Based
           Steve Schwartz, FTI
                                                   17          Allosteric Integrase
    15                                                         Inhibitors
    16                                             18          (Koneru)
    17                                             19   Engelman-24 Structural Basis for 111
                                                               Strand Transfer Inhibitor
    18                                             20          Binding to HIV Intasomes
    19
                                                   21
                                                               (Passos)
    20
    21                                                  Engelman-25 Efficacies of        57
                                                   22          Cabotegravir and Bictegravir
    22
                                                               Against Drug Resistant
    23                                             23          HIV-1 Integrase Mutants
    24
                                                   24
                                                               (Smith)
    25                                             25

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                                                    Page 6                                              Page 8
     1             - - -                                      1              - - -
     2        E X H I B I T S (Cont'd.)                       2           THE VIDEOGRAPHER: We are
     3             - - -
     4                                                        3       now on the record. My name is
     5   NO.     DESCRIPTION               PAGE               4       Tadd Loebbaka, videographer and
     6   Engelman-27 Bictegravir          244                 5       remote deposition operator for FTI
               Dissociation
     7         Half-Life from HIV-1                           6       Consulting. Today's date is
               (White)                                        7       May 14, and the time is 9:56 a.m.
     8
         Engelman-36 Retrovirology         127
                                                              8           This deposition is taking
     9         About, Affiliations                            9       place via cloud services and the
    10   Engelman-37 Retrovirology         130               10       witness resides in Hopkinton,
               Editorial Board                               11       Massachusetts.
    11
         Engelman-40 Exhibit A            19                 12           And this deposition is
    12         Curriculum Vitae                              13       taking place In Re: ViiV
               4/7/20
    13                                                       14       Healthcare Company versus Gilead
         Engelman-44 E-mail Thread         287               15       Sciences.
    14         11/1/10                                       16           Our deponent today is Dr.
               Subject, Paper
    15                                                       17       Alan Engelman.
         Engelman-45 Curriculum Vitae          19            18           Counsel will be noted on the
    16         9/10/18                                       19       stenographic record.
    17
    18                                                       20           Our court reporter today is
    19
    20
                                                             21       Michelle Gray and she will swear
    21
                                                             22       in the witness, and through an
    22                                                       23       agreement of counsel, it has been
    23
    24
                                                             24       agreed that the witness can be
    25                                                       25       sworn in remotely.
                                                    Page 7                                              Page 9
     1           - - -                                        1                 - - -
     2        DEPOSITION SUPPORT INDEX                        2            ... ALAN ENGELMAN, PH.D.,
     3           - - -                                        3        having been first duly sworn, was
     4
     5   Direction to Witness Not to Answer
                                                              4        examined and testified as follows:
     6   PAGE LINE                                            5                - - -
         134 9                                                6              EXAMINATION
     7   167 2                                                7                - - -
         272 18                                               8   BY MR. MORTARA:
     8
     9   Request for Production of Documents
                                                              9        Q. Great. Good morning,
    10   PAGE LINE                                           10   Dr. Engelman. How are you?
         None.                                               11        A. Good. Good morning.
    11                                                       12        Q. Where are you today exactly?
    12   Stipulations                                        13        A. I'm in my home in Hopkinton,
    13   PAGE LINE
         None.
                                                             14   Massachusetts.
    14                                                       15        Q. Do you understand that you
    15   Questions Marked                                    16   are under oath, sir?
    16   PAGE LINE                                           17        A. I do.
         None.                                               18        Q. What did you do to get ready
    17
    18
                                                             19   for today's deposition?
    19                                                       20        A. Well, I reviewed the reports
    20                                                       21   that I had previously written and
    21
    22
                                                             22   submitted. And I had some preparatory
    23
                                                             23   sessions with counsel from Desmarais,
    24
                                                             24   LLP.
    25                                                       25        Q. How many preparatory
    Golkow Litigation Services                                                         Page: 3 (6 - 9)
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                                               Page 10                                            Page 12
     1   sessions did you have?                           1   me are those three devices provided by
     2         A. I think over the last month             2   FTI Consulting.
     3   or two, we met approximately five or six         3        Q. Do you have any documents in
     4   times.                                           4   front of you?
     5         Q. For how many --                         5        A. I do. What I have with me
     6              MS. MILLER: Adam, can I --            6   is the three reports that I've penned.
     7         Adam, I hate to interrupt you              7   Those are referred to as my opening
     8         there, but apparently you need to          8   expert report dated November 15, 2019.
     9         let Justin, the defending attorney         9            Second is the reply expert
    10         back in --                                10   report dated February 5, 2020.
    11              MR. MORTARA: We'll stop              11            Third is the supplemental
    12         right now and we'll let him back          12   expert report dated April 9, 2020.
    13         in. Just, let's take time. And            13            These are the only documents
    14         John Hughes is trying to get in as        14   related to this case and the only
    15         well.                                     15   materials related to this case. And I'll
    16              (Whereupon, a discussion was         16   confirm these are printed documents that
    17         held off the record.)                     17   I have in my office.
    18   BY MR. MORTARA:                                 18        Q. When was the last time you
    19         Q. Sorry for the technical                19   received an electronic message from
    20   difficulties, Dr. Engelman. It's the            20   anyone on ViiV's legal team?
    21   first time for everybody, including you.        21        A. Electronic message? It
    22              MS. MILLER: And Steve,               22   would have been around 9:30 this morning.
    23         could you unmute Justin, please?          23   I would have received an e-mail. I
    24         Thank you.                                24   couldn't read that e-mail now, because I
    25              MR. MORTARA: Are we ready            25   don't have access to the worldwide web
                                               Page 11                                            Page 13
     1        to proceed?                                 1   right now in this office.
     2            THE VIDEOGRAPHER: You're                2        Q. Just the question was when.
     3        ready.                                      3   That's fine, Dr. Engelman.
     4            MR. MORTARA: Great.                     4            You talked about maybe five
     5   BY MR. MORTARA:                                  5   meetings with the ViiV legal team. About
     6        Q. Sorry, Dr. Engelman, for the             6   how long did each of those meetings last?
     7   delay. There may be a couple like that           7            MR. WILCOX: Counsel, has
     8   during the day.                                  8        the deposition started?
     9            Is anyone with you in the               9            MR. MORTARA: It did. Yes,
    10   room right now?                                 10        Mr. Wilcox. The deposition has
    11        A. No. I'm here by myself.                 11        started.
    12        Q. What devices do you have in             12            MR. WILCOX: Okay. Well, I
    13   front of you?                                   13        was outside of the room when
    14        A. I have the three devices                14        people were sworn in and
    15   that FTI Consulting had shipped to me.          15        appearances were made. So I'm
    16   And they are properly set up as verified        16        just checking. Thank you.
    17   by that company.                                17            MR. MORTARA: The one person
    18        Q. And where is your mobile                18        was sworn in. And Madam Court
    19   phone right now?                                19        Reporter confirmed that
    20        A. My mobile phone is in my                20        appearances will be appearing on
    21   kitchen.                                        21        her stenographic record, and they
    22        Q. Do you have an iPad near                22        were unnecessary.
    23   you?                                            23            May I proceed, Mr. Wilcox?
    24        A. The only computer or                    24            MR. WILCOX: You may
    25   electronics that I have in this room with       25        proceed, Mr. Mortara.
    Golkow Litigation Services                                                  Page: 4 (10 - 13)
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                                             Page 14                                               Page 16
     1   BY MR. MORTARA:                                1        A. I have not.
     2        Q. About how long did you meet            2        Q. As part of your scientific
     3   with ViiV's lawyers to prepare for             3   research, do you ever read transcripts of
     4   today's deposition?                            4   trials where other scientists have
     5        A. So we had, as I mentioned,             5   testified?
     6   about a half dozen meetings. They varied       6        A. Not as part of my scientific
     7   in length between approximately one hour       7   research. I have done that for this
     8   and as many as approximately seven hours.      8   case.
     9   I can testify that these prior two days        9        Q. Have you ever read a trial
    10   we spent near full days, I think perhaps      10   transcript where one of your peers has
    11   seven hours. It was on Tuesday, two days      11   given testimony?
    12   ago, and about six hours yesterday. But       12        A. Not to the best of my
    13   prior meetings, as mentioned, were one to     13   knowledge.
    14   two hours.                                    14        Q. I'm going to go ahead and
    15        Q. Do you generally consider a           15   put your CV into the shared folder. Of
    16   full day of work to be about seven hours?     16   course, it's attached to the expert
    17        A. That's close. I think I               17   reports. And there's various versions of
    18   would say full day of work is about eight     18   your CV. The one that I am going to be
    19   hours.                                        19   referring to is the one I believe you
    20        Q. During the deposition, as I           20   attached to your most recent report,
    21   think FTI will have instructed you, I         21   dated April 2020. I'm moving that into
    22   will be showing you documents on the          22   the shared folder now. I have it up on
    23   screen that is next to you.                   23   the screen. It's a copy of your CV.
    24            You can see hopefully right          24            Do you see that, sir?
    25   now what I've marked as Engelman              25        A. I do.
                                             Page 15                                               Page 17
     1   Deposition Exhibit 1. And we'll be             1        Q. This version of your CV is
     2   placing it in the exhibit -- digital           2   dated April 2020, correct?
     3   exhibit file later. But since you have         3        A. Correct.
     4   your own hard copy you can always look at      4        Q. Do you have any updates to
     5   it the old fashion way. But I'm just           5   your CV since then?
     6   confirming you can see on the screen the       6        A. I am sure I have minor
     7   front cover of your November 2019 expert       7   updates, yes, I do.
     8   report.                                        8        Q. Tell me what they are.
     9        A. I can confirm that I can see           9        A. I have served on thesis
    10   that.                                         10   defense exams. I have been recruited to
    11            And my understanding,                11   serve on qualifying exams for students.
    12   perhaps not for this demonstration, as I      12   I do not believe I have had a publication
    13   then will be able to drag that to a           13   added to my CV since this date. So they
    14   separate monitor and have the ability to      14   would be committee service, in particular
    15   view the exhibit in full.                     15   to Harvard Medical School.
    16        Q. That's exactly correct, if            16        Q. If you think of anything
    17   all goes well and according to plan.          17   during today's deposition that's an
    18            And as to this document I'm          18   update that you haven't mentioned, please
    19   happy to do it now since you have it in       19   let me know. Okay?
    20   paper in front of you. I am responsible       20        A. Okay.
    21   for the dragging. So if you don't have a      21        Q. If you would turn now to the
    22   document, please ask me. FTI is here to       22   Page 2 of the CV, other professional
    23   help if we need help with the technology.     23   positions.
    24            Dr. Engelman, have you ever          24            Do you see that?
    25   been deposed before?                          25        A. I do.
    Golkow Litigation Services                                                 Page: 5 (14 - 17)
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                                              Page 18                                                 Page 20
     1        Q. And down there you've got               1   been a consultant for ViiV Healthcare.
     2   some listings there. And here it says           2            Do you see that?
     3   that you've been a consultant for               3       A. I do.
     4   Desmarais, LLP since 2016.                      4       Q. Why did you tell us in 2018
     5            Do you see that?                       5   you were a consultant for ViiV, but then
     6        A. That's right.                           6   change it to be a consultant to ViiV's
     7        Q. You started working with                7   lawyers -- ViiV's lawyers later?
     8   ViiV's legal team in 2016, correct?             8       A. Thank you for the question.
     9        A. That's correct.                         9   One of the main interfaces I have with my
    10        Q. You have never done any                10   outside activity is the way in which I
    11   actual consulting for ViiV itself, have        11   report it to my employer, which is the
    12   you?                                           12   Dana-Farber Cancer Institute.
    13            MR. WILCOX: Objection.
    14        Ambiguous.
    15            THE WITNESS: I've worked
    16        directly with Desmarais, LLP, as
    17        they represent ViiV Healthcare
    18        Company.
    19   BY MR. MORTARA:
    20        Q. You've never done any actual
    21   scientific consulting for ViiV in a
    22   research and development capacity,
    23   correct?
    24        A. Correct.
    25        Q. Dr. Engelman, I am now going
                                              Page 19                                                 Page 21
     1   to place into the shared folder another
     2   version of your CV from earlier in time.
     3   And this one you may not have in front of
     4   you. It has been marked Engelman
     5   Exhibit 45.
     6            Is that in your shared
     7   folder that you can see, the admitted
     8   exhibits?
     9        A. I see it.
    10        Q. And you see that this is
    11   your CV dated September 10th, 2018,
    12   correct?
    13        A. Correct.
    14            (Document marked for
    15        identification as Exhibit
    16        Engelman-45.)
    17   BY MR. MORTARA:
    18        Q. I'd like to refer you to the           18   There's no set guidelines from my
    19   "Other professional positions" entry on        19   employer about this, beyond the fact I
    20   this CV.                                       20   have to report my outside activities.
    21            And Dr. Engelman, I'll
    22   represent, this is the CV that you
    23   provided us when you became -- when you
    24   went on the protective order in this
    25   case, and it says here, from 2016 you've
    Golkow Litigation Services                                                  Page: 6 (18 - 21)
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                                                        1   lawyers in connection with litigation
                                                        2   against Gilead, just this time in Canada,
                                                        3   correct?
                                                        4        A. I believe that's correct.
                                                        5        Q. And how much did you charge
                                                        6   the Bereskin & Parr ViiV legal team for
                                                        7   your work on that case?
                                                        8        A. I believe my hourly rate
                                                        9   there was 650 U.S. an hour. Unless it
                                                       10   was a travel day, I requested 750 U.S. an
                                                       11   hour.
                                                       12        Q. Why did you charge a
                                                       13   different rate for consulting services to
                                                       14   ViiV's lawyers north of the border,
                                                       15   versus consulting services on your
                                                       16   retention by the Desmarais firm?
                                                       17        A. Well, you can see two years
                                                       18   have passed between when I was retained
                                                       19   by these different law firms. As you are
                                                       20   well aware, cost of living increases go
                                                       21   up from year to year.
                                                       22        Q. And that's also been true
                                                       23   since 2007 through to 2016 or 2020,
                                                       24   correct?
                                                       25        A. That's correct.
                                             Page 23                                              Page 25
     1        Q. You are charging $500 an               1        Q. So it stands to reason that
     2   hour for your work plus expenses,              2   you charged Ambrilia Biopharma less than
     3   correct?                                       3   $500 an hour. Would that be fair to say?
     4        A. That's correct.                        4        A. I do not recall, as -- as
     5        Q. Has your hourly rate changed           5   testified what I charged Ambrilia
     6   at any point since you started working         6   Biopharma Incorporated. And I don't have
     7   for ViiV's lawyers or ViiV in 2016?            7   access to that paperwork right now.
     8        A. It has not.                            8        Q. About how much consulting
     9        Q. Name everyone else you have            9   did you do for Ambrilia Biopharma?
    10   ever charged $500 an hour for consulting      10        A. As noted on the document
    11   work.                                         11   that we're looking at, it was a couple
    12        A. Well, I think on the prior            12   days per year.
    13   version of the CV there was a -- there        13        Q. Have you ever worked for
    14   were two other companies listed. Here on      14   ViiV's lawyers, the Desmarais firm, on
    15   this version is Ambrilia Biopharma.           15   any cases other than this one?
    16   That's over ten years ago. I do not           16        A. No, I have not.
    17   recall the hourly rate that I had charged     17        Q. How much money have ViiV's
    18   back then. For the one you are about to       18   lawyers paid you for your work to date in
    19   pull up, Bereskin & Parr, LLP, I do           19   this case?
    20   not -- I did not charge them, I do not        20        A. Well, I've worked quite
    21   charge them $500 an hour. Do you want to      21   extensively on this case. You might be
    22   know how much I charge them?                  22   able to guess that based on the extent of
    23        Q. Well, first let's establish           23   the three reports I referred to.
    24   the Bereskin & Parr LLP consulting that       24            I think, my recollection to
    25   you did was also for a set of ViiV's          25   date is I've billed, over four years, or
    Golkow Litigation Services                                                Page: 7 (22 - 25)
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     1   close to four years, roughly 200 hours of       1        A. I have to testify that I
     2   work.                                           2   don't have the precise numbers in front
     3        Q. That's approximately 100 --             3   of me. But I would tend to agree with
     4   wait, hold on. 200 hours times $500 is          4   that assessment.
     5   $100,000. Is that about right, that's           5        Q. So Dr. Engelman, I want to
     6   your recollection?                              6   ask you a little bit about some of the
     7        A. That's my recollection,                 7   numbers here.
     8   since I began first working with them in        8            You told me earlier that you
     9   the fall of 2016.                               9   considered a full day of work to be seven
    10        Q. Let's talk about the                   10   or eight hours. Do you remember that?
    11   Canadian lawyers for ViiV, how much have       11        A. Yep.
    12   they paid you?                                 12        Q. And seven or eight hours a
    13        A. I billed significantly less            13   year for 2016, 2017, and 2018, four days
    14   hours to the Canadian lawyers. I don't         14   a year, which is what your CV says you
    15   think I've billed them since 2018. I           15   were doing. That's over 100 hours right
    16   don't recall the extent of hours that          16   there, isn't it?
    17   were billed. It would be significantly         17        A. 32 plus 32 plus 32, sounds
    18   less or much less. Maybe -- whatever --        18   about like 96 to me.
    19   whatever we said on the screen was two         19        Q. Well, 2016, 2017, 2018, you
    20   days a year. That seems about right. So        20   get 96 hours, right? And you're telling
    21   we established that a workday is about         21   me you spent 96 hours right up to 2019
    22   eight hours. I would say it would be           22   and then since then 104; is that right?
    23   approximately 10 to 16 hours that they         23        A. What's the date on the CV
    24   were billed since I started consulting         24   again?
    25   with them.                                     25        Q. This is your April 2020 CV
                                              Page 27                                              Page 29
     1        Q. Dr. Engelman, of the                    1   that you gave us last month where you
     2   approximately 200 hours you remember            2   told me you were spending four days a
     3   billing to the Desmarais firm on this           3   year working for Desmarais LLP.
     4   case, how many of those were in 2019?           4         A. So 2016 to 2020 encompasses
     5        A. I don't have that number in             5   five years. Five years times four days
     6   front of me. I would say out of the             6   equals 20 days. That seems to be
     7   200 hours I've billed, most of that has         7   approximately correct to me.
     8   been encompassed since I started to             8         Q. Dr. Engelman, is it your
     9   generate my opinion via writing my              9   testimony you didn't spend four days in
    10   opening report. It's not 100 percent of        10   2016 working for ViiV, you didn't spend
    11   the hours that I've billed. But I              11   four days in 2017, you spent the bulk of
    12   would -- I could -- I could fairly             12   those 20 days in 2019? And just for --
    13   accurately guess that it would be more         13   I'll withdraw the question.
    14   than half of all the 200 hours that I          14            You said you spent two full
    15   billed.                                        15   days preparing for this deposition. Plus
    16        Q. And when did you start                 16   the odd and end other hour, two-hour
    17   drafting your opening report, sir?             17   meetings, right?
    18        A. I started to draft my                  18         A. The CV in front of me is
    19   opening report at the end of summer 2019,      19   dated in April. It's not dated today.
    20   beginning of fall 2019.                        20         Q. My question is, you've spent
    21        Q. It's fair to say the                   21   a lot more than 20 days working for
    22   majority of the money that you have            22   ViiV's lawyers on this case, isn't that
    23   billed in this case began to be billed --      23   right?
    24   the majority of the money has been billed      24         A. This is my CV, it's a
    25   since the summer of 2019; is that right?       25   professional document. I am advised by
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     1   my university, where this CV is related         1   received payment for something close to
     2   to, it's called Harvard Medical School,         2   about 200 hours of billed services to
     3   to have an estimate of my time spent for        3   date.
     4   outside working practices.                      4        Q. And you got some additional
     5             It's not my understanding             5   amount, would you say maybe 20 to 30 more
     6   that this part of my CV has to be               6   that you haven't billed for yet?
     7   technically accurate based on any given         7        A. I think that sounds about
     8   day or year. It's an approximate of the         8   right, correct.
     9   amount of time I've spent over the years        9        Q. Have you ever received any
    10   working on this outside activity.              10   compensation that was not your hourly
    11             As mentioned, the way I do           11   rate or expenses for your work on this
    12   the math, I started in 2016. Today is          12   case?
    13   2020. And I approximated over that time        13        A. I have not.
    14   span, which is what the CV represents,         14        Q. Have you ever traveled with
    15   and I think the recording is accurate.         15   ViiV's lawyers anywhere at their expense?
    16         Q. You've already spent more             16        A. I have not.
    17   than four days working for ViiV in 2020,       17        Q. Have you applied for any
    18   isn't that right?                              18   research grants from ViiV?
    19         A. That sounds accurate.                 19        A. To the best of my
    20         Q. And my question was not               20   recollection, I have not.
    21   about the CV.                                  21        Q. Have you applied for any
    22             Is it accurate to say you've         22   research grants from GSK?
    23   worked significantly more than 20 days         23        A. To the best of my
    24   since you started working for ViiV's           24   recollection, I have not.
    25   lawyers in this case?                          25        Q. Have you applied to any
                                              Page 31                                               Page 33
     1        A. Well, you gave me a                     1   research grants from Shionogi?
     2   calculator. I have to do 200 divided by         2         A. To the best of my
     3   24.                                             3   recollection, I have not.
     4        Q. I can do that for you. 200              4         Q. Have you been provided any
     5   divided by 24 is 8.3.                           5   research materials or other in kind
     6        A. So I worked about 8.3 days.             6   assistance by ViiV, GSK or Shionogi?
     7   Oh, sorry. It's supposed to be 200              7         A. The research assistance, no,
     8   divided by 8? I apologize.                      8   I have not.
     9        Q. 200 divided by 8 is 25, sir.            9         Q. Your testimony is that you
    10        A. So 25 days is my testimony             10   have not been provided any research
    11   over four years of approximately the           11   materials or other kind of assistance by
    12   amount of time I have put into this case.      12   ViiV, GSK or Shionogi, correct?
    13        Q. It is your sworn testimony             13         A. My testimony here is I have
    14   that you have spent only approximately         14   received research materials from
    15   200 hours working for ViiV in this case;       15   Desmarais LLP.
    16   is that right?                                 16         Q. What research materials did
    17        A. That's, approximately -- I             17   you receive from Desmarais, LLP?
    18   think what I did in preparation for            18         A. I received documents that
    19   today's depositions I reviewed the amount      19   are tabulated in the Exhibit Bs of my
    20   of hours that I received reimbursement.        20   first two reports.
    21   And it's something less than 200. Since        21            Some of those documents, as
    22   I've been reimbursed for the last invoice      22   far as I understand, represent internal
    23   I provided, I have put more hours in.          23   documents obtained from Gilead as a
    24   But I didn't memorize those hours.             24   course of this case. And I received
    25             So my testimony is I have            25   those from lawyers at Desmarais, LLP.
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     1        Q. How much money did you make               1        A. I believe it would be.
     2   in 2019 from sources other than ViiV's            2        Q. You are not an expert in
     3   lawyers?                                          3   evaluating clinical studies, are you?
     4        A. So you're asking for my                   4            MR. WILCOX: Object to form.
     5   salary?                                           5            THE WITNESS: I am an expert
     6        Q. I'm asking for your total                 6        in HIV replication, HIV integrase
     7   income from 2019, other than the portion          7        and HIV integration. I surely can
     8   you received from ViiV's lawyers?                 8        read and understand published
                                                           9        clinical studies on the use of
                                                          10        integrase inhibitors in the
                                                          11        clinic.
                                                          12   BY MR. MORTARA:
                                                          13        Q. Has anyone ever asked you,
                                                          14   outside of the context of this case, to
                                                          15   evaluate a clinical trial?
                                                          16        A. No.
                                                          17        Q. You've never done that as
                                                          18   part of your regular work, have you?
    19        Q. Thank you, Dr. Engelman. I               19        A. That's correct.
    20   want to talk about your experience now.          20        Q. You're not an expert in
    21   You are not a medical doctor, are you?           21   designing clinical studies either, are
    22        A. That's correct. My advanced              22   you?
    23   degree is a Ph.D.                                23        A. I would agree with you.
    24        Q. You have never treated                   24        Q. You are not a medicinal
    25   patients, have you?                              25   chemist, correct?
                                                Page 35                                             Page 37
     1        A. That's correct.                           1        A. I have a working knowledge
     2        Q. You have never prescribed                 2   in medicinal chemistry as it applies to
     3   medicine, correct?                                3   inhibitors of HIV integrase. But I agree
     4        A. That's correct.                           4   my expertise is not broadly in medicinal
     5        Q. And that means that you have              5   chemistry.
     6   never once prescribed an antiviral                6        Q. You agree that your
     7   medication to a patient suffering from            7   expertise is not broadly in medicinal
     8   HIV, correct?                                     8   chemistry, correct?
     9        A. That's correct.                           9        A. That's correct.
    10        Q. You have never made a                    10        Q. You have never worked in a
    11   decision about whether a patient will or         11   pharmaceutical company engaged in drug
    12   will not respond to a particular HIV             12   discovery or drug development, have you?
    13   antiviral medication, have you?                  13        A. That's correct.
    14        A. That's correct.                          14        Q. You are not an expert in
    15        Q. You are not an expert in                 15   pharmacokinetics, correct?
    16   treating patients with drug-resistant            16        A. I have a working knowledge
    17   HIV, are you?                                    17   of pharmacokinetics, especially as it
    18        A. I am not an expert in                    18   applies to the opinions I was asked to
    19   treating patients, correct.                      19   make in this -- in my reports as they
    20        Q. Nor are you an expert in                 20   apply to experiments with in vitro
    21   treating patients with drug resistant            21   infection and replication of HIV. But I
    22   HIV, correct?                                    22   am not an expert in clinical
    23        A. That's correct.                          23   pharmacokinetics.
    24        Q. In fact, it would be illegal             24        Q. You are not an expert in
    25   for you to treat patients, wouldn't it?          25   clinical pharmacokinetics, correct?
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     1        A. I have a working knowledge             1   weeks ago?
     2   of pharmacokinetics.                           2       Q. Was your work two weeks ago
     3        Q. Would you agree that you are           3   on this case?
     4   not an expert in clinical                      4       A. It was not.
     5   pharmacokinetics?                              5       Q. Go ahead.
     6        A. I would agree that my
     7   expertise lies outside of clinical
     8   pharmacokinetics, but I have a working
     9   knowledge of it.
    10        Q. Have you ever been asked to
    11   render any opinions about
    12   pharmacokinetics outside of your work for
    13   the ViiV lawyers in this case?
    14        A. Could you clarify the
    15   question? Asked by whom?
    16        Q. Earlier I asked you whether
    17   anybody ever asked you to comment on a
    18   clinical trial outside of your work on
    19   this case. You said no. Have you ever
    20   been asked in your regular job to comment
    21   about clinical pharmacokinetics outside
    22   of your work on this case?
    23        A. I would -- I would probably
    24   have to say no there.
    25        Q. You've never performed a
                                              Page 39                                       Page 41
     1   pharmacokinetics research study, correct?
     2        A. Well, we have published in
     3   the area of pharmacokinetics as it
     4   applies to in vitro assays of HIV
     5   infection.
     6        Q. You've never performed a
     7   clinical pharmacokinetics research study,
     8   correct?
     9        A. That's correct. We've never
    10   performed a clinical pharmacokinetics
    11   research study.
    12        Q. You are not an expert in
    13   molecular modeling, correct?
    14        A. Well, I surely have a
    15   working knowledge of molecular modeling.
    16        Q. When was the last time you
    17   prepared any molecular modeling?
    18        A. It would have been about two
    19   weeks ago.
    20        Q. How many times have you
    21   prepared molecular modeling outside of
    22   your work on this case, sir?
    23        A. Well, I think molecular
    24   modeling is a broad term. Should I
    25   describe to you in detail what I did two
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                                                          2         Q. We'll come back to
                                                          3   Dr. Cherepanov in a little bit.
                                                          4            Who is Dr. Stephen Hughes?
                                                          5         A. Dr. Hughes is an
                                                          6   investigator at the National Cancer
                                                          7   Institute who I know fairly well. I
                                                          8   first met him in the 1980s when I was a
                                                          9   training graduate student and he was
                                                         10   already a -- probably a staff scientist
                                                         11   or an investigator at the National Cancer
                                                         12   Institute.
                                                         13         Q. And the National Cancer
                                                         14   Institute, that's part of the United
                                                         15   States National Institutes of Health,
                                                         16   correct?
                                                         17         A. That's correct.
                                                         18         Q. That's the health research
                                                         19   arm of the United States government,
                                                         20   correct?
                                                         21         A. I think it's one of the
                                                         22   health research arms of the United States
                                                         23   government. There's also the CDC; the
                                                         24   United States Army has a strong research
                                                         25   arm as well.
                                               Page 43                                              Page 45
                                                          1        Q. Dr. Tony Fauci works at the
     2        Q. Have you ever spoken to                  2   National Institute of Health, right?
     3   Dr. Cherepanov about this litigation?            3        A. Even I worked at the
     4        A. I have not spoken to                     4   National Institutes of Health between
     5   Dr. Cherepanov about any details of this         5   1990 and 1995.
     6   litigation.                                      6        Q. And you don't work there
                                                          7   today, do you, sir?
                                                          8        A. That's correct.
                                                          9        Q. Dr. Tony Fauci works there
                                                         10   today, doesn't he?
                                                         11        A. He does and I know him as
                                                         12   well.
                                                         13        Q. You've published six
                                                         14   articles together with Dr. Stephen Hughes
                                                         15   of the NIH, correct?
                                                         16        A. That's correct.
                                                         17        Q. Is Dr. Hughes of the
                                                         18   National Institutes of Health a great
                                                         19   scientist?
                                                         20        A. I think he's a well known
                                                         21   scientist. I would probably refer from a
                                                         22   term -- it's a very qualitative term. I
                                                         23   think it's difficult to know who the
                                                         24   greatest scientists are. Sometimes we
                                                         25   reserve that for people like Nobel
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     1   laureates and even those -- even in some         1        Q. Scientists at the National
     2   of those cases, some of the assignments          2   Institutes of Health work only for the
     3   of awards are questionable.                      3   government, only for the U.S. taxpayer,
     4         Q. Would you call yourself a               4   correct?
     5   great scientist?                                 5            MR. WILCOX: Objection.
     6         A. I think I am a well known               6        Calls for speculation.
     7   scientist, especially in the field of HIV        7            THE WITNESS: Yeah, I can't
     8   integrase and HIV integration.                   8        address that. I don't today work
     9         Q. Do you consider Dr. Hughes              9        for the U.S. government so I
    10   to be one of the leaders in HIV research?       10        don't -- I am unaware of the
    11         A. I think Dr. Hughes is a well           11        details that might be spelled out
    12   respected research scientist in HIV             12        in contracts between individual
    13   research.                                       13        scientists and the U.S.
    14         Q. Do you respect him?                    14        government.
    15         A. Well, my respect has waned a           15   BY MR. MORTARA:
    16   little through my involvement in this           16        Q. You, in fact, receive a lot
    17   case, I would say.                              17   of money from the NIH to do your
    18         Q. You have invited Stephen               18   research, correct?
    19   Hughes to speak at meetings and                 19            MR. WILCOX: Objection,
    20   conferences, correct?                           20        form.
    21         A. I would say that sounds                21            THE WITNESS: My
    22   accurate to the best of my recollection.        22        understanding is the Dana-Farber
    23         Q. Do you know how many times             23        Cancer Institute, my employers,
    24   you invited Stephen Hughes to speak at          24        receives those funds.
    25   Dana-Farber or Harvard?                         25   BY MR. MORTARA:
                                               Page 47                                             Page 49
     1        A. If I have done it, my                    1        Q. Well, you are listed as the
     2   recollection would be once.                      2   principal investigator on a number of NIH
     3        Q. You are aware that                       3   grants in your CV, correct?
     4   scientists at the National Institutes of         4        A. That's correct.
     5   Health are not permitted to consult with         5        Q. And that's money that you
     6   legal teams for money the way you are            6   applied for from the NIH and the U.S.
     7   with ViiV's legal team, right?                   7   taxpayer gives you to do research, right,
     8        A. I -- that's the best of my               8   you are allowed?
     9   understanding, that scientists who work          9        A. The grants that I write for
    10   directly for the government have more           10   the NIH are submitted to a specific arm
    11   restrictions than those of us on the            11   of the NIH, and then are reviewed by
    12   outside of the government.                      12   expert scientists, a panel of expert
    13        Q. And, therefore, scientists              13   scientists who generate a priority score.
    14   who work directly for the government are        14            In general, these grants
    15   not permitted to be paid by legal teams         15   that are scored in the system are funded
    16   to give expert opinions in litigation,          16   at the rate of approximately 15 to
    17   the way you are being paid by ViiV's            17   20 percent. It is my understanding that
    18   legal team, correct?                            18   although those expert scientists may pay
    19            MR. WILCOX: Objection.                 19   U.S. taxes, I think it's unjust to
    20        Calls for speculation.                     20   characterize it's the U.S. taxpayers that
    21            THE WITNESS: That's my                 21   fund my grants.
    22        understanding, but it's also my            22        Q. Where does the NIH get its
    23        understanding I'm not the only             23   money from, sir?
    24        expert witness on this case.               24            MR. WILCOX: Objection.
    25   BY MR. MORTARA:                                 25        Calls for speculation.
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     1            THE WITNESS: Yes, I'm                   1         Q. You take seriously the fact
     2        not -- I don't work for Congress.           2   that you're -- some of your research is
     3        I'm not sure how -- how money that          3   funded by the public, correct?
     4        might be in the U.S. Treasury is            4         A. I take my -- my career very
     5        decided to go to one branch of              5   seriously. I have been writing and
     6        government versus another. I am             6   reviewing grants for the United States
     7        not an expert in that.                      7   National Institute of Health -- I
     8   BY MR. MORTARA:                                  8   first -- I wrote my first grant or I got
     9        Q. As a fellow citizen of the               9   my first grant funded in, I believe,
    10   United States, do you know where the U.S.       10   1996. And I have reviewed to date
    11   Treasury gets its money from?                   11   hundreds of grants for the United States
    12        A. I would imagine the --                  12   Institutes of Health since the year 2001.
    13   actually I don't know. I do know that I         13         Q. Have you ever asked a
    14   pay taxes every year. I think that makes        14   pharmaceutical company to assist you with
    15   part of it. I'm not sure if they invest         15   money, materials, or other support for
    16   those monies and make money off of              16   your research?
    17   investments. I don't know about things          17         A. Are you asking whether or
    18   like that. I apologize.                         18   not I've ever applied for research
    19        Q. You would agree in common               19   funding from a pharmaceutical company?
    20   parlance, the National Institutes of            20         Q. That would be included. But
    21   Health is a taxpayer-funded government          21   to be clear, I'm asking in any way, have
    22   agency, correct?                                22   you sought from a pharmaceutical company
    23            MR. WILCOX: Objection.                 23   assistance with money, materials, or
    24        Ambiguous.                                 24   other support for your research?
    25            THE WITNESS: I have agreed             25         A. I -- to the best of my
                                               Page 51                                             Page 53
     1       that the National Institutes of              1   recollection, I once submitted a grant
     2       Health is part of the United                 2   application to Merck Chemical Company,
     3       States government.                           3   which to the best of my recollection was
     4   BY MR. MORTARA:                                  4   awarded funding for a two-year period. I
     5       Q. And the United States                     5   imagine those details are in my CV.
     6   government spends taxpayer money on              6        Q. Is that the only time that
     7   things the United States government              7   you've ever asked a pharmaceutical
     8   decides are a priority, one of which is          8   company for any kind of assistance with
     9   your research, correct?                          9   money, materials, or other support for
    10            MR. WILCOX: Objection.                 10   your research?
    11       Calls for speculation.                      11        A. For my research, correct.
    12            THE WITNESS: Yeah, I think             12        Q. Have you ever asked a
    13       I've already answered that                  13   pharmaceutical company for any kind of
    14       question. I don't know exactly              14   assistance with money, materials, or
    15       where the monies that the U.S.              15   other support for something other than
    16       government uses to run the U.S.             16   your research?
    17       government comes from. I don't              17        A. I have done something that
    18       know where 100 percent of those             18   many other scientists in my field have
    19       monies come from. I do -- I did             19   done, and that's to organize national and
    20       agree some of those monies came             20   international meetings. When we -- when
    21       from people like me and you and             21   we take on the job of meeting
    22       hopefully everybody else on the             22   organization, almost in all
    23       call who pays their annual tax              23   circumstances, we need to seek outside
    24       fees.                                       24   funding to help support the conference to
    25   BY MR. MORTARA:                                 25   be able to take place.
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     1            And when I have done it in             1   research materials, or any other kind of
     2   the past -- I haven't done that recently        2   support for your proposed research?
     3   to the best of my knowledge. When I've          3        A. For my proposed research, to
     4   done that in the past, I've approached          4   the best of my knowledge, no.
     5   that through granting organizations like        5            I apologize for not being
     6   the United States National Institutes of        6   accurate.
     7   Health, where, to the best of my                7        Q. It's okay, Dr. Engelman.
     8   recollection, I once submitted an R15           8   That's why we're here, for me to ask
     9   grant application, which is a format            9   follow-up questions.
    10   specifically for seeking assistance to         10            Is it fair to say that
    11   run a scientific conference.                   11   Dr. Stephen Hughes of the NIH has
    12            And on the flip side, I've            12   published and written several things
    13   also approached pharmaceutical companies       13   about the comparison between bictegravir
    14   in the past to seek support, outside           14   and dolutegravir that you do not agree
    15   support, to run international and              15   with?
    16   national conferences.                          16        A. I don't agree with certain
    17        Q. Since 2016, have you                   17   conclusions in those papers. That's
    18   approached ViiV, GSK, or Shionogi to seek      18   correct.
    19   support, outside support, to run               19        Q. And Dr. Hughes has said
    20   international or national conferences?         20   those things that you don't agree with,
    21        A. To the best of my knowledge,           21   those conclusions that you don't agree
    22   no.                                            22   with, publicly in a peer-reviewed
    23        Q. Have you ever asked Gilead             23   journal, correct?
    24   to support your research with money,           24        A. In a peer-reviewed journal,
    25   materials, or other support?                   25   that's correct.
                                              Page 55                                            Page 57
     1        A. To the best of my                       1        Q. Dr. Hughes has made those
     2   recollection, I have not submitted a            2   statements publicly in a peer-reviewed
     3   grant application to Gilead Sciences. I         3   journal that any fellow scientist could
     4   have given a seminar there, though it's         4   look at, right?
     5   been a number of years. I would                 5        A. I would agree with that.
     6   speculate it's more than ten years ago.         6        Q. And Dr. Hughes made those
     7   I'm sure that was a paid -- I'm sure I          7   conclusions that you disagree with in a
     8   received an honorarium from Gilead for          8   peer-reviewed journal where other
     9   providing that lecture in the early             9   scientists got to read the manuscript
    10   2000s.                                         10   before it was even published, right?
    11            And I could -- to the best            11        A. That's correct.
    12   of my recollection, I assume I would have      12        Q. Just like many of your
    13   approached Gilead as described when I --       13   articles are both public, where other
    14   in the past when I ran national and            14   people can look at them, and
    15   international conferences to ask them for      15   peer-reviewed where other scientists
    16   potential support to run those meetings.       16   already have, correct?
    17        Q. Dr. Engelman, I want to be             17        A. That's correct.
    18   clear. I said have you ever asked Gilead       18        Q. All right. I'm going to put
    19   to support your research with money,           19   Smith 2018, which is the Stephen Hughes
    20   materials, or other support. You said,         20   article into the admitted folder as
    21   to the best of my recollection I have not      21   Deposition Exhibit 25.
    22   submitted a grant application and went on      22            (Document marked for
    23   from there.                                    23        identification as Exhibit
    24            Have you ever asked Gilead            24        Engelman-25.)
    25   in any way to provide you money, or            25   BY MR. MORTARA:
    Golkow Litigation Services                                               Page: 15 (54 - 57)
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     1        Q. There we go. Do you see                  1        Q. What is the significance of
     2   that on the screen, sir?                         2   being a corresponding author?
     3        A. It's loading on the screen.              3        A. As a corresponding author,
     4            MR. WILCOX: Dr. Engelman,               4   which I am on many of the manuscripts for
     5        please make sure that you have              5   my laboratory, you take on the
     6        access to a complete copy there on          6   responsibility for interacting with the
     7        one of your screens.                        7   publication -- you know, this is a paper
     8            THE WITNESS: Okay.                      8   that's been submitted to publication. So
     9   BY MR. MORTARA:                                  9   you take on the responsibility of
    10        Q. You got it, sir?                        10   interact -- interactions with the journal
    11        A. Yes, I see it. And I have               11   to oversee the peer review process. And
    12   access to the full document on my               12   you also take the senior author
    13   leftward monitor.                               13   responsibility of the accuracy of the
    14        Q. Excellent. And if you ever              14   work that's being presented.
    15   don't have access to the document, please       15        Q. And that corresponding
    16   let us know and we'll engage our                16   author for the Hughes NIH article here,
    17   colleagues for technical support.               17   Exhibit 25, is Stephen Hughes, correct?
    18            Engelman Exhibit 25, the               18        A. Correct.
    19   Stephen Hughes NIH article is the public        19        Q. Another role of the
    20   peer-reviewed article with some of the          20   corresponding author is to interact with
    21   conclusions that disagree with, last            21   readers who may have questions about the
    22   named article, Stephen Hughes, correct?         22   article, correct?
    23        A. That's correct.                         23        A. That's correct.
    24        Q. You can see, I think, that              24        Q. And that's why for example,
    25   Stephen Hughes is listed as the                 25   Stephen Hughes' e-mail address is
                                               Page 59                                             Page 61
     1   corresponding author, correct?                   1   provided here for everyone to see in the
     2         A. That's correct.                         2   journal if they want to contact him and
     3         Q. What does it mean that                  3   they have questions, correct?
     4   Stephen Hughes is the last listed author?        4        A. Correct.
     5         A. It means in a list of                   5        Q. In fact, your e-mail address
     6   authors, he's the last one.                      6   is on dozens of articles where you are
     7         Q. Does that have significance             7   the corresponding author. So anyone can
     8   in your field, sir?                              8   e-mail you with questions about articles
     9         A. Sometimes it does.                      9   on which you are the corresponding
    10   Sometimes it carries more significance or       10   author.
    11   not.                                            11        A. That's correct.
    12            If you want my professional            12        Q. And do you occasionally get
    13   opinion, significance of the list of            13   e-mails from readers asking you questions
    14   authorships generally applies to the            14   about things that you've published?
    15   first author, where we infer that that          15        A. I'd say on rare occasions.
    16   person either carried out the scientific        16        Q. So it has happened?
    17   experimentation or provided the                 17        A. Most usually to request
    18   brainchild for the study or wrote --            18   for -- to make a request for a reagent
    19   wrote the manuscript at hand, as well as        19   that we described in that paper.
    20   the corresponding author, who usually is        20        Q. Have you ever engaged with
    21   a more senior author who takes on many of       21   another scientist about one of their
    22   the responsibilities I described for the        22   articles, one of your articles, they've
    23   first author, though, because of the            23   had a question or they -- criticism
    24   senior position, in general, tends to do        24   maybe?
    25   less of the actual experiment.                  25        A. Do you mean by e-mail?
    Golkow Litigation Services                                                 Page: 16 (58 - 61)
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     1        Q. Yes.                                     1   papers we've already established that I
     2        A. By e-mail it's quite a rare              2   published with Stephen Hughes.
     3   occasion.                                        3       Q. In articles like these,
     4        Q. Has it ever happened?                    4   there's usually a section where authors'
     5        A. I've received tens of                    5   contributions are discussed, correct?
     6   thousands, if not hundreds of thousands          6       A. That varies from journal to
     7   of e-mails since I have been employed at         7   journal. Some of the -- but over time
     8   the Dana-Farber Cancer Institute. So I           8   and in recent times, some journals
     9   can't recall.                                    9   have -- do request that information be
    10        Q. You agree that most of your             10   provided as part of the publication
    11   interactions about articles that you've         11   process.
    12   written with other scientists are oral in       12       Q. And -- and this one does
    13   nature?                                         13   over on Page 16. Do you see that?
    14        A. I would have to agree with              14       A. I do see that.
    15   that. We tend to discuss each other's           15       Q. And it says SS performed the
    16   research face-to-face when we see each          16   experiments, SS and SH, that's Stephen
    17   other. For example, at the kinds of             17   Hughes, designed the experiments. It
    18   conferences I referred to earlier.              18   goes on and says, "SS and SH drafted the
    19        Q. Or on the telephone, right,             19   manuscript."
    20   sir?                                            20            Do you see that?
    21        A. These days, I think people              21       A. Yep.
    22   personally use telephones less and less         22       Q. That's Stephen Hughes. And,
    23   to communicate with others.                     23   "All authors read and approved the final
    24        Q. Or on Zoom or Skype or                  24   manuscript."
    25   Microsoft Teams?                                25            Do you see that?
                                               Page 63                                             Page 65
     1        A. I think -- I think today                 1        A. I do.
     2   that's the way that things have evolved.         2        Q. That's pretty common too,
     3   But I have not attended a scientific             3   comments to the effect that all authors
     4   conference virtually beyond the first            4   read and approved the final manuscript,
     5   week when we all went into shutdown in           5   correct?
     6   early March.                                     6        A. I think that's -- that's
     7            So in that virtual                      7   written to indicate that, that's correct.
     8   conference there was no live back and            8        Q. That's on a lot of your
     9   forth.                                           9   articles too, right?
    10        Q. The other authors listed                10        A. Again, I think -- I think
    11   here on the Hughes NIH article, they all        11   without specific knowledge at hand, I
    12   work at the National Institutes of Health       12   hate to testify, but as mentioned, more
    13   as well, correct?                               13   journals -- more and more journals these
    14        A. Well, we can scroll down and            14   days are requesting said information. So
    15   look at what superscript 1, and                 15   I would tend to agree that such
    16   superscript 2 refer to. I would assume          16   information is probably provided in a
    17   those are probably different departments        17   number of manuscripts that I'm a
    18   or divisions of the National Cancer             18   co-author on.
    19   Institute.                                      19        Q. And then right down below
    20        Q. In fact, you've published               20   there it says, "The authors declare they
    21   with Steven J. Smith before, correct?           21   have no competing interests."
    22        A. To the -- I don't recall                22             What is that?
    23   that. I am sure you have that                   23        A. I can't speak to any
    24   information. Again, it's possible that          24   interest that Dr. Hughes or Dr. Smith or
    25   he was a co-author of one of the six            25   Dr. Zhao or Dr. Burke might have in terms
    Golkow Litigation Services                                                 Page: 17 (62 - 65)
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     1   of competing interests.                          1   article that you earlier mentioned, you
     2            This is also somewhat of a              2   disclosed that you were receiving fees
     3   moving target in my field. I don't know          3   from ViiV?
     4   if you want me to pontificate here or            4        A. Right, I did do that because
     5   not.                                             5   I thought that was an accurate
     6        Q. I'm just asking what it                  6   representation. It's not time to get
     7   means when authors declare they have no          7   advice, but I went -- I go back and forth
     8   competing interests to you.                      8   whether or not I should have declared
     9        A. It means very little to me.
    10        Q. It does not mean that none
    11   of them are being paid money by
    12   pharmaceutical companies?
    13        A. I think if someone is
    14   receiving fees for outside activities, I
    15   personally feel that that's an obligation
    16   to report that in this section of papers.
    17   But I do not believe everyone who
    18   receives monies for outside activities
    19   does that. And I don't know what the            19       Q. You have cited this article
    20   hard and fast rules are for this.               20   by Dr. Stephen Hughes and others from the
    21        Q. As far as you're concerned,             21   NIH in your other peer reviewed research,
    22   in the competing interests section, an          22   correct?
    23   author should declare if they are               23       A. That sounds accurate.
    24   receiving outside monies from a                 24       Q. Well, let's take a look.
    25   pharmaceutical company whose drugs, for         25   I'm going to put into the shared folder
                                               Page 67                                               Page 69
     1   instance, are mentioned in the article?          1   what will be Engelman Exhibit 13.
     2        A. I -- it is my understanding              2             (Document marked for
     3   that that's what the journal would expect        3         identification as Exhibit
     4   out of the authors, yes.                         4         Engelman-13.)
     5        Q. And is -- do you believe                 5   BY MR. MORTARA:
     6   that your understanding is widely shared?        6         Q. Do you have that, sir?
     7            MR. WILCOX: Objection.                  7         A. I have that on my left
     8        Calls for speculation.                      8   screen. I'm opening it. It's
     9            THE WITNESS: I can only                 9   downloading right now. It indicates it's
    10        testify to what I understand.              10   22 pages which sounds accurate. And I
    11            It's impossible for me to              11   can see your copy on my right screen.
    12        testify to what other people might         12         Q. Engelman Exhibit 13 is what
    13        understand.                                13   I'll refer to as Engelman 2019, which is
    14   BY MR. MORTARA:                                 14   a review article you published in JBC
    15        Q. Well, you are familiar with             15   Reviews, correct?
    16   the rules for various journals that the         16         A. That's correct.
    17   articles that are at issue in this case         17         Q. And in fact, you used money
    18   are published in, correct, like in              18   that you got from the NIH to support
    19   Science for example; is that right?             19   yourself in writing this article, right?
    20        A. I would have read the                   20         A. Yeah, my association with
    21   instructions to authors as I got ready          21   the Dana-Farber Cancer Institute in
    22   to -- to write my paper. I haven't              22   colloquialism is called a soft money job.
    23   reviewed the instructions to authors in         23   If I did not have grant money, I would
    24   preparation for today.                          24   not have a job.
    25        Q. For example, in the Science             25         Q. I'm trying to understand.
    Golkow Litigation Services                                                  Page: 18 (66 - 69)
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     1   This article says, "This work was               1       Q.
     2   supported by the National Institutes of
     3   Health grants." And it lists some
     4   numbers.
     5            Do you see that?                                                In this one you
     6        A. I do see that.                          6   decided to put "I receive fees from ViiV
     7        Q. Who decided that the NIH                7   Healthcare," correct?
     8   grant money would be used to support this       8       A. That's what I used as
     9   work?                                           9   standard declaration of potential for
    10        A. Well, I work with people. I            10   conflict of interest.
    11   work with local accountants in my
    12   department at the Dana-Farber Cancer
    13   Institute. We go through great efforts
    14   to account for percent efforts of myself
    15   and my six -- six people that I
    16   supervise, in terms of how those efforts
    17   are split out to the different grants
    18   that I'm affiliated with, either as a PI       18       Q. There's a -- the next
    19   or through other affiliation to receive        19   sentence says, "The content is solely the
    20   money into the laboratory setting.             20   responsibility of the author. It does
    21            It's a -- it's a                      21   not necessarily represent the official
    22   collaboration with me and those                22   views of the National Institutes of
    23   accountants that work. But this is a           23   Health."
    24   representation of how my percent effort        24           Do you see that?
    25   was divided onto the grants and how I saw      25       A. I do.
                                              Page 71                                               Page 73
     1   those percent efforts apply to the              1        Q. Why is that there?
     2   writing of this manuscript.                     2        A. I don't know fully. Seems
                                                         3   to be a clause that the journal would
                                                         4   include as part of normal publications of
                                                         5   manuscripts that may have been supported
                                                         6   in part by one or -- one or another
                                                         7   funding agency.
                                                         8        Q. And Dr. Engelman, just
                                                         9   returning to Exhibit 25, which is the
                                                        10   Hughes article, is there a similar
                                                        11   disclaimer in the Hughes article?
                                                        12        A. I don't know. I have to
                                                        13   read the Hughes article.
                                                        14        Q. Do you recall seeing it,
                                                        15   sir?
                                                        16        A. Could you -- well, let me --
                                                        17   let me go back and I can look at it.
                                                        18            This one is 25; is that
    19       Q. All right. And now, the                 19   correct?
    20   second sentence down here that I've got        20        Q. That's correct.
    21   up on the screen says, "The author has         21        A. Well, I can state upfront in
    22   received fees from ViiV Healthcare             22   my limited experience, or my professional
    23   Company within the last 12 months."            23   experience, different journals will treat
    24           Do you see that?                       24   aspects of this differently.
    25       A. That's correct.                         25            My recollection in
    Golkow Litigation Services                                                Page: 19 (70 - 73)
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     1   particular is that the BMC Corporation,          1        A. Why don't we go back to the
     2   which, off the tip of my tongue I don't          2   detail of how I cited the Hughes article
     3   know what it refers to, but it's the             3   please.
     4   company that publishes the Journal of            4        Q. I believe it's Number 119.
     5   Retrovirology.                                   5            MS. MILLER: Actually, just
     6             Science copyright to the               6        to be clear, I don't think that is
     7   authors. So when one is getting                  7        the right Hughes article.
     8   copyright assignment, what clauses might         8   BY MR. MORTARA:
     9   pertain in terms of this specific clause         9        Q. Oh, it's another Hughes
    10   to -- is a little outside of my area of         10   article.
    11   expertise, besides the fact that I am an        11            Did you cite the Hughes
    12   author.                                         12   article, Exhibit 25, in this reference or
    13        Q. Did you write the disclaimer            13   not?
    14   about your work not being the views of          14        A. Excuse me. I've lost my
    15   the National Institutes of Health or not?       15   left screen. Okay. It's coming back.
    16        A. I actually don't recall.                16            My review article, 25,
    17        Q. Dr. Engelman, is it your                17   that's correct.
    18   practice to cite articles that you have         18        Q. I think you'll find it at
    19   decided are riddled with meaningful             19   160. And I'm sorry, sir. I said it was
    20   errors and misconceptions?                      20   119. That was another Stephen Hughes
    21        A. I think when I -- when I                21   article you were citing. Here we've got
    22   write a review article, I tend to, or I         22   Reference 160. It will be up on your
    23   try to comprehensively review the               23   screen.
    24   literature.                                     24            That's Exhibit 25.
    25        Q. And you cited the Hughes                25        A. What -- I'm particularly
                                               Page 75                                               Page 77
     1   article in this Engelman 2019 reference,         1   interested in what context I cited
     2   didn't you? It's reference 119 here.             2   Reference 160, so I'd be looking for that
     3        A. That's correct. And I                    3   text.
     4   penned this paper in the first half of           4            On my left -- I've lost it
     5   2019 before I really dug into the                5   again.
     6   materials as opined in my opening report         6            (Brief white noise.)
     7   in great detail to begin to formulate my         7   BY MR. MORTARA:
     8   opinions in this case.                           8        Q. Right here, Number 160. You
     9        Q. Well, Dr. Engelman, this                 9   see it says, "CAB in cell culture is
    10   paper was published in August of 2019.          10   marginally less effective at inhibiting
    11            Do you see that?                       11   infection by certain INSTI-resistant
    12        A. It was published in                     12   viruses than is either DTG or BIC?"
    13   August 2019, months after I initially           13            Do you see that?
    14   started the first draft.                        14        A. Yes, and I think that's an
    15        Q. At any time prior to its                15   accurate portrayal of what I feel is
    16   publication, you could have pulled the          16   represented in Article 160.
    17   citation to the NIH Hughes article; isn't       17        Q. That is the Hughes NIH
    18   that right, sir?                                18   article that you have said is riddled
    19        A. At any time prior to                    19   with meaningful errors and
    20   publication, I could have pulled the            20   misconceptions, correct?
    21   citation to any one of the 273 papers           21        A. Well, surely as I already
    22   that I've included in the reference list.       22   espoused, I've gotten into this article
    23        Q. You could actually submit an            23   more deeply since I started to opine my
    24   errata pulling the citation to the Hughes       24   opinions in this case.
    25   NIH article today, couldn't you?                25            And --
    Golkow Litigation Services                                                  Page: 20 (74 - 77)
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     1            (Brief white noise.)                   1            Can you hear me?
     2            THE COURT REPORTER: The                2       A. Yeah, I can hear you. I
     3        witness is cutting out. The                3   prefer to answer the previous question.
     4        witness is cutting out. Can                4       Q. Dr. Engelman, the question
     5        anybody hear me? This is the               5   was -- I'll read it to you.
     6        court reporter.                            6            This is the Hughes NIH
     7            THE WITNESS: -- very                   7   Article 160 that you have said is riddled
     8        troubling.                                 8   with meaningful errors and
     9            You all froze. Can you hear            9   misconceptions, correct?
    10        me?                                       10            MR. WILCOX: And, Counsel,
    11   BY MR. MORTARA:                                11       you didn't let him finish his
    12        Q. Yes, you're back,                      12       answer.
    13   Dr. Engelman. You cut out for a bit.           13            MR. MORTARA: Well, Counsel,
    14            And the question is, this is          14       I couldn't hear him.
    15   the Hughes NIH article, Reference 160,         15            THE WITNESS: Let me try
    16   that you have said is riddled with             16       again --
    17   meaningful errors and misconceptions,          17            MR. WILCOX: Let him finish
    18   correct?                                       18       his answer. So why don't we get a
    19        A. That's correct. As I                   19       clear record. Why don't you ask
    20   already testified, I did not -- it did         20       him the question again and then we
    21   not come aware to my attention the extent      21       can get Dr. Engelman's full answer
    22   of typographical errors and                    22       to that question.
    23   misconceptions until I delved deeply into      23   BY MR. MORTARA:
    24   this article as part of my preparation         24       Q. Go ahead, Dr. Engelman.
    25   for my opening report.                         25       A. Right. So again, the extent
                                              Page 79                                             Page 81
     1             You guys freeze up again or           1   of errors, typographical errors and
     2   are you there?                                  2   misconceptions that I've opined on in my
     3        Q. We're here.                             3   reports, I did not begin to get into that
     4        A. Okay.                                   4   level of detail with this article until
     5        Q. Doctor --                               5   late fall -- late summer 2019, early fall
     6        A. What I've done very --                  6   2019 when I started working on my opening
     7        Q. Go ahead.                               7   report.
     8        A. And even more recently, I've            8             Since then, new information
     9   uncovered new information which leads me        9   has come to my attention by reviewing the
    10   to highly question the materials that are      10   literature of Dr. Hughes that even brings
    11   in some of the conclusions that are made       11   much more troubling information into this
    12   in the Number 160, Smith, et al., 2018         12   article. I have uncovered that
    13   Retrovirology report --                        13   Dr. Hughes repeatedly uses the same EC50
    14        Q. Dr. Engelman. Dr. Engelman.            14   values over multiple years, going back as
    15   Dr. Engelman, you're breaking up on me.        15   many as nine years and recycles those
    16   I can't hear you.                              16   values into his publications. Sometimes
    17             Dr. Engelman, you're                 17   he cites that the values are old, in
    18   breaking up on me.                             18   some -- in some of his publications he
    19             Let me -- let me follow up.          19   doesn't cite that some of the values are
    20   Just -- I'll ask the question again.           20   old.
    21             Dr. Engelman, I want to just         21             I have clearly identified
    22   focus on Exhibit 13, your 2019 article.        22   that much of the data that's present in
    23   And ask, did you share a draft of this         23   Smith 2018 could not have been run in
    24   article with ViiV's legal team before you      24   conjunction with some of the assays,
    25   submitted it for publication.                  25   because this data is historical and
    Golkow Litigation Services                                               Page: 21 (78 - 81)
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     1   clearly identified in the literature in         1   anybody outside of this case that the
     2   papers published in 2011, as well as 2014       2   Hughes 2018 NIH article is "riddled with
     3   and 2016.                                       3   meaningful errors and misconceptions,"
     4            I find this extremely                  4   have you?
     5   troubling.                                      5        A. Well, I think I uncovered
     6            MR. MORTARA: Move to strike            6   those meaningful errors and
     7        the answer as nonresponsive. Move          7   misconceptions working with counsel.
     8        to strike the opinions as                  8   And -- and I'm not a lawyer, but it
     9        undisclosed in the expert report.          9   sounds like that that could then be
    10   BY MR. MORTARA:                                10   protected by privilege.
    11        Q. And we will proceed,                   11        Q. Those are meaningful errors
    12   Dr. Engelman.                                  12   and misconceptions that you have
    13            MR. WILCOX: And we -- just            13   uncovered by reading the article, that's
    14        to put on the record, we disagree         14   what you tell us in your reports, right?
    15        with that objection and we                15        A. That's right.
    16        disagree that it should be                16        Q. The article is public,
    17        stricken.                                 17   correct?
    18   BY MR. MORTARA:                                18        A. Correct.
    19        Q. Dr. Engelman, you have just            19        Q. Anyone can read it, right?
    20   talked a little while ago about a review       20        A. That's correct.
    21   article that you and Dr. Cherepanov            21        Q. You are allowed to tell
    22   are -- have submitted, correct?                22   anybody what you have detected as an
    23        A. That's correct.                        23   error in a public article based on what
    24        Q. How many Stephen Hughes                24   it says, right?
    25   articles are cited in that one?                25        A. That's correct.
                                              Page 83                                               Page 85
     1        A. I don't have access to my               1       Q. And you haven't told anyone
     2   computer. I've been advised not to keep         2   outside of this case, in the scientific
     3   any electronics. So I don't -- I would          3   community whatsoever, that the Hughes
     4   come to expect that we cited some work          4   2018 NIH article is "riddled with
     5   from a Stephen Hughes article. I have           5   meaningful errors and misconceptions,"
     6   not discussed with Dr. Cherepanov the           6   have you, sir?
     7   very troubling information that has             7       A. Not to date.
     8   recently come to light, that Dr. Hughes         8           MR. WILCOX: Counsel --
     9   is repeatedly recycling data in his             9   BY MR. MORTARA:
    10   laboratory.




                                                        15           Q.   I'd like to move on now
                                                        16   to --
                                                        17            MR. WILCOX: Counsel, can --
                                                        18        we've been going about an hour and
                                                        19        15 minutes. Can we go ahead and
                                                        20        take a break here?
                                                        21   BY MR. MORTARA:
                                                        22        Q. Would you like a break,
                                                        23   Dr. Engelman?
                                                        24        A. Yeah, I think we could take
    25       Q.   In fact, you haven't told             25   a ten-minute break.
    Golkow Litigation Services                                                    Page: 22 (82 - 85)
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     1        Q. Ten-minute break would be                1   I don't want to make a mistake again on
     2   great. We'll resume in ten minutes.              2   the left.
     3            Dr. Engelman, feel free to              3             Do I have the exhibit on my
     4   turn off your video so you can do                4   leftward screen?
     5   whatever it is you want to do. I'm going         5        Q. It should be, yes.
     6   to turn off mine, as well as mute myself.        6        A. Exhibit Number 9. I don't
     7            THE WITNESS: Thank you.                 7   have it.
     8            THE VIDEOGRAPHER: The time              8        Q. It's not in the shared
     9        is 11:15 a.m. Eastern time. And             9   folder?
    10        we are off the video record.               10        A. Not in the leftward screen.
    11            (Short break.)                         11   No. Now it is.
    12            THE VIDEOGRAPHER: The time             12        Q. It's quite large. I think
    13        is 11:27 a.m. And we are back on           13   that's why.
    14        the video record.                          14             (Document marked for
    15   BY MR. MORTARA:                                 15        identification as Exhibit
    16        Q. Hello again, Dr. Engelman.              16        Engelman-9.)
    17            I had a question earlier               17             THE WITNESS: Okay. I'm
    18   about Engelman Exhibit 13, the 2019             18        opening it on my end. It's
    19   review article in JBC.                          19        uploading.
    20        A. Yes.                                    20             You're correct, all 49 pages
    21        Q. Did you provide a draft of              21        are there.
    22   this publication to ViiV's legal team           22   BY MR. MORTARA:
    23   before it was published?                        23        Q. This -- this is an original
    24        A. Not to the best of my                   24   research article that was published just
    25   recollection.                                   25   a few months ago, correct?
                                               Page 87                                              Page 89
     1        Q. Did you provide the                      1        A. That's correct.
     2   submitted and accepted manuscript to             2        Q. In the journal of Science,
     3   ViiV's legal team before it was available        3   correct?
     4   online?                                          4        A. Correct.
     5        A. Not to the best of my                    5        Q. And in fact, you are one of
     6   recollection.                                    6   the two corresponding authors on this
     7        Q. Is it possible you did?                  7   article, "Structural Basis of
     8        A. I think anything is                      8   Second-Generation HIV Integrase Inhibitor
     9   possible.                                        9   Action and Viral Resistance," correct?
    10        Q. You are not sure whether you            10        A. That's correct.
    11   gave a version of this paper before it          11        Q. The other corresponding
    12   was available to the public to ViiV's           12   author is Peter Cherepanov, correct?
    13   legal team; is that right?                      13        A. That's correct.
    14        A. To the best of my                       14        Q. This article was published
    15   recollection, I did not share this              15   in February; is that right?
    16   manuscript with ViiV's legal team before        16        A. You know, if you had a gun
    17   it was published.                               17   to my head, I would say it was posted
    18        Q. Dr. Engelman, I've placed in            18   online January 30th, 2019.
    19   the shared folder what is Engelman              19        Q. That's actually available at
    20   Exhibit 9, which is the Science article,        20   the end of the article, I think.
    21   the last author is Cherepanov that we've        21             Yes. It says, "Accepted
    22   referred to a few times today.                  22   January 15th, published 30th, 2020." Is
    23            Do you have that in the                23   that right?
    24   shared folder?                                  24        A. Yeah. So I got it right.
    25        A. I see it on the right. And              25   January 30, 2020.
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     1        Q. And to be clear,                       1   sharing this article with legal counsel.
     2   January 30th, 2020 is after you had            2        Q. Is that the same reason that
     3   already decided that the Hughes 2018 NIH       3   you didn't mention this research in your
     4   article, according to your expert              4   opening expert report in November 2019,
     5   reports, is riddled with meaningful            5   sir?
     6   errors and misconceptions, right?              6        A. I would think that's
     7        A. Certain aspects -- I                   7   correct. That's basically the reason.
     8   definitely have issues with certain            8        Q. Is your opening expert
     9   conclusions in the Hughes article.             9   report from 2019 public?
    10   That's correct.                               10        A. It is not.
    11        Q. Dr. Engelman, first question          11        Q. What stopped you from
    12   is, did you ever provide any version,         12   discussing research from other labs in
    13   draft or submitted draft or accepted          13   your opening expert report in 2019?
    14   draft, to ViiV's lawyers prior to             14        A. I'll restate my answer to
    15   January 30th, 2020?                           15   the question. Especially in 2019, the
    16        A. To the best of my                     16   paper had just been initially submitted
    17   recollection, I did not.                      17   for consideration for publication to the
    18        Q. Why not?                              18   journal of Science. It had not undergone
    19        A. So this was a collaborative           19   the peer review process. In a sense it
    20   study involving multiple laboratories and     20   was still a draft manuscript at that
    21   senior authors. In addition to myself,        21   point in time.
    22   as you already noted, the other               22             We had not even received the
    23   corresponding author was Dr. Cherepanov.      23   initial reviewers' reviews from the
    24   And another senior author was Dr. Rosta.      24   scientific experts who eventually
    25             The article, upwards till           25   reviewed the article.
                                             Page 91                                             Page 93
     1   very close to January 30, 2020, was still      1             At that point in time it was
     2   in the peer review process. Many times         2   a work in progress, and I -- and
     3   that means the informational contact will      3   personally, again, I would have felt it
     4   change as it does in response to editors'      4   ethically imperative if I decided to
     5   and reviewers' comments as part of the         5   share it with Desmarais LLP, to discuss
     6   peer review process.                           6   that with my colleagues.
     7            I made the decision not to            7             Perhaps you're trying to
     8   share it until it was a finished product       8   clarify with me, gee, you shouldn't have
     9   and also available through the public          9   had a conscience. You should have just
    10   record.                                       10   shared it with your lawyers. It's not a
    11        Q. You could have shared it,             11   public record. But that's -- you know, I
    12   should you have chosen to do so, correct?     12   took a different stance. Hopefully you
    13        A. I would have only done that           13   understand that.
    14   if I would have engaged my colleagues and     14        Q. Your decision was, because
    15   told them I was doing that, because I         15   the research had not been made public and
    16   would not take it upon myself to share        16   was not peer reviewed, you would not
    17   information that another laboratory had       17   discuss it in your opening expert report?
    18   generated prior to acceptance and             18        A. As it pertains to this
    19   publication of that final paper without       19   article, that's correct.
    20   engaging them in the discussion. I            20        Q. You understand that
    21   personally would have felt ethical issue      21   Dr. Cherepanov had no trouble sharing the
    22   with that.                                    22   data from this research when he was
    23            And I made the decision not          23   asked, correct?
    24   to bring Dr. Cherepanov and Dr. Rosta         24             MR. WILCOX: Objection.
    25   into the conversation with respect to         25        Calls for speculation.
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     1            THE WITNESS: Yes, I have               1            MR. MORTARA: It's in the
     2        evidence provided to me through my         2        transcript. And candidly, the
     3        legal counsel that Dr. Cherepanov          3        video is of less of importance.
     4        had responded to a request from            4        Do you need to stop to make it
     5        expert witness from the defendant.         5        work?
     6   BY MR. MORTARA:                                 6            THE VIDEOGRAPHER: If you
     7        Q. And did you ask                         7        can give me about two minutes,
     8   Dr. Cherepanov for his permission to            8        we'll be good to go.
     9   share the underlying data from this             9            MR. MORTARA: Sure. Why
    10   article so you could use it in your            10        don't we go off the record and let
    11   opening expert report?                         11        the videographer reboot.
    12        A. I did not.                             12            THE VIDEOGRAPHER: Thank
    13        Q. If you had, do you think he            13        you.
    14   would have said yes?                           14            (Whereupon, a discussion was
    15        A. I can't --                             15        held off the record.)
    16            MR. WILCOX: Objection.                16            THE VIDEOGRAPHER: The time
    17        Calls for speculation.                    17        is 11:40 a.m. Eastern time, and we
    18            THE WITNESS: I can't                  18        are on the video record.
    19        speculate to what he might have           19   BY MR. MORTARA:
    20        answered to a question I didn't           20        Q. Dr. Engelman, the vast
    21        ask him.                                  21   majority of the papers that you ever
    22   BY MR. MORTARA:                                22   published can change rather dramatically
    23        Q. Why didn't you ask him?                23   in terms of data content and conclusions
    24        A. So when I drafted my opening           24   made in response to reviewers' and
    25   report, the paper in question had just         25   editors' comments, correct?
                                              Page 95                                             Page 97
     1   been submitted to the journal. It had           1        A. That's correct, as it
     2   not undergone the peer review process.          2   pertains to the period of time that
     3   At that point it's a working draft. And         3   encompasses the peer review process.
     4   the vast majority of the papers that I've       4        Q. And you made a decision that
     5   ever published, they can change rather          5   you would not discuss the experiments
     6   dramatically in terms of data content and       6   represented in Exhibit 9, the Cherepanov
     7   conclusions made in response to                 7   Science article, without first asking
     8   reviewers' and editors' comments.               8   Dr. Cherepanov and Dr. Rosta, correct?
     9             Personally felt it ethically          9        A. That was my -- that's the
    10   important that if I was going to share         10   way I felt about it at the time. That's
    11   data from other laboratories with an           11   correct.
    12   outside source, in this case legal             12        Q. And the reason that you
    13   counsel, Desmarais LLP, that I wouldn't        13   decided not to ask them for permission to
    14   do that with first discussing the sharing      14   use the data in your opening report is
    15   of those data with those colleagues, and       15   that you did not want to have to explain
    16   I made the decision not to have to then        16   to them why you wanted to share the data;
    17   explain to Dr. Cherepanov, to Dr. Rosta,       17   is that correct?
    18   the reason why I wanted to share the           18        A. I think that's accurate.
    19   data.                                          19   That's correct.
    20             THE VIDEOGRAPHER: This is            20        Q. Dr. Engelman, in Exhibit 9,
    21        TJ, the videographer. Can we stop         21   you again disclose that you receive fees
    22        for a second there. I don't know          22   from ViiV Healthcare. And I'm blowing it
    23        if I got the last answer. I'm             23   up on the screen. It's on the last page.
    24        having a blackout over here on my         24   "ANE reports fees from ViiV Healthcare."
    25        recording device.                         25            Do you see that?
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     1        A. That's correct.                          1        A. That's correct.
     2        Q. And, "No authors declare                 2        Q. Does your public and peer
     3   competing interests."                            3   reviewed February 2020 article in Science
     4            Do you see that?                        4   say that the Stephen Hughes NIH article
     5        A. I do see that.                           5   is riddled with meaningful errors and
     6        Q. We talked about what that                6   misconceptions?
     7   means to you. You're a corresponding             7        A. Well, I don't -- I don't
     8   author on this publication, correct?             8   think it would. I don't think it would
     9        A. That's correct.                          9   ever do that. I think if I really felt
    10        Q. And it's your responsibility            10   that work should be retracted from the
    11   to ensure that the disclosures are              11   literature, that would be a very formal
    12   accurate to the best of your ability,           12   proceeding, I wouldn't state it in a
    13   correct?                                        13   paper. I would have to contact journal
    14        A. That's correct. Especially              14   editors that published the paper.
    15   as it pertains to the people in my              15        Q. Does your public and peer
    16   laboratory who I collaborate with on this       16   reviewed February 2020 article in Science
    17   paper.                                          17   say that the Stephen Hughes article is
    18        Q. To the best of your                     18   riddled with meaningful errors and
    19   knowledge, none of the other authors were       19   misconception?
    20   receiving money from any competing              20        A. No.
    21   interests or pharmaceutical company,            21        Q. I asked you earlier if you
    22   correct?                                        22   shared a draft of the data or manuscript
    23        A. That's correct.                         23   of this article with ViiV's counsel. Did
                                                         24   you share it with anyone outside of the
                                                         25   listed authors before it was published?
                                               Page 99                                              Page 101
                                                          1        A. To the best of my
                                                          2   recollection, I did not.
                                                          3        Q. You didn't ask for anybody's
                                                          4   opinion about the manuscript?
                                                          5            I see you're looking at the
                                                          6   acknowledgment section, sir. There's a
                                                          7   thing to A. Costa for critical reading of
                                                          8   the manuscript. Do you see that?
                                                          9        A. A. Costa for critical
                                                         10   reading of the manuscript. That's
                                                         11   correct.
                                                         12        Q. And the subject of that
                                                         13   sentence is, "We are grateful," correct?
                                                         14        A. That's correct.
    15         Q. Now, you cite several                  15        Q. And that's we, that's all of
    16   references in this article, correct?            16   you, all the authors, correct?
    17         A. Yes, we do.                            17        A. That seems to be the
    18         Q. Which was finally published            18   interpretation of the word "we."
    19   after an extensive review period on             19        Q. And it at least includes you
    20   January 30, 2020, correct?                      20   and Dr. Cherepanov, the corresponding
    21         A. That's correct.                        21   authors, who drafted the manuscript,
    22         Q. And the fourth article in              22   correct?
    23   this publication went up in January 2020.       23        A. I think that's the language
    24   It's again Stephen Hughes NIH article,          24   as written. That's the meaning that
    25   correct?                                        25   should be taken. Perhaps it should have
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     1   been restated, Dr. Cherepanov is grateful
     2   for -- to A. Costa for critical reading
     3   of the manuscript.                              3        Q. I'm going to put into the
     4             Because I assume, without             4   shared folder Exhibit 19.
     5   knowing that it was Dr. Cherepanov who          5             (Document marked for
     6   shared the manuscript with Dr. Costa, I         6        identification as Exhibit
     7   certainly did not.                              7        Engelman-19.)
     8        Q. So who is Dr. Costa?                    8             (Document marked for
     9        A. Dr. Costa, I believe, is a              9        identification as Exhibit
    10   colleague of Dr. Cherepanov's at the           10        Engelman-40.)
    11   Francis Crick Institute.                       11             THE WITNESS: Can I qualify
    12        Q. Is he on the paper, is he an           12        my answer to the last question?
    13   author?                                        13   BY MR. MORTARA:
    14        A. Not on this paper. But                 14        Q. You can say anything you'd
    15   Dr. Cherepanov and I have published with       15   like, sir.
    16   Dr. Costa previously.                          16        A. Oh. As we highlighted when
    17        Q. Did you see Dr. Costa's                17   we looked at the nature under which I
    18   comments on -- after his critical reading      18   cited the Smith 2018 retrovirology
    19   of the manuscript?                             19   article in my 2019 -- Engelman 2019, I
    20        A. I did not.                             20   stand by that citation, that -- and if we
    21        Q. Did Dr. Cherepanov ask you             21   can bring that up. I don't want to
    22   or Dr. Rosta for permission before he          22   misquote myself.
    23   shared the data with Dr. Costa?                23        Q. Well, you can return to that
    24        A. I don't know. I'm not privy            24   material with your lawyer on your own
    25   to conversations between Dr. Cherepanov        25   time if you wish to. I'm asking about
                                             Page 103                                               Page 105
     1   and Dr. Costa. But I do not recall that         1   the opinions in your report and I've
     2   he asked my permission.                         2   gotten answers to my questions. If you
     3        Q. Does that concern you, that             3   want to come back when I'm done with
     4   he did not consult with you and Dr. Rosta       4   Mr. Wilcox and talk about that, you can.
     5   before he shared the data with Dr. Costa        5             I want to move on now to
     6   for his comments on the manuscript?             6   another article of yours, the Koneru 2019
     7        A. No, it does not.                        7   article, Exhibit 19 to the deposition.
     8        Q. And yet you were concerned              8   That is in the shared article now.
     9   to the point that you didn't even ask           9             You are an author on this
    10   Dr. Rosta or Dr. Cherepanov for the            10   article, correct?
    11   ability to cite this data in your opening      11        A. That's correct.
    12   highly confidential expert report,             12        Q. And this article was
    13   correct?                                       13   published in May of 2019, correct?
    14        A. That's correct.                        14        A. That's correct, 23rd of May.
    15        Q. And those two, Exhibit 13              15        Q. And it -- it is public and
    16   and Exhibit 9, the Engelman 2019 article       16   peer reviewed, correct?
    17   and the Cherepanov 2020 Science article,       17        A. That's correct.
    18   aren't the only two times you have cited       18        Q. And part of your role in
    19   the NIH Stephen Hughes article, are they?      19   this article was reviewing and editing
    20        A. It's possible it's not the             20   it, correct?
    21   only times, that's correct.                    21        A. Writing, review and editing,
                                                        22   that's correct.
                                                        23        Q. And who is Dmitry Lyumkis?
                                                        24        A. Dmitry Lyumkis is an
                                                        25   assistant professor at the Salk Institute
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     1   of Biological Sciences.                           1        A. I believe I've already
     2        Q. Respected scientist, Dmitry               2   testified that such information did not
     3   Lyumkis?                                          3   come to my light until I -- until I
     4        A. He is a young scientist,                  4   started working deeply on my opening
     5   he's still an assistant professor. But I          5   report in late summer of 2019, which was
     6   think at the level that his career has            6   several months after this article, or at
     7   initiated, he is a respected individual.          7   least a couple months after this article
     8        Q. You think enough of him to                8   was published.
     9   have helped make him a subcontractor or           9        Q. And several months before
    10   subgrantee on one of your NIH grants; is         10   the publication of the Cherepanov Science
    11   that right?                                      11   2020 article, Exhibit 9, correct?
    12        A. He is a subcontractor on one             12        A. We had submitted the
    13   of my NIH grants, that's correct.                13   Cherepanov 2020 Science article about a
    14        Q. Meaning you thought he was a             14   month or two before I started diving
    15   pretty good scientist, right?                    15   deeply into the literature to begin to
    16        A. I agree.                                 16   opine in my opening report. I believe
    17        Q. Now, in this published and               17   that --
    18   peer reviewed article you cite the               18        Q. You could -- go ahead.
    19   Stephen Hughes NIH article as well,              19        A. I believe that was initially
    20   correct?                                         20   submitted for publication in June 2019.
    21        A. I don't recollect that. But
    22   it looks like we can look it up, because
    23   we have the paper on the screen.
    24        Q. If you look at Page 27, I
    25   think it's right there. From
                                               Page 107                                             Page 109
     1   Retrovirology, 2018?                              1   when I cited it in Engelman 2019, I cited
     2        A. Could you remind me of the                2   it to make the point that cabotegravir is
     3   exhibit number here?                              3   slightly less effective at inhibiting
     4        Q. For the Hughes NIH article                4   mutant viruses than is dolutegravir and
     5   that's riddled with meaningful errors and         5   bictegravir. Even though I've now
     6   misconceptions, or this one?                      6   covered more errors in the Hughes 2019
     7        A. This one.                                 7   article, which calls into question
     8        Q. This is Exhibit 19 --                     8   whether or not the paper should perhaps
     9        A. Okay.                                     9   be retracted, I have not initiated that
    10        Q. -- I believe. Exhibit 19,                10   business, nor have I decided when and
    11   your article from 2019 which cites the           11   where I might initiate that business.
    12   Hughes article from 2018.                        12            I stand by -- I would stand
    13        A. Yeah, I'm just calling it up             13   by the interpretation. Even with all the
    14   on my left screen.                               14   riddled errors, the message that
    15        Q. Can you answer my question,              15   dolutegravir as well as the message in
    16   sir, which is just that, does the Koneru         16   that paper that raltegravir and
    17   article of which you are an author cite          17   elvitegravir are less efficient at
    18   the Stephen Hughes 2018 NIH article?             18   inhibiting the infection of certain
    19        A. It does.                                 19   integrase mutant viruses, which is
    20        Q. Nowhere in this public and               20   representative in the Hughes -- the Smith
    21   peer reviewed article did you or the             21   2018 paper, is generally accurate.
    22   other authors say that Stephen Hughes            22            So not everything in the
    23   2018 NIH article is riddled with                 23   Smith 2018 article as discussed in my
    24   meaningful errors and misconceptions,            24   reports is inaccurate. Some aspects, as
    25   correct?                                         25   I opined in the reports, are inaccurate.
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     1        Q. Dr. Engelman, this article               1        A. I worked with Robert
     2   that you were on in 2019 mentions                2   Craigie. I trained with him between 1990
     3   dolutegravir, correct?                           3   and 1995. And we have stayed in touch.
     4        A. That's correct.                          4   And I would characterize him as a friend.
     5        Q. It also mentions, I think,               5        Q. You used to work in Robert
     6   bictegravir, correct, at the bottom              6   Craigie's lab, right?
     7   there?                                           7        A. That's correct.
     8        A. Yes, it's mentioned there.               8        Q. You published about a dozen
     9        Q. Why didn't you disclose to               9   articles with him. Would you say that's
    10   this journal that you were receiving fees       10   right?
    11   from ViiV healthcare in an article that         11        A. I don't have the precise
    12   mentions both drugs?                            12   number at hand. If you know that, I
    13        A. I gave that information to              13   would not disagree.
    14   the corresponding author.                       14        Q. You collaborate with
    15        Q. Is it your responsibility to            15   Dr. Robert Craigie quite frequently,
    16   make sure that information appears in the       16   correct?
    17   article or the corresponding author's?          17        A. We have published a paper
    18        A. I recall supplying that                 18   recently together. The extent of our
    19   information to the corresponding author.        19   collaboration is not as extensive as some
    20        Q. Have you taken any steps to             20   of the other scientists we've discussed
    21   correct the fact that your competing            21   today.
    22   interest does not appear in this article?       22        Q. And of course Dr. Stephen
    23        A. I was unaware it doesn't                23   Hughes is on this article as well,
    24   appear, because I recall providing that         24   correct?
    25   information. But since I was unaware, I         25        A. That's correct.
                                              Page 111                                             Page 113
     1   haven't taken any steps.                         1        Q. If you go to the back, which
     2         Q. Dr. Engelman, I'm going to              2   is a four-page piece, so more lengthy to
     3   now put into the shared exhibits folder          3   yours. Page 4, there is an author
     4   Exhibit 24, which is going to be the             4   contributions section.
     5   Lyumkis Science article, with which I            5            Do you see that?
     6   understand that you are familiar,                6        A. Getting there. Yes.
     7   correct?                                         7        Q. And it says that amongst
     8         A. I am familiar with it.                  8   others, Dmitry Lyumkis wrote the
     9             (Document marked for                   9   manuscript with help from all the
    10         identification as Exhibit                 10   authors.
    11         Engelman-24.)                             11            Do you see that?
    12   BY MR. MORTARA:                                 12        A. I see that Lyumkis, DOP, and
    13         Q. Let us know when you have              13   IKJ wrote the manuscript with help from
    14   it, sir.                                        14   all authors.
    15         A. I have it.                             15        Q. So among others, Dmitry
    16         Q. And this is again the Dmitry           16   Lyumkis wrote the manuscript with help
    17   Lyumkis we talked about that, the young         17   from all the -- all the authors, correct?
    18   scientist for which you have such high          18        A. That's correct.
    19   regard that you made him a subcontractor        19        Q. And it says here in
    20   on one of your NIH grants, correct?             20   competing interests, there's -- some of
    21         A. That's correct.                        21   the authors are inventors on a
    22         Q. And who is Robert Craigie?             22   provisional patent application.
    23         A. He's another scientist at              23            Do you see that?
    24   the NIH. I worked --                            24        A. It looks like the four
    25         Q. Friend of yours?                       25   authors from the Smith 2018 paper.
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     1        Q. And no one disclosed there               1   business.
     2   that they're being paid by any                   2         Q. When was the last time you
     3   pharmaceutical companies, correct?               3   communicated with Stephen Hughes?
     4        A. That's what it looks like.               4         A. I probably would have seen
     5        Q. Reference 25 in the Lyumkis              5   Dr. Hughes in person in May 2019 in Long
     6   Science article is again the Stephen             6   Island at a national meaning that we tend
     7   Hughes 2018 NIH article, correct?                7   to both regularly attend. That meeting
     8        A. That's correct.                          8   was to be taking place next week. But
     9        Q. And this Reference 25, I                 9   it's been canceled. It will be held
    10   think you know, is cited for the                10   virtually, and I don't plan to attend it.
    11   proposition that bictegravir is the most        11            That's -- to the best of my
    12   broadly potent of all clinically approved       12   recollection, the last time I
    13   INSTIs.                                         13   communicated with him is when I saw him
    14             Do you see that?                      14   in person at a conference. I don't
    15        A. I see it, but I don't agree             15   recollect communicating with him since
    16   with it.                                        16   May 2019.
    17        Q. All these scientists on this            17         Q. You have his e-mail, right?
    18   article are comfortable citing the Hughes       18         A. I think his e-mail is public
    19   2018 NIH article for the proposition that       19   record.
    20   bictegravir was the most broadly potent         20         Q. You have his phone number,
    21   of all clinically approved INSTIs,              21   right?
    22   correct?                                        22         A. I don't have his phone in my
    23        A. That's correct. But                     23   smartphone, but I'm sure with some effort
    24   throughout my professional career, I've         24   I could discover his phone.
    25   surely -- I've come into contact many           25         Q. You called him, in your
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     1   times when individual scientists, even in        1   expert reports in this case, a good
     2   publications, make conclusions that I            2   friend. He's a good friend of yours,
     3   don't agree with.                                3   right?
     4        Q. It's not just Stephen Hughes             4        A. He's a friend of mine.
     5   on this article or the authors of the            5        Q. Have you told your good
     6   Hughes 2018 NIH article that are authors         6   friend that you've uncovered -- that his
     7   here. It includes Dmitry Lyumkis and             7   2018 article that's being cited
     8   Robert Craigie, correct?                         8   repeatedly by you and others, is riddled
     9        A. That's correct.                          9   with meaningful errors and
    10        Q. Did you tell Lyumkis or                 10   misconceptions?
    11   Craigie that there are meaningful errors        11        A. I haven't done that. That's
    12   and misconceptions in the 2018 NIH              12   a sensitive issue for me. He is a
    13   article?                                        13   long-term colleague. I've discovered or
    14        A. To date I have not done                 14   uncovered some meaningful issues. And
    15   that.                                           15   this publication and other publications
    16        Q. Have you told the editors of            16   that are recycling data for up to a
    17   Science that no one should be citing the        17   decade, I have not -- and I will make a
    18   2018 NIH Hughes article for this                18   decision at one point in time whether or
    19   proposition because there's meaningful          19   not I will contact journal editors with
    20   errors and misconceptions?                      20   that information or directly talk to
    21        A. So I already discussed, that            21   Dr. Hughes about that.
    22   would be improper business practice.            22            MR. MORTARA: I also move
    23        Q. Did you do it?                          23        to strike that answer as
    24        A. I don't undertake improper              24        nonresponsive and also disclosing
    25   business practices as a normal course of        25        opinions not in your expert
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     1        report.                                      1            MR. MORTARA: That's a
     2            And I'm sure Mr. Wilcox                  2       question for FTI.
     3        will, of course, disagree. We'll             3            THE VIDEOGRAPHER: I'm
     4        take that up with the court later.           4       working on that now. Let me go
     5   BY MR. MORTARA:                                   5       ahead and fix that for you,
     6        Q. My question to you, sir --                6       Doctor.
     7            MR. WILCOX: Yeah, I'll put               7            THE WITNESS: Some
     8        that on the record, I do disagree            8       instruction on how to toggle
     9        and we will take that up later.              9       between PDFs without losing the
    10   BY MR. MORTARA:                                  10       screen would be helpful.
    11        Q. My question to you, sir, is              11   BY MR. MORTARA:
    12   just yes or no.                                  12       Q. We can take that up at the
    13            Have you called your good               13   next break or at lunch even, if you -- if
    14   friend and in a one-on-one conversation          14   you wish to share some of your lunchtime
    15   told him that his 2018 article is riddled        15   with technical assistance, Dr. Engelman.
    16   with errors and misconceptions?                  16            Speaking of which, I'm in
    17        A. I have not.                              17   Chicago and it's noon. You are out east
    18        Q. Dr. Engelman, your expert                18   where it's 1 o'clock. Please tell me
    19   report in this case is highly                    19   when you need to have lunch.
    20   confidential, isn't it?                          20       A. Actually it's noon time here
    21        A. It is.                                   21   as well.
    22        Q. Dr. Engelman, your work for              22       Q. Oh great. I thought you
    23   ViiV's lawyers in this case, you are             23   were in -- where are you again?
    24   being paid for that work, correct?               24       A. I'm in Massachusetts.
    25        A. I'm being paid for the time              25       Q. You know what, the time on
                                               Page 119                                              Page 121
     1   spent.                                            1   the realtime is your time, not my time.
     2        Q. And you are being paid for                2   No wonder I'm not hungry.
     3   the reports you generated, correct?               3        A. Well, it's certainly noon at
     4        A. Part of the time I spent                  4   sometime, right, somewhere.
     5   generating reports, that's correct.               5        Q. You know, time flies when
     6        Q. So when you are being paid                6   you're having fun.
     7   by ViiV's lawyers to write non-public             7        A. I'm having fun.
     8   expert reports, you are willing to say            8             Which -- which one are we
     9   that the NIH 2018 Hughes article is               9   talking about now?
    10   riddled with errors and misconceptions,          10        Q. Who is asking that question?
    11   but you are unwilling to call him up and         11        A. This is Dr. Engelman.
    12   say that to date, correct?                       12             We're going back, Smith 2018
    13        A. To date, I have not called               13   is?
    14   him up and said that.                            14        Q. Yeah, it's Exhibit 25.
    15        Q. Dr. Engelman, I want to                  15        A. Thank you. Okay.
    16   return to Exhibit 25 which is the Hughes         16        Q. All right.
    17   NIH 2018 article. And I want to talk             17        A. I have it on the screen.
    18   about your history with this piece.              18        Q. You saw a draft of this
    19        A. I wish I knew how to quickly             19   article before it was published, isn't
    20   keep that up for reference.                      20   that right?
    21        Q. It's 20 -- it's 25. Just                 21        A. If you're asking whether or
    22   take your time, sir.                             22   not I served as a reviewer for this
    23        A. My screen goes blank a lot.              23   article, that's not my recollection.
    24   Which -- which icon should I click to get        24        Q. You were not a reviewer of
    25   it back?                                         25   this article?
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     1        A. To the best of my                        1   tier journal.
     2   recollection, I was not.                         2         Q. You are familiar with
     3        Q. You might have been a                    3   Retrovirology's peer review process, are
     4   reviewer for this article?                       4   you not?
     5             MR. WILCOX: Objection.                 5         A. I have reviewed for them in
     6        Asked and answered.                         6   the past.
     7             THE WITNESS: I do not                  7         Q. Do you agree that
     8        recall reviewing this article.              8   Retrovirology publishes stringently peer
     9        I -- you know, to be able to                9   reviewed articles?
    10        answer a question like that in             10         A. I agree that the articles
    11        absolute certainty, I'd have to            11   that are published in Retrovirology
    12        review my notes.                           12   undergo peer review, that's correct.
    13   BY MR. MORTARA:                                 13         Q. Do you agree that the review
    14        Q. But that's not actually my              14   is stringent?
    15   question. My question is, didn't you see        15         A. In my -- in my experience,
    16   a draft of this article before it was           16   some reviewers are quite stringent in
    17   published in Retrovirology?                     17   their reading and their comments, while
    18        A. That's not my recollection.             18   other reviewers are significantly less
    19        Q. What journal was this                   19   stringent. So it's a -- I think it's a
    20   article published in, Dr. Engelman?             20   term the journal would like to always be
    21        A. Retrovirology.                          21   able to apply, but in my experience, the
    22        Q. Aren't you on the editorial             22   opinions of different reviewers, when
    23   board of Retrovirology?                         23   they read articles, can -- can vary
    24        A. I am.                                   24   greatly.
    25        Q. You agree that Retrovirology            25         Q. You agree that the 2018 NIH
                                              Page 123                                             Page 125
     1   is a prominent journal, correct?                 1   Hughes article was peer reviewed by your
     2        A. I would -- I would                       2   colleagues at Retrovirology, a journal on
     3   characterize it as a mid tier journal.           3   which you serve on the editorial board,
     4        Q. No, you agree that it's a                4   correct?
     5   prominent journal, don't you, sir?               5        A. Well, to the best of my
     6             MR. WILCOX: Objection.                 6   knowledge. I'm not privy to the
     7        Asked and answered.                         7   information of the process under which
     8             THE WITNESS: I disagree                8   this paper was received, reviewed by
     9        it's a prominent journal.                   9   editors, and then eventually published.
    10        Prominent journals are journals            10            I might assume that that was
    11        such as Cell, Science, and Nature.         11   the case, but I'm -- I'm not privy to
    12             We -- we have a tendency in           12   that information.
    13        the field to think about journals          13            And I'm 99.99 percent sure I
    14        at different ranks, where we would         14   did not review this paper. But I can't
    15        like our best work to be seen and          15   be absolutely sure without reviewing
    16        read, and surely no -- none of my          16   notes.
    17        colleagues would agree that their          17        Q. Dr. Engelman, you have your
    18        best work would be sent to                 18   opening expert report in front of you,
    19        Retrovirology.                             19   correct?
    20   BY MR. MORTARA:                                 20        A. That's correct.
    21        Q. You don't agree that                    21        Q. Could you please turn to
    22   Retrovirology is a prominent journal,           22   Page 2.
    23   correct?                                        23        A. Page 2 --
    24        A. I stick by my assertion that            24        Q. Paragraph 10. Do you see
    25   I think of Retrovirology as a good mid          25   that?
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     1        A. Yep.                                      1         A. Okay.
     2        Q. Second sentence says, "I                  2         Q. Do you want to take a look
     3   currently serve on the editorial boards           3   at that?
     4   of several prominent molecular biology,           4             Do you agree with the
     5   virology, pharmacology journals,                  5   statements being made about the peer
     6   including Nucleic Acids Research, Journal         6   reviewed process in Retrovirology?
     7   of Virology, Retrovirology, and                   7         A. Yes, I agree with -- I agree
     8   Antimicrobial Agents and Chemotherapy."           8   with the policy statement.
     9            Do you see that?                         9         Q. Do you agree that
    10        A. I do.                                    10   Retrovirology operates a stringent peer
    11        Q. In your own expert report in             11   review system?
    12   this case, in November, you described the        12         A. I don't see that language.
    13   Retrovirology journal as prominent,              13         Q. I'm just asking if you agree
    14   correct?                                         14   it's stringent or not.
    15        A. That's correct.                          15             MR. WILCOX: I'm going to
    16        Q. Yet you just told me a few               16         object. The question is
    17   minutes ago, you don't think it's                17         ambiguous.
    18   prominent. Which is it?                          18             THE WITNESS: I've already
    19        A. Well, I would agree with the             19         answered that, that in my vast
    20   statement in my opening report,                  20         experience as a reader for journal
    21   especially as -- as it applies to Nucleic        21         articles, that I see a critical
    22   Acids Research, which I feel is a more           22         array of critical reviews provided
    23   prominent journal than Retrovirology.            23         by individual scientists who serve
    24   But in my opening report I didn't go into        24         as reviewers.
    25   such details.                                    25             Some of those reviews are
                                               Page 127                                              Page 129
     1        Q. And you would agree that the              1         stringent. Many reviews are less
     2   journal on which you are a contributing           2         stringent.
     3   editor describes its review process as            3   BY MR. MORTARA:
     4   stringent, wouldn't you?                          4         Q. Have you told the journal
     5        A. Could you -- could you show               5   editors of Retrovirology that you don't
     6   me that information from the journal              6   agree with any portion of their website?
     7   website before I comment?                         7         A. I have not.
     8        Q. Absolutely, sir. I'm going                8         Q. Would you please go to the
     9   to move into the admitted exhibits,               9   first page of the website where it talks
    10   Exhibit 36 which is, as you requested, a         10   about Retrovirology.
    11   printed version of the prominent journal         11         A. Do I have access to the web?
    12   Retrovirology's website.                         12         Q. It's right here in
    13            (Document marked for                    13   Exhibit 36, sir.
    14        identification as Exhibit                   14         A. Okay.
    15        Engelman-36.)                               15         Q. Retrovirology. It's an open
    16   BY MR. MORTARA:                                  16   access online journal that publishes
    17        Q. Let me know when you have                17   stringently peer-reviewed high-impact
    18   it.                                              18   articles.
    19        A. I see it on the rightward                19             Do you see that?
    20   screen. I don't see it on the leftward           20         A. I do see that.
    21   screen, but I can see it on the rightward        21         Q. You disagree with the
    22   screen.                                          22   statement that your colleagues at
    23        Q. Great. Over here on the                  23   Retrovirology, a journal on which you
    24   third page, you can see a discussion of          24   serve on the editorial board, are making
    25   the peer reviewed policy.                        25   about their peer review process; is that
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     1   right?                                            1         see on your screen.
     2        A. I think the person who wrote              2             THE WITNESS: Excuse me?
     3   this, which was not me -- I did not write         3   BY MR. MORTARA:
     4   this. I was not asked for my input on             4         Q. You did not feel that you
     5   this verbiage that you've shown on my             5   have a responsibility to communicate your
     6   rightward screen. I believe the people            6   conclusions about this article to the
     7   that did write this -- it just                    7   editors of the journal on which you serve
     8   disappeared.                                      8   on the editorial board?
     9        Q. Go ahead and answer, sir.                 9         A. Some of the most blatant
    10        A. Well, I'd like to answer                 10   misconceptions and data misuses that
    11   with the verbiage in front of me.                11   appear in this article have come to light
    12        Q. Sure. I'll put it up in a                12   only in the recent past one or two weeks.
    13   second.                                          13             I have not yet made a
    14        A. Yes. I believe that the                  14   decision whether or not I will contact
    15   people who did write this -- again, it           15   the editors of the journal about these
    16   was written without my input -- would            16   discoveries.
    17   surely like to believe that they are             17         Q. I am simply asking you,
    18   publishing high-impact articles. But I           18   whether you think it's your
    19   think that's a pipe dream on their -- on         19   responsibility to tell your fellow
    20   their perspective.                               20   editors at Retrovirology that the Stephen
    21            I think my expert opinion is            21   Hughes 2018 article contains, as you put
    22   that the high impact articles in my field        22   it in your supplemental report, "It is
    23   are targeted to journals such as Cell,           23   riddled with meaningful errors and
    24   Science, and Nature.                             24   misconceptions."
    25        Q. Dr. Engelman I've placed                 25             Do you consider that to be
                                               Page 131                                            Page 133
     1   Exhibit 37 into the shared folder.                1   your responsibility or not?
     2            (Document marked for                     2            MR. WILCOX: Objection.
     3        identification as Exhibit                    3        Asked and answered.
     4        Engelman-37.)                                4            THE WITNESS: I have not
     5   BY MR. MORTARA:                                   5        come to a final conclusion whether
     6        Q. And that's a listing of the               6        or not I will take that action.
     7   editorial board of the Retrovirology              7   BY MR. MORTARA:
     8   journal. You can see it on the screen,            8        Q. And to be fair to you,
     9   your name appears on the second page.             9   Dr. Engelman, you concluded that the
    10   You are a member of the editorial board,         10   Stephen Hughes NIH 2018 article was
    11   correct?                                         11   riddled with meaningful errors and
    12        A. That's correct.                          12   misconceptions while you were preparing
    13        Q. At any time, have you                    13   your expert reports in this case,
    14   communicated to any of your colleagues on        14   correct?
    15   the Retrovirology editorial board that           15        A. That's correct. That's --
    16   the 2018 NIH Hughes article that they            16   that's during the time under which I
    17   published is riddled with meaningful             17   generated that opinion.
    18   errors and misconceptions?                       18        Q. Have you called the National
    19        A. I have not.                              19   Institutes of Health and told them that
    20        Q. You do not feel that you                 20   Stephen Hughes' 2018 article is riddled
    21   have a responsibility as a member of the         21   with meaningful errors and
    22   editorial board to communicate these             22   misconceptions?
    23   views to the journal that published the          23        A. I have not.
    24   article?                                         24        Q. Have you discussed the
    25            MS. HORWITZ: Adam, you can              25   possibility of you taking action with
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     1   respect to the NIH 2018 article with any         1   appears in the abstract in the results
     2   of ViiV's lawyers?                               2   section. "Overall, in terms of their
     3       A. Outside --                                3   ability to inhibit a broad range of
     4            MR. WILCOX: Let me -- wait.             4   INSTI-resistant mutants, BIC was superior
     5       Wait, Doctor. You know, I'm going            5   to dolutegravir, and dolutegravir was
     6       to object to this question. You              6   superior to CAB."
     7       know, it goes to Rule 26                     7            Do you see that?
     8       protections.                                 8        A. I do see that.
     9            And Dr. Engelman, you should            9        Q. If I understand you
    10       not answer it.                              10   correctly, you don't have any problem
    11            MR. MORTARA: Mr. Wilcox,               11   with the idea that dolutegravir was
    12       his reports don't discuss taking            12   superior to CAB, right?
    13       any such action. So I don't know            13        A. So in forming my opinions
    14       how that could be a communication           14   for this case, I did not just focus on a
    15       about a draft report. If you                15   single article. As opined in my reports,
    16       would permit him to answer the              16   I reviewed over 400 documents and came to
    17       question, then we won't have to             17   a consensus conclusion about the work
    18       seek relief from the court and              18   related to this case from looking at
    19       bring him back later like with              19   numerous peer-reviewed publications, one
    20       Kawasuji.                                   20   of them being this article.
    21            MR. WILCOX: I'll take that             21            My assessment of the data
    22       under advisement, but at this               22   that's been freely available to me
    23       point I'm going to instruct him             23   through the published literature, or
    24       not to answer.                              24   through documents provided by counsel, is
    25   BY MR. MORTARA:                                 25   that in general, dolutegravir is superior
                                              Page 135                                            Page 137
     1        Q. Dr. Engelman, is it fair to              1   to cabotegravir. However, there are
     2   say that to date, as in up to today, you         2   instances in other papers that would tend
     3   have been unwilling to put your                  3   to indicate that that's not always the
     4   professional reputation on the line by           4   case.
     5   subjecting your own criticisms of the            5        Q. Dr. Engelman, you disagree
     6   Hughes NIH 2018 article to public                6   with the statement here, "BIC was
     7   scrutiny, correct?                               7   superior to dolutegravir," correct?
     8            MR. WILCOX: Objection.                  8        A. My interpretation of the
     9        Argumentative.                              9   data presented in this article, that
    10            THE WITNESS: If I was going            10   tested the activities of five different
    11        to pursue this matter, beyond to           11   integrase inhibitors against 57 different
    12        which I have to date, my first             12   integrase mutant viruses, and then
    13        step in that approach would be to          13   assessed the statistical and numerical
    14        contact the editors of the                 14   significance of activities via comparing
    15        journals where I think                     15   EC50 values in head-to-head analyses by,
    16        publications are significantly             16   I believe, the students' T test, was that
    17        flawed.                                    17   out of those 57 tested mutant viruses,
    18   BY MR. MORTARA:                                 18   dolutegravir was superior to bictegravir
    19        Q. And you haven't done that to            19   for 10 of the 57 mutant viruses, and
    20   date, have you?                                 20   bictegravir was superior to dolutegravir
    21        A. That's correct.                         21   for 14 of the mutant viruses.
    22        Q. I want to now move to                   22        Q. My question, Dr. Engelman,
    23   statements in the article and confirm           23   is fairly simple.
    24   your disagreements with those statements.       24             Do you agree that
    25            The very first of those                25   bictegravir is superior to dolutegravir
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     1   in terms of its in vitro ability to              1        Q. Did you take all the data
     2   inhibit a broad range of INSTI resistant         2   available to you in hand when rendering
     3   mutants?                                         3   your expert opinions in this case?
     4        A. Well, as opined in my                    4        A. I did.
     5   report, taking into account numerous             5        Q. You did not take into
     6   publications and other documents that            6   consideration in your opening expert
     7   were provided to me, I disagree with that        7   report the data you had in hand from the
     8   statement.                                       8   Science manuscript, did you?
     9        Q. Do you agree that based on               9        A. I did not include the data
    10   the data presented in this article,             10   from the Science manuscript in my opening
    11   bictegravir is superior to dolutegravir         11   report for reasons discussed.
    12   in terms of its in vitro ability to             12            If I had taken that data at
    13   inhibit a broad range of INSTI resistant        13   hand, as I have now in my, I believe
    14   mutants?                                        14   reply and supplemental report, it does
    15        A. Well, I disagree with that,             15   not change my opinion.
    16   because when looking at the data                16        Q. Did you, otherwise, take
    17   carefully, which I've done at numerous          17   into account all the data available to
    18   times in my two different reports,              18   you?
    19   especially in my reply report, where I          19        A. I took into account the
    20   broke down the different mutants that           20   approximate 400 documents that are
    21   were discussed at length in this article,       21   enumerated, specifically under Exhibit B
    22   based on reported P-values. And went            22   in my opening report and reply report.
    23   through those one by one in different           23        Q. Sorry, sir, my realtime. I
    24   sets and came to the conclusion that            24   just need to check the transcript. It's
    25   there was no substantial difference in          25   not coming up.
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     1   the reported values of bictegravir versus        1            MR. MORTARA: Madam court
     2   dolutegravir to inhibit the 57 integrase         2        reporter, I'm having a problem
     3   mutant viruses that were the subject of          3        with the realtime. Oh, got it.
     4   this paper.                                      4   BY MR. MORTARA:
     5        Q. Dr. Engelman, hold one                   5        Q. Did you attempt to take into
     6   moment. That means you disagree based on         6   account all the data available to you
     7   the data presented in this article with          7   when rendering your expert opinions in
     8   the statement in the abstract that               8   this case?
     9   bictegravir is superior to dolutegravir          9            MR. WILCOX: Objection.
    10   in terms of its ability -- its in vitro         10        Asked and answered.
    11   ability to inhibit a broad range of INSTI       11            THE WITNESS: As I -- as I
    12   resistant mutants, correct?                     12        recently said, I took into account
    13        A. Yes. That's my expert                   13        the approximate 400 documents that
    14   opinion.                                        14        are tabulated specifically in the
    15        Q. Would you admit that                    15        Exhibit B of my opening report and
    16   bictegravir is better than dolutegravir         16        my reply report.
    17   in terms of its ability to broadly              17            Approximately 125 of those
    18   inhibit the known integrase mutants based       18        documents, of the 400 that I
    19   on the data in this article?                    19        considered, discussed dolutegravir
    20        A. My expert opinion took into             20        or bictegravir.
    21   account numerous published articles. And        21            I additionally took into
    22   I am only willing to comment on the             22        account in vitro antiviral potency
    23   behavior of dolutegravir and bictegravir        23        data from 14 separate reports,
    24   when I take all the data at hand into           24        either internal documents or
    25   consideration.                                  25        published papers, that encompassed
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     1       approximately 200 different                  1   Page 47.
     2       integrase mutant viruses.                    2             Could you remind me of the
     3   BY MR. MORTARA:                                  3   exhibit of Smith 2018 please?
     4       Q. Who decided what data you                 4        Q. It's 25, sir.
     5   would take into account in rendering your        5        A. Okay. Finally uploaded on
     6   expert opinions?                                 6   my left screen. And what page number are
     7       A. I did.                                    7   you on, please?
     8       Q. Was there any data that you               8        Q. It is 8 of 18.
     9   asked for that you weren't given?                9        A. Okay. Sorry.
    10       A. No.                                      10        Q. At the bottom. The sentence
    11       Q. Do you think that there's                11   highlighted.
    12   any data you could have considered but          12             "Thus, BIC was superior to
    13   chose not to?                                   13   the other INSTIs in terms of its ability
    14       A. It's difficult for me to                 14   to retain antiviral activity against this
    15   speculate about things that I know              15   set of triple mutants."
    16   nothing about.                                  16             Do you see that?
    17       Q. Are you aware of any data                17        A. I do. And I am trying to
    18   you could have considered but chose not         18   put that in context.
    19   to?                                             19             And now I believe I have the
    20       A. I am unaware of things that              20   context of the statement.
    21   I am unaware of.                                21        Q. My question is, do you
    22       Q. My question, sir, is, do you             22   agree, based on the data presented in the
    23   know that there's additional data out           23   Smith 2018 article, that bictegravir was
    24   there that you could have considered for        24   superior to cabotegravir and dolutegravir
    25   purposes of your expert report, but you         25   in terms of its ability to retain
                                              Page 143                                             Page 145
     1   chose not to do that, as you did in your         1   antiviral activity against this set of
     2   opening report with the draft materials          2   triple mutants?
     3   from the Science article?                        3         A. Yeah, I have to apologize.
     4         A. I do not know of any data               4   I don't want to answer until I fully know
     5   that I chose not to include. I didn't            5   what that statement refers to. It's a
     6   even choose not to include the data from         6   little awkward for me to be reading this
     7   the Science paper in my opening report.          7   in realtime. If I have the paper copy of
     8   It was something I didn't even consider,         8   the paper in front of me, I would be more
     9   or barely considered.                            9   familiar with that. So I just have to
    10         Q. Would you please turn to               10   apologize.
    11   page -- excuse me one second. I'll try          11            I'm unwilling to answer the
    12   to get to the page. Page 8 of 18 of the         12   question until I fully understand the
    13   article.                                        13   context of the statement. So just give
    14             I'm going to ask you about a          14   me more time.
    15   sentence that appears at the bottom of          15            Now that I've had some time
    16   the page. It says -- when you're ready,         16   to review the science, the sentence that
    17   sir, just let me know -- "Thus, BIC was         17   you have highlighted to, refers to, it
    18   superior to other INSTIs" -- the other          18   seems to me that from looking at
    19   INSTIs in terms of its ability to retain        19   supplemental Table 7, at the back side of
    20   antiviral activity against this set of          20   this manuscript, is that applies -- that
    21   triple mutants."                                21   statement, at best, could apply to half
    22             Do you see that?                      22   of the viruses under experimentation.
    23         A. I see that on the screen.              23   The statistical analysis applied by the
    24             I'm now going to turn to a            24   authors indicates that bictegravir was
    25   portion of my reply report that begins on       25   statistically numerically different from
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     1   dolutegravir to inhibit half of the            1   bictegravir and dolutegravir to inhibit
     2   viruses under study in this particular         2   the infection of this one mutant virus,
     3   experiment.                                    3   my own analysis indicates that the fold
     4             So it was superior to the            4   change values from 15.5 to 34.9 clearly
     5   other INSTIs in terms of its ability to        5   indicates that the in vitro activities of
     6   retain antiviral activity against the set      6   these two drugs against that mutant virus
     7   of triple mutants.                             7   is rather meaningless, because neither
     8             I think that's misleading.           8   inhibitor can be considered to be active
     9        Q. You believe it's misleading            9   against that virus.
    10   to say that bictegravir was superior to       10        Q. Okay. Dr. Engelman, you've
    11   the other INSTIs in terms of its ability      11   just called the sentence that I've
    12   to retain antiviral activity against this     12   highlighted on Page 18 of Exhibit 25, the
    13   set of triple mutants because, while you      13   2018 NIH Hughes article, "Thus
    14   agree that bictegravir was superior for       14   bictegravir was superior to the other
    15   half of them, for another half it was         15   INSTIs in terms of its ability to retain
    16   not?                                          16   antiviral activity against this set of
    17        A. That's -- that's one of the           17   triple mutants," misleading, did you not?
    18   issues with that statement, is that           18        A. Well, I came to that
    19   dolutegravir and bictegravir were             19   conclusion because, as we've discussed,
    20   statistically insignificant in terms of       20   three of the six mutant viruses it's
    21   their ability to inhibit the infection of     21   untrue.
    22   the E138A/G140S/Q148H mutant virus. They      22        Q. And could you please read
    23   were statistically numerically                23   the sentence that follows?
    24   insignificant in their ability to inhibit     24        A. "BIC was the superior INSTI
    25   the infection of the G140S/Y143R/Q148H        25   against this panel of triple mutants as
                                            Page 147                                             Page 149
     1   virus.                                         1   it had significantly better potencies
     2            They were statistically               2   against five triple mutant viruses in CAB
     3   insignificant in their abilities to            3   and three P-values less than 0.001, see
     4   inhibit the infection of the                   4   Figure 3, and additional file 1:S7B and
     5   G140S/Q148H/N155R virus.                       5   three triple mutants than DTG, P-values
     6            So that leaves three viruses          6   less than .001.
     7   out of six, including T97A/G140S/Q148H.        7        Q. That next sentence explains
     8            I would direct your                   8   what Dr. Hughes and his colleagues meant
     9   attention to Page 48 in my reply report,       9   by "superior performance against this set
    10   where I specifically discuss the in vitro     10   of triple mutants," does it not?
    11   activities of dolutegravir and                11        A. I think it attempts to do
    12   bictegravir in their ability to inhibit       12   that. That's correct.
    13   the infection of the T97A/G140S/Q148H         13        Q. Is the highlighted sentence,
    14   mutant virus.                                 14   "Bictegravir was superior to the other
    15            My expert analysis indicates         15   INSTIs in terms of its ability to retain
    16   that the fold change in activity of           16   antiviral activity against this set of
    17   dolutegravir to inhibit this triple           17   triple mutants," misleading?
    18   mutant virus is 34.9, and the fold change     18        A. Well, surely if I would have
    19   of bictegravir to inhibit this mutant         19   been a peer reviewer of this article, I
    20   virus is 29.5.                                20   would have made that comment and asked
    21            Therefore, even though the           21   the authors to change their language.
    22   statistical analysis performed in Smith       22        Q. Is it misleading, sir?
    23   2018 indicates that there is a P-value to     23        A. Yes.
    24   indicate a statistical numerical              24        Q. Okay. Dr. Engelman, if the
    25   difference in the in vitro activity of        25   Milwaukee Bucks had the best record in
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     1   the NBA Eastern conference and have              1            Do you see that?
     2   played 60 games and lost 22, would it be         2        A. I do.
     3   fair to say that they were superior to           3        Q. You actually at times quote
     4   the other teams at basketball?                   4   this sentence in your reports; isn't that
     5            MR. WILCOX: Objection.                  5   right?
     6        Incomplete hypothetical.                    6        A. My reports are quite
     7            THE WITNESS: I don't know               7   extensive. I don't recollect any
     8        what the other records of the               8   specific quote versus another.
     9        other teams in basketball are.              9        Q. This is not a conclusion
    10   BY MR. MORTARA:                                 10   from the data presented in this article
    11        Q. I just told you they're the             11   that Dr. Hughes and his colleagues are
    12   best. 60 and 22. They were better than          12   drawing. This is just the general
    13   everybody else. Would it be fair to say         13   scientific statement, correct?
    14   they were superior to the other teams in        14            MR. WILCOX: Objection.
    15   the eastern conference?                         15        Ambiguous.
    16        A. I am not an expert in                   16            THE WITNESS: It's a
    17   basketball, sir.                                17        statement made by the authors of
    18        Q. We can't have a conversation            18        the paper.
    19   about what it means to be superior to a         19   BY MR. MORTARA:
    20   set like a group of teams?                      20        Q. And it's not saying, "We
    21        A. I would like to restrict my             21   analyzed the data and concluded this."
    22   testimony to what I am -- what I am an          22   The data -- this paper is not a clinical
    23   expert in.                                      23   research paper, correct?
    24        Q. Well, this is written in                24        A. This paper analyzes the
    25   English, correct?                               25   activity of the integrase inhibitor in in
                                              Page 151                                                Page 153
     1        A. This is in -- this paper is              1   vitro infection assays.
     2   published in English, that's correct.            2        Q. It's not a clinical research
     3        Q. You're a native reader and               3   paper, correct?
     4   speaker of English, correct?                     4        A. This paper does not describe
     5        A. I am.                                    5   the results of the clinical trial.
     6        Q. Do you think that this                   6        Q. And this statement, "Given
     7   sentence is incorrect as a matter of             7   the problems that arise with drug
     8   English, in light of the data presented          8   resistance, it is likely that among
     9   in the article?                                  9   related compounds, those that are more
    10        A. I do.                                   10   broadly effective against resistant
    11        Q. Even in light of the                    11   viruses will have an advantage in the
    12   sentence that follows, correct?                 12   clinic," is a general statement of
    13        A. That's correct.                         13   science, correct?
    14        Q. I'd like to show you now a              14            MR. WILCOX: Objection.
    15   comment that you've discussed in your           15        Ambiguous.
    16   expert reports that appears on Page 10 of       16            THE WITNESS: Pointing your
    17   the article.                                    17        attention to the prior sentence.
    18            It's the sentence -- I'm               18        "Given the complexities of
    19   sure you are familiar with it --                19        pharmacology, a significant
    20   "However, given the problems that arise         20        difference in the behavior of a
    21   with drug resistance, it is likely that         21        drug against a particular mutant
    22   among related compounds, those that are         22        or mutants may or may not
    23   more broadly effective against resistant        23        translate directly into a
    24   viruses will have an advantage in the           24        desirable clinical outcome."
    25   clinic."                                        25   BY MR. MORTARA:
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     1        Q. Okay. Also a general                     1        Q. You would at least concede
     2   statement of science, correct?                   2   that reasonable scientists could agree
     3            MR. WILCOX: Objection.                  3   that given the problems that arise with
     4        Ambiguous.                                  4   drug resistance, it is likely that among
     5            THE WITNESS: What page are              5   related compounds, those that are more
     6        we on, sir?                                 6   broadly effective against resistant
     7   BY MR. MORTARA:                                  7   viruses will have an advantage in the
     8        Q. Ten, sir.                                8   clinic, correct?
     9        A. This is -- this is part of               9        A. Yes, and I do agree that --
    10   the discussion section of the paper             10            MR. WILCOX: Objection --
    11   where -- where authors can discuss their        11            Sorry about that, Dr.
    12   results and take the liberty to                 12        Engelman, just give me a chance to
    13   speculate. And then it's up to reviewers        13        make my objection. I'm going to
    14   and editors to see if they agree with           14        object that that question. Calls
    15   that language. But this is in the               15        for speculation.
    16   discussion section of the paper.                16            MR. MORTARA: For the
    17        Q. And my question to you is,              17        record, the witness began his
    18   these are general statements of science         18        answer with the word "Yes."
    19   in the discussion section of the article,       19   BY MR. MORTARA:
    20   correct?                                        20        Q. Please continue,
    21            MR. WILCOX: Objection.                 21   Dr. Engelman.
    22        Ambiguous.                                 22        A. Well, you know,
    23            THE WITNESS: These are                 23   reconsidering the question, I think it
    24        statements that these authors              24   has become clear and it is a consensus in
    25        chose to make in the discussion            25   my field that dolutegravir has much
                                              Page 155                                             Page 157
     1        section of this article.                    1   superior resistance profiles than the
     2   BY MR. MORTARA:                                  2   First-Generation inhibitors, raltegravir
     3        Q. And I -- I guess I asked, do             3   and elvitegravir in in vitro assays, and
     4   you disagree with the sentence                   4   to date, it seems to have proven true
     5   highlighted, "Given the problems that            5   that dolutegravir has an advantage over
     6   arise with drug resistance, it is likely         6   raltegravir and elvitegravir in the
     7   that among related compounds, those that         7   clinical setting.
     8   are more broadly effective against               8        Q. Dr. Engelman, could a
     9   resistant viruses will have an advantage         9   reasonable scientist agree with this
    10   in the clinic"?                                 10   statement in the Hughes 2018 NIH article,
    11        A. Very different -- difficult             11   "Given the problems that arise with drug
    12   for me to speculate about a statement           12   resistance it is likely that among
    13   like this, unless I have the specific           13   related compounds, those that are more
    14   data at hand. As opined in my reports, I        14   broadly effective against resistant
    15   looked at data generated from hundreds of       15   viruses will have an advantage in the
    16   documents and came up with a consensus          16   clinic"?
    17   opinion based on the data across                17            MR. WILCOX: I'm going to
    18   documents.                                      18        object that this question calls
    19             I'd like to be able to                19        for speculation.
    20   restrict my analyses of data to what I've       20            THE WITNESS: Yeah, I think
    21   already analyzed in great detail.               21        this -- this statement is over
    22        Q. You can't say you agree or              22        speculative.
    23   disagree with the sentence that's in the        23            Even the problems that arise
    24   article; is that your testimony?                24        with drug resistance, it is likely
    25        A. That's my testimony.                    25        that, among related compounds,
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     1         that are more broadly effective           1   and the chemical structure of
     2         against resistant viruses may have        2   bictegravir, correct?
     3         an advantage. Definitely not will         3        A. Correct.
     4         have an advantage.                        4        Q. And on the left is the
     5   BY MR. MORTARA:                                 5   ring -- leftmost ring of dolutegravir and
     6         Q. You agree with the statement           6   then the leftmost bridged bicyclic ring
     7   if it said may have an advantage in the         7   of bictegravir, correct?
     8   clinic?                                         8        A. That's correct.
     9         A. Definitely as it pertains to           9        Q. If you would, please refer
    10   the differences between dolutegravir and       10   now to Page 11 of the article, which I'll
    11   raltegravir and elvitegravir.                  11   also put up on the screen. There's a
    12         Q. Could a reasonable scientist          12   discussion of the differences that
    13   agree with Dr. Hughes and the conclusions      13   Dr. Hughes and his team are talking
    14   of his 2018 NIH article that bictegravir       14   about, which I'm sure you remember.
    15   has a superior in vitro resistance             15            Can you see that on the
    16   profile than dolutegravir in the               16   screen?
    17   experiments disclosed in the article, or       17        A. Yeah, I'm reading it right
    18   are Dr. Hughes' conclusions completely         18   now.
    19   unreasonable?                                  19        Q. Take your time.
    20         A. In my expert opinion after            20            And right at the top of that
    21   spending more than 20 hours of my time         21   page there is sentence that says, "It
    22   reviewing the Smith article and related        22   appears that the structural differences
    23   publications, my opinion is that the           23   on the left side of these INSTIs, the
    24   conclusion that bictegravir is superior        24   part of the pharmacophore away from the
    25   to dolutegravir is an overstatement from       25   3' end of the viral DNA are largely
                                             Page 159                                               Page 161
     1   this paper.                                     1   responsible for their different
     2            I'm not sure about other               2   resistance profiles."
     3   scientists that you have in mind, whether       3             Do you see that part?
     4   or not they've spent one hour, 20 hours         4         A. I was reading Page 11. I
     5   or perhaps more time reading this               5   didn't see it there. Could you -- could
     6   article.                                        6   you tell me the page number again?
     7        Q. And for those 20 hours of               7         Q. It's on Page 11. The very
     8   your time, you were paid $10,000 correct?       8   first thing, first full sentence.
     9        A. For the time that I have put            9         A. Okay. I got it.
    10   into this case, reading manuscripts,           10         Q. And you understand that to
    11   considering close to 400, if not 400           11   be referring to what I've highlighted on
    12   documents, I was paid -- I was billed --       12   the left, the single ring of dolutegravir
    13   I billed and was paid at the rate of $500      13   and the bridged bicyclic ring of
    14   per hour, that's correct.                      14   bictegravir, and indeed the smaller ring
    15        Q. And if you spent 20 hours              15   of cabotegravir, the left side as
    16   reviewing the Smith manuscript, you were       16   Dr. Hughes puts it, correct?
    17   paid $10,000 for that review, correct?         17         A. That's correct.
    18        A. That -- that would seem to             18         Q. So Dr. Hughes is saying in
    19   be correct. That's correct.                    19   this article that it is this structural
    20        Q. Would you turn to the second           20   feature that is responsible for the
    21   page of the article, in the picture in         21   different resistance profiles that he
    22   the structures in Figure 1.                    22   found in his article of these three
    23        A. Yep, I have those.                     23   compounds, correct?
    24        Q. And you see that -- the                24         A. I don't think he's saying it
    25   chemical structure of dolutegravir here        25   with utmost certainty. He's done some
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     1   molecular modeling to paraphrase the             1      AFTERNOON SESSION
     2   sentence he wrote. His wording is "it            2               - - -
     3   appears that."                                   3           THE VIDEOGRAPHER: We are
     4        Q. You agree that he concluded              4       back on the record. It's
     5   that it appears that these structural            5       1:45 p.m.
     6   differences that I've highlighted in             6               - - -
     7   yellow on the left side in the article,          7          CONTINUED EXAMINATION
     8   left side of the INSTIs as Dr. Hughes has        8               - - -
     9   drawn them, it appears that those                9   BY MR. MORTARA:
    10   differences are responsible for their           10       Q. All right. Dr. Engelman,
    11   different resistance profiles, correct?         11   back to the Hughes article.
    12        A. Yes. Just let me, for the               12           MR. WILCOX: Mr. Mortara,
    13   record, restate the actual language.            13       could I just put something on the
    14            "It appears that the                   14       record before you get started
    15   structural differences on the left side         15       there?
    16   are largely responsible."                       16           MR. MORTARA: Sure.
    17        Q. Otherwise you agree?                    17           MR. WILCOX: So I'm going to
    18        A. I agree that's what he                  18       withdraw my instruction to
    19   wrote.                                          19       Dr. Engelman not to answer the
    20        Q. All right. Dr. Engelman, I              20       question about having discussed
    21   am going to move on and put up -- by the        21       the possibility of taking action
    22   way, do you want a break? We've been            22       with respect to the NIH 2018
    23   going for quite some time.                      23       article.
    24            MR. MORTARA: Mr. Wilcox?               24           MR. MORTARA: Okay. I'll go
    25            MR. WILCOX: Dr. Engelman,              25       ahead and ask it.
                                              Page 163                                             Page 165
     1       if you feel like you want to take            1   BY MR. MORTARA:
     2       a break right now, if we could               2        Q. Dr. Engelman, have you
     3       stop for lunch --                            3   discussed the possibility of taking any
     4            MR. MORTARA: I'm happy to               4   action with respect to the errors and
     5       continue, but I'm also happy to              5   misconceptions you believe are in the
     6       offer you a break, Dr. Engelman.             6   Stephen Hughes 2018 NIH article with
     7            THE WITNESS: Well, since                7   ViiV's lawyers?
     8       it's almost 1:00 p.m. where I                8        A. I believe I have recently
     9       live, I think it's not a bad time            9   brought up that idea with them.
    10       for a break. Should we reconvene            10        Q. And tell me what they said.
    11       at 1:45 Eastern?                            11        A. I don't think they had any
    12            MR. MORTARA: Whatever it is            12   specific reply to that. They are not --
    13       you'd like, sir. I've got all               13   they are not a physician -- a person of
    14       day.                                        14   ordinary skill in the art for HIV
    15            1:45 Eastern?                          15   integrase and integrase inhibitors. I
    16            MR. WILCOX: Sounds like a              16   don't recall any specific reply from
    17       plan. Let's do it.                          17   them.
    18            THE WITNESS: Thank you.                18        Q. Did you tell them that you
    19            MR. MORTARA: Thank you,                19   were going to do it?
    20       Dr. Engelman.                               20        A. No. Because I mentioned
    21            THE VIDEOGRAPHER: Going off            21   earlier, I have not even decided if I'm
    22       the video record at 12:55 p.m.              22   going to do it. I believe I mentioned,
    23                - - -                              23   given recent information, that is
    24              (Lunch break.)                       24   something I should consider.
    25                - - -                              25        Q. Dr. Engelman, did ViiV's
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     1   lawyers give you their opinion about            1        A. In preparing for today's --
     2   whether it would be good or bad for them        2   well, I believe what's discussed between
     3   if you did so?                                  3   myself and the attorneys during the
     4        A. No, they did not.                       4   preparation for today is covered under
     5        Q. Dr. Engelman, did you have              5   privilege.
     6   any conversations with ViiV's lawyers           6        Q. Tell me everything the ViiV
     7   today since you started testifying,             7   lawyers have said to you during today's
     8   electronic or otherwise?                        8   deposition?
     9        A. Yes, we have had                        9        A. They've asked me how is the
    10   conversation.                                  10   weather in Massachusetts.
    11        Q. You have been communicating            11             I replied to them that the
    12   with ViiV's lawyers during today's             12   weather here was sunny.
    13   testimony?                                     13             I asked them how is the
    14        A. We have spoken to each other           14   weather where they lived. I think I got
    15   when we're off the record, mostly about        15   a reply from Ms. Miller that it was nice.
    16   the weather and the kinds of keyboards we      16        Q. Did you arrange -- go ahead.
    17   have. That's what we just spoke about.         17   Continue. Tell me everything that was
    18        Q. Why have you been getting on           18   said.
    19   the phone with ViiV's lawyers during your      19        A. Most recently we were
    20   testimony today, sir?                          20   talking about the desks that we use to
    21        A. Well, it's not -- it's when            21   work. In particular, Lindsey Miller told
    22   we're off the record.                          22   me that there are people that she works
    23        Q. Why have you been getting on           23   with that use bicycle desks. I found
    24   the phone with ViiV's lawyers during your      24   that very interesting, because I'm not
    25   testimony today, sir?                          25   all that familiar with bicycle desks.
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     1        A. During multiple meetings in             1        Q. Dr. Engelman, prior to
     2   prep for today, the lawyers instructed          2   today's deposition, did you arrange in
     3   me, in many -- since we spent a couple          3   advance to use seemingly innocuous
     4   dozen hours -- couple dozen hours               4   discussions about the weather and bicycle
     5   preparing for today, they brought up many       5   desks as code for coaching during your
     6   different things that may occur during          6   deposition?
     7   the day. They said one thing that we --         7        A. No, sir. We did not.
     8            MR. WILCOX: I'm sorry.                 8        Q. Dr. Engelman, why did you
     9        Dr. Engelman, I'm going to                 9   call the ViiV lawyers during the breaks?
    10        instruct you not to answer what           10        A. My understanding is what we
    11        was discussed during your sessions        11   discussed in preparation for today's
    12        with us.                                  12   meeting is covered by privilege.
    13            THE WITNESS: Okay. Thank              13        Q. Do you believe that you were
    14        you.                                      14   calling the ViiV lawyers because of
    15   BY MR. MORTARA:                                15   instructions -- withdrawn.
    16        Q. Dr. Engelman, have you                 16            You were calling the ViiV's
    17   communicated in any way about the              17   lawyers because of something that they
    18   substance of this case or the format or        18   had prepared you about for today's
    19   the way in which you are testifying in         19   deposition, correct?
    20   this deposition with ViiV's lawyers            20        A. I think, my understanding,
    21   today?                                         21   is the discussions that we had in
    22        A. I have not.                            22   preparation for today's deposition is
    23        Q. Dr. Engelman, why have you             23   covered by privilege.
    24   been on the phone with ViiV's lawyers          24        Q. I'm asking you about the
    25   while you are under oath?                      25   discussions you had today and why you had
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     1   them.                                           1   that you discussed with ViiV's lawyers?
     2           You had them because of                 2   The weather, bicycle desks. Anything
     3   something you discussed in prep, correct?       3   else?
     4       A. Well, I think you're back to             4        A. We briefly discussed how
     5   asking me what was discussed in prep.           5   difficult it is for our children to deal
     6   And my understanding is that has been           6   with learning in today's virtual
     7   covered by privilege.                           7   environment. I have children.
     8           MR. MORTARA: Mr. Wilcox,                8            Sir, do you have children?
     9       are you going to instruct him not           9        Q. Dr. Engelman, did the word
    10       to answer my question about why            10   "bictegravir" or the word "dolutegravir"
    11       you were on the phone with him             11   get used today between you and the ViiV
    12       during the deposition? The                 12   lawyers?
    13       question is, "You had these                13        A. No, they did not.
    14       discussions with ViiV lawyers on           14        Q. Are the discussions that you
    15       the phone today because of                 15   had today with ViiV's lawyers part of
    16       something you discussed in prep,           16   what you're including in preparation for
    17       correct?"                                  17   the deposition?
    18           MR. WILCOX: I think it's               18        A. In preparation for today's
    19       different than the way you're              19   deposition, it was mentioned that --
    20       asking. If you want to ask him             20            MR. WILCOX: Dr. Engelman,
    21       why he was on the phone with us, I         21        he's asking you a question of
    22       think that's fine.                         22        where you are drawing the line
    23           But if you're going to delve           23        about where did preparation end
    24       into the -- if you're going to             24        and today's deposition begin.
    25       delve into the substance of our            25            THE WITNESS: Preparation
                                             Page 171                                            Page 173
     1        communications prior to him going          1        for today's deposition ended
     2        under oath, and with respect to            2        approximately 9:30 this morning.
     3        the prep, you know, I'm going to           3   BY MR. MORTARA:
     4        draw the line there.                       4        Q. Dr. Engelman, do you believe
     5            MR. MORTARA: I'm not asking            5   that the conversations that you've had
     6        for the substance, sir.                    6   with ViiV's lawyers today during your
     7   BY MR. MORTARA:                                 7   sworn testimony have been in fact about
     8        Q. I'm saying, is the reason               8   your testimony, whether or not words
     9   that you were on the phone with ViiV's          9   about your testimony have been used?
    10   lawyers while you were under oath today,       10        A. I absolutely believe the
    11   the prep that you received?                    11   conversations that I've had with ViiV
    12        A. My understanding is that we            12   lawyers during today off the record have
    13   agreed to meet with each other during the      13   nothing to do with my testimony today.
    14   day today, just an informal fashion, to        14        Q. Do you know why it was
    15   see each other.                                15   arranged that you would have calls with
    16        Q. Have you been engaged in               16   ViiV lawyers while I was questioning you?
    17   videoconferencing with ViiV's lawyers          17        A. I do not know why it was
    18   during today's deposition?                     18   arranged.
    19        A. We have met each other                 19        Q. Dr. Engelman let's turn to
    20   through video app on a computer at my          20   the Hughes 2018 article.
    21   house that's outside of this room.             21            And I'm now referring to
    22        Q. Have you been shown                    22   Page 3, which you can see on your screen.
    23   documents during today's testimony?            23   Do you have it yet?
    24        A. No.                                    24        A. I'm scrolling up on my
    25        Q. Have you told me everything            25   screen to Page 3. That's correct.
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     1        Q. And there's a sentence that            1   final punctuation in said sentence.
     2   you have spent much time discussing in         2        Q. You did not include the
     3   your expert reports, and so I know you're      3   whole sentence here. You cut it off in
     4   very familiar with it. It's this one I         4   your expert report, correct?
     5   am highlighting on the screen.                 5        A. But in my mind, I used
     6        A. I see it there.                        6   indications in the typing to indicate
     7        Q. "However, only bictegravir             7   that very fact.
     8   potently inhibited the well known              8        Q. You cut it off, correct?
     9   RAL-resistant IN double mutant                 9        A. I -- I amended the original
    10   G140S/Q148H and the DTG-resistant IN          10   sentence to indicate it was not the full
    11   mutants G118R/R263K and H51Y/R263K with       11   sentence, that's correct.
    12   EC50 values less than or equal to 5           12        Q. It is your position that the
    13   nanomolar."                                   13   highlighted sentence in the 2018 Hughes
    14            You've discussed that                14   article, Dr. Hughes and his co-authors,
    15   sentence at length in your expert             15   are communicating that only bictegravir
    16   reports, right?                               16   potently inhibited G140S/Q148H and that
    17        A. That's because I believe              17   dolutegravir and cabotegravir did not.
    18   that sentence is incorrect.                   18   That is your reading of this sentence,
    19        Q. Dr. Engelman, if you would,           19   correct?
    20   I'm going to refer you to your expert         20        A. My reading of this sentence
    21   report, Paragraph 417 of your opening         21   is that, "However, only bictegravir
    22   report.                                       22   potently inhibited the well-known RAL
    23        A. Did you say -- oh, 417, I             23   resistant IN double mutant G140S/Q148H
    24   got it.                                       24   and the DTG-resistant IN mutants G118R,
    25        Q. Yep. Just go ahead and take           25   R263K, and H51Y/R263K with effective
                                            Page 175                                            Page 177
     1   your time.                                     1   concentration 50 percent values less than
     2        A. Okay. 417.                             2   or equal to 5 nanomolar."
     3        Q. And I have some of your                3            That's my reading of the
     4   discussion of this sentence. It says --        4   sentence.
     5   it purports to be quoting the sentence.        5        Q. And you think this sentence
     6   It says, "However, only BIC potently           6   means bictegravir was the only compound
     7   inhibited the well-known RAL resistant IN      7   to potently inhibit G140S/Q148H.
     8   double mutant," goes on and ends after         8   Bictegravir was the only compound to
     9   G118R. Do you see that?                        9   inhibit G118R. Bictegravir was the only
    10        A. Yep.                                  10   compound to potently inhibit G -- R263K.
    11        Q. You did not include the               11   And bictegravir was the only compound to
    12   whole sentence here. And you cut it off       12   inhibit H51Y/R263K. That is what you
    13   in your expert report, correct?               13   think this means?
    14        A. What I meant to say, the              14            MR. WILCOX: Objection.
    15   type of typing that I used is after the       15        Compound.
    16   IN mutant I have a double bracket which       16            THE WITNESS: I think what
    17   is not in the primary research                17        this sentence means is that only
    18   publication you have highlighted on my        18        bictegravir potently inhibited the
    19   rightward screen. The double bracket          19        five integrase mutant viruses that
    20   that I used is there to indicate there        20        are further subjects of this
    21   are -- is other text from the original        21        sentence. That's correct. That's
    22   quotation that I omitted. And then after      22        my reading of this sentence.
    23   the first double bracket I then state         23   BY MR. MORTARA:
    24   G118R, and then I go to a second double       24        Q. Meaning that only
    25   bracket which includes the period or the      25   bictegravir inhibited each of them, and
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     1   the other two INSTIs did not, correct?          1        Washington Redskins, which
     2        A. The -- the implication from             2        means -- does that mean the
     3   the sentence is that only bictegravir           3        Redskins beat all the other teams?
     4   potently inhibited the five viruses that        4   BY MR. MORTARA:
     5   are the subject of this sentence.               5        Q. I'm asking you if you think
     6        Q. One of those implications is            6   the English language meaning of this
     7   that only bictegravir inhibited                 7   sentence requires that only the Eagles
     8   G140S/Q148H, correct?                           8   beat the Redskins, only the Eagles beat
     9        A. An implication from the                 9   the Raiders, only the Eagles beat the
    10   sentence or the way I read the sentence        10   Patriots, and only the Eagles beat the
    11   is that only bictegravir potently              11   Cowboys. Is that what this means to you?
    12   inhibited the well-known RAL resistant IN      12        A. Yeah I'm trying to
    13   double mutant G140S/Q148H. That's what         13   understand it. I'm really not an expert
    14   I'm reading directly and I agree with          14   in the National Football League. You
    15   that language.                                 15   know, I'm an expert in integrase strand
    16        Q. And your interpretation of             16   transfer inhibitor. It's going to take
    17   this also is that only bictegravir             17   me some time to figure this out. Please.
    18   inhibited G118R, correct?                      18        Q. Go ahead, sir.
    19        A. That's my interpretation of            19        A. My understanding of this is
    20   what these authors are intending to mean       20   that only the Philadelphia Eagles
    21   with this sentence.                            21   defeated the Washington Redskins. Only
    22        Q. I want to see whether the              22   the Philadelphia Eagles defeated the
    23   jury will agree with your reading. On          23   Washington Redskins. I think that means
    24   the screen you will see a sentence:            24   Washington Redskins beat all the other
    25            Only the Philadelphia Eagles          25   teams they must have played. I think
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     1   defeated the Redskins, Raiders, Patriots        1   that's what that means in ordinary
     2   and Cowboys. Do you see that?                   2   English. Let's see. I can now move on
     3        A. Okay.                                   3   to the next point.
     4        Q. Is this statement false in              4            Only the Philadelphia Eagles
     5   your view, if the Panthers beat the             5   defeated the Oakland Raiders. Are they
     6   Redskins 27 to zero in Week 1?                  6   in -- they are in Las Vegas now. Only
     7        A. No, they are unrelated.                 7   the Philadelphia Eagles defeated the Las
     8        Q. I'm asking you a question of            8   Vegas Raiders. That must mean that the
     9   whether this sentence that I've written,        9   Las Vegas Raiders beat all the other
    10   in ordinary English that the ladies and        10   teams that they played. Okay. I think
    11   gentlemen of the jury speak and you and I      11   I'm beginning to understand the first
    12   speak, only the Philadelphia Eagles            12   sentence.
    13   defeated the Redskins, Raiders, Patriots       13            Is this false if the
    14   and Cowboys, means that only the Eagles        14   Panthers beat the Redskins. I think it
    15   defeated the Redskins, only the Eagles         15   must still be true, the Panthers beat the
    16   defeated the Raiders, only the Eagles          16   Redskins.
    17   defeated the Patriots, and only the            17        Q. Why? You just told me only
    18   Eagles defeated the Cowboys.                   18   the Philadelphia Eagles defeated the
    19            Is that how you read this?            19   Redskins.
    20            MR. WILCOX: Objection.                20        A. Oh. Yeah, then it's false.
    21        Argumentive.                              21        Q. Dr. Engelman, you don't
    22            THE WITNESS: I would agree            22   read --
    23        with your assessment of that              23        A. I'm not an expert in the
    24        sentence, that only the                   24   NFL. This really tripped me up.
    25        Philadelphia Eagles defeated the          25        Q. You are an expert in the
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     1   English language at least insofar as we         1       English sentence: Only the
     2   are both native speakers and so are the         2        Philadelphia Eagles defeated the
     3   ladies and gentlemen of the jury. Yes?          3       Redskins, Raiders, Patriots, and
     4         A. That's right.                          4       Cowboys.
     5         Q. You don't read this                    5   BY MR. MORTARA:
     6   sentence --                                     6       Q. Doctor, my question is
     7         A. If the Panthers beat the               7   wouldn't an ordinary reader of English
     8   Redskins in Week 1, then the statement is       8   understand this to mean the Philadelphia
     9   false. I apologize.                             9   Eagles alone defeated that set of four
    10         Q. Dr. Engelman, you don't read          10   teams?
    11   this sentence to mean alone amongst            11       A. I can't comment to what an
    12   football teams, the Philadelphia Eagles        12   ordinary reader of English may or may not
    13   defeated the Redskins, Raiders, Patriots,      13   say. I read the sentence as only the
    14   and Cowboys, and they are the only ones        14   Philadelphia Eagles defeated the
    15   that defeated those four teams. That's         15   Redskins, Raiders, Patriots, and Cowboys.
    16   not the way you read this?                     16       Q. Meaning as you read it, the
    17         A. So again, I'll qualify that           17   Eagles were the only team to beat the
    18   I -- it's a hypothetical about football        18   Redskins, the only team to beat the
    19   teams.                                         19   Raiders, the only team to beat the
    20         Q. I'm just asking you how you           20   Patriots, and the only team to beat the
    21   read English, sir.                             21   Cowboys. That's the way you read
    22         A. Yeah, I'm trying. If the              22   English?
    23   Panthers beat the Redskins in Week 1,          23       A. The sentence is a little
    24   then it -- the statement does not address      24   ambiguous. It's unclear whether or not
    25   whether or not the Eagles are undefeated       25   the Eagles were the only team to beat all
                                             Page 183                                            Page 185
     1   which is where I got tripped up.                1   four teams or it was the only team to
     2            So if Panthers beat the                2   beat any of those four teams.
     3   Redskins in Week 1, it can still be true        3        Q. Well, let me ask you whether
     4   that the Eagles was the -- were the only        4   you think now the sentence in the Hughes
     5   team that beat four other teams.                5   article that we were just talking about
     6        Q. That's my question. Isn't               6   is ambiguous. He uses the same
     7   the ordinary English language way to read       7   formulation, after all.
     8   this sentence that only the Eagles              8        A. So here, I am an expert.
     9   defeated all four of these teams?               9   I'm very much an expert in understanding
    10            MR. WILCOX: I'm going to              10   the activities of integrase inhibitors
    11        object. There's no context to             11   and how they behave with integrase mutant
    12        this in terms of what teams you           12   viruses. It's 100 percent clear to me as
    13        are talking about.                        13   a person of ordinary skill in the art
    14            MR. MORTARA: You can take             14   that this sentence means that only
    15        that up at trial. I'm crossing            15   bictegravir potently inhibited the well
    16        Dr. Engelman.                             16   known RAL-resistant integrase double
    17   BY MR. MORTARA:                                17   mutant G140S/Q148H, and the DTG-resistant
    18        Q. Dr. Engelman, isn't the                18   IN mutants G118R, R263K, and H51Y. R263K
    19   ordinary English language reading of this      19   has the highest EC50 value less than or
    20   sentence that only the Philadelphia            20   equal to 5 nanomolar.
    21   Eagles defeated all four of the Redskins,      21        Q. Do you think a reasonable
    22   Raiders, Patriots, and Cowboys?                22   writer or reader of the English language
    23            MR. WILCOX: Objection.                23   could look at it as Dr. Hughes is saying
    24        Ambiguous.                                24   only bictegravir did all of these things,
    25            THE WITNESS: I'll read the            25   the set of all of these things?

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     1        A. I can't -- so I myself, a              1   error in this article; is that correct?
     2   single individual who has opined opinions      2        A. I will furthermore point out
     3   based on my ordinary skill in the art --       3   that the activities of dolutegravir
     4   and that's surely not how I interpreted        4   against wild type virus, G118R/R263K,
     5   this sentence.                                 5   H51Y, and R263K were not generated during
     6            And surely, that's -- if              6   the course of this paper. They are
     7   that's your interpretation, it's               7   historical data that the author put into
     8   completely -- completely misleading. If        8   this paper and did not cite that that
     9   I had reviewed this paper, I surely would      9   data is several years old.
    10   have corrected this as a peer reviewer.       10            MR. MORTARA: Well, again,
    11        Q. Can you name a single other           11        move to strike your undisclosed
    12   human being who understands this sentence     12        and totally nonresponsive opinion.
    13   in this article the way you do?               13        And I will read my question again.
    14        A. I have not discussed this             14   BY MR. MORTARA:
    15   sentence in this article outside --           15        Q. Because you adopted your
    16   outside of counsel with anybody else, no      16   interpretation of the English language,
    17   other human being, definitely no other        17   you have accused, in your highly
    18   research scientist.                           18   confidential expert report, Dr. Stephen
    19        Q. Do you think it's more                19   Hughes of the National Institutes of
    20   likely that Stephen Hughes was making a       20   Health of speaking of error in this --
    21   false statement or that he meant it the       21   speaking in error in this article; is
    22   way that I do when I read it, which is        22   that correct?
    23   that only bictegravir collectively did        23            MR. WILCOX: First, I'm
    24   all of these things?                          24        going to say that I disagree with
    25            Which of those two is more           25        your move to strike.
                                            Page 187                                             Page 189
     1   likely in your view?                           1            Then I'm going to object as
     2        A. I don't understand your --             2        asked and answered.
     3            MR. WILCOX: Objection.                3   BY MR. MORTARA:
     4        Calls for speculation.                    4        Q. You may answer my question,
     5            THE WITNESS: I apologize,             5   Dr. Engelman.
     6        but I don't understand your               6        A. Well, as my attorney
     7        interpretation.                           7   indicated, I've already answered it.
     8            It's clearly incorrect to             8   Could you ask it again, please.
     9        say that only BIC only inhibited          9        Q. Because you adopted your
    10        G140S/Q148H and G118R based on           10   interpretation of the English language
    11        evidence that's provided in this         11   you have accused, in your highly
    12        manuscript.                              12   confidential expert report, Dr. Stephen
    13   BY MR. MORTARA:                               13   Hughes of the National Institutes of
    14        Q. But it is clearly correct,            14   Health of speaking in error in this
    15   based on the evidence in the manuscript       15   sentence in this article; is that
    16   that only bictegravir did all four of         16   correct?
    17   those things, correct?                        17        A. So what I enumerated in my
    18        A. So it's just my                       18   expert report -- and I'm the only one who
    19   interpretation of the English language.       19   can enumerate myself, is that I
    20        Q. Yes. And because you                  20   identified 32 typographical errors in
    21   adopted your interpretation of the            21   this paper, and this is one of 32 that I
    22   English language, you have accused, in        22   highlighted.
    23   your highly confidential expert report,       23        Q. Because of your
    24   Dr. Stephen Hughes of the National            24   interpretation of the English language in
    25   Institutes of Health, of speaking in          25   this sentence beginning, "However, only
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     1   BIC," correct?                                   1   386.
     2        A. This is one out of 32                    2        A. Okay. I'm there.
     3   typographical errors that I have                 3        Q. At the bottom you have a
     4   characterized from my reading of this            4   sentence I want to focus you on. It says
     5   paper. And I believe this is a                   5   instead -- excuse the highlighting. I'll
     6   typographical error, that's correct.             6   blow it up for you. It says,
     7        Q. And you believe that this is             7   "Instead" -- you see that sentence? --
     8   a typographical error because of the way         8   "some publications have reported that
     9   you read this English language sentence,         9   bictegravir more effectively inhibits the
    10   correct?                                        10   G140S/G148H mutant than dolutegravir,"
    11        A. I believe it's a                        11   and cite two publications, "and others
    12   typographical error because it's a              12   have reported that dolutegravir more
    13   statement in error.                             13   effectively inhibits the G140S/Q148H
    14            If I was a peer reviewer of            14   mutant virus than bictegravir."
    15   this article, I would have corrected this       15             Do you see that?
    16   statement as well as the other 31               16        A. Yes, I've seen that. And I
    17   typographical errors that I identified.         17   have since recognized that there's a
    18        Q. And that is because of how              18   slight misuse -- I think there's slight
    19   you read the grammar and usage of this          19   misuse of language here. Others have
    20   sentence, correct?                              20   reported that dolutegravir and
    21        A. As I've indicated to you, I             21   bictegravir inhibit this mutant virus in
    22   have been asked to review hundreds of           22   a statistically numerical and significant
    23   grant applications for the National             23   manner.
    24   Institutes of Health.                           24        Q. That's not what your report
    25            I serve on the editorial               25   says, is it?
                                              Page 191                                             Page 193
     1   boards for four, as you said, prominent          1        A. That's not what it says.
     2   journals. And I've reviewed hundreds if          2   And I would have -- add that I have
     3   not thousands of papers. In each one of          3   identified more than one typographical
     4   those cases, reviewing hundreds of grants        4   error across my three reports.
     5   for the National Institutes of Health,           5        Q. Have you submitted -- have
     6   reviewing hundreds of papers for                 6   you submitted an errata to your reports
     7   prominent journals, some of which I serve        7   to us, sir?
     8   on the editorial board, I am asked to do         8        A. I was unaware that I should
     9   that repeatedly over and over and over           9   have. And I will after this.
    10   again, because of the way I read the            10        Q. Well, this, you're saying
    11   English language.                               11   that these two articles support the
    12        Q. And you think this is an                12   proposition that dolutegravir more
    13   error, the "only bictegravir" sentence          13   effectively inhibits the G140S/Q148H
    14   that we've been talking about, because of       14   mutant virus than BIC.
    15   the way you read the English language,          15            And by the way, that Smith
    16   correct?                                        16   2018 article, that's the Stephen Hughes
    17        A. My interpretation of this               17   NIH article, correct?
    18   sentence in my summary report, I                18        A. That's correct.
    19   concluded -- I included it as one out of        19        Q. The Stephen Hughes NIH
    20   32 typographical errors. That's correct.        20   article in no way supports the
    21        Q. Dr. Engelman, I want to now             21   proposition that dolutegravir more
    22   continue to make sure that we understand        22   effectively inhibits the G140S/Q148H
    23   the words the same way.                         23   mutant virus than bictegravir, correct?
    24            Would you please turn to               24        A. And I've already admitted
    25   your opening expert report, Paragraph           25   that that's a typographical error. What
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     1   it should say is that, while others have         1   typographical errors that I have
     2   indicated that the ability for                   2   identified in my report, I surely would
     3   dolutegravir versus bictegravir to               3   be happy to do that.
     4   inhibit the infection of the G140S/Q148H         4             I apologize for not having
     5   mutant virus is statistically -- -- is           5   alerted you to this single typographical
     6   numerically statistically insignificant.         6   error before today.
     7            And it should also cite                 7        Q. And you just were given the
     8   Hassounah 2017 because, as you recall,           8   opportunity to take a look at your work
     9   Hassounah 2017 reported on two                   9   again and decide whether it was in error,
    10   experiments, the activity of bictegravir        10   and, in fact, you already knew it was an
    11   versus dolutegravir to inhibit the              11   error, you just hadn't told me yet, you
    12   G140S/Q148H mutant virus. In one set of         12   were given the opportunity to explain
    13   experiments they were able to assign a          13   yourself just now, haven't you, you've
    14   P-value that indicated statistically            14   just done that?
    15   numerical significance. And in the              15        A. This single typographical
    16   second set of experiments, they assigned        16   error, I just, over the last I'd say
    17   a P-value that indicated there was no           17   about two days, two to three days
    18   statistically numerical significance            18   identified it.
    19   between the activity of the two drugs.          19        Q. Have you given Stephen
    20            I admit to the typographical           20   Hughes any opportunity to address the
    21   error in the second half of this                21   alleged errors that you have found in his
    22   sentence.                                       22   2018 article?
    23        Q. So when I pointed it out to             23        A. I think we discussed that
    24   you, you admitted the error, neither the        24   before lunch. I have not contacted
    25   Smith-Hughes 2018 article, nor the Zhang        25   Dr. Hughes about the numerous
                                              Page 195                                              Page 197
     1   2018 article support this clause of this         1   typographical errors that I identified in
     2   sentence, correct?                               2   the Smith 2018 article.
     3        A. That's my understanding. I               3        Q. In this, what you're calling
     4   believe in those two articles there was          4   a typographical error, Page 186 of your
     5   no difference in the potency between the         5   expert report, you say that two peer
     6   two inhibitors against this mutant virus.        6   reviewed pieces of literature support the
     7        Q. When were you going to tell              7   idea that dolutegravir more effectively
     8   Gilead, me, that you made these mistakes         8   inhibits the G140S/Q148H mutant
     9   in your report? Were you going to wait           9   bictegravir, when, in fact, neither of
    10   until I asked you?                              10   those two say that, correct?
    11        A. Well, you know, over the                11        A. What those two papers say is
    12   course of generating the reports, counsel       12   there's no difference in the ability for
    13   and I have discussed a small handful of         13   dolutegravir or bictegravir to inhibit
    14   typographical errors that are present in        14   that mutant virus. And that does
    15   the three reports.                              15   contrast the first half of the sentences
    16            I think I caught this one so           16   that says BIC more effectively inhibits
    17   I knew about this one. I caught it only         17   the virus.
    18   a day or two ago. I apologize. But I --         18            So what I meant to say in
    19   with everything else going on in                19   the paper, in the sentence, is basically,
    20   preparation for today, I hadn't pointed         20   to boil it down, half the literature
    21   out that typographical error.                   21   indicates that bictegravir is more
    22            If I'm instructed to by the            22   effective whereas half of the literature
    23   court or by my counsel to go ahead after        23   indicates no difference.
    24   this deposition in the ensuing days to          24        Q. And so what you -- what you
    25   come up with a detailed list of all the         25   actually said in your report is that half
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     1   the literature says BIC is better and             1   statistically numerically significant do
     2   half the literature says dolutegravir is          2   not have -- in any way address whether or
     3   better. That's what you actually said in          3   not the overall behavior of the two
     4   your report, right, sir?                          4   compounds is insubstantial or
     5        A. And I have admitted that                  5   substantial. To be able to come up with
     6   that is a typographical error.                    6   an analysis of insubstantial or
     7        Q. So, in fact, half the                     7   substantial differences, one has to take
     8   literature says bictegravir is more               8   into a large body of literature and
     9   effective than dolutegravir and the other         9   that's the approach I've taken in my
    10   half of the literature doesn't find any          10   report, to reach the conclusion that the
    11   statistical significant difference.              11   activities of bictegravir and
    12   That's fair to say, right?                       12   dolutegravir in in vitro assays are
    13        A. For this one mutant virus,               13   insubstantial.
    14   that's correct.                                  14        Q. Dr. Engelman, the way you
    15        Q. And zero percent of the                  15   were originally putting it in your
    16   literature says dolutegravir is better           16   report, just focusing on what you
    17   than bictegravir for G140S/Q148H,                17   actually said in your first report.
    18   correct?                                         18            You said there were two
    19        A. Yeah, that is correct. This              19   publications reporting that BIC more
    20   is the opening report. I would also              20   effectively inhibits the G140S/Q148H
    21   indicate that in Cook 2020, we measured          21   mutant than dolutegravir.
    22   the activity of bictegravir versus               22            So two statistically
    23   dolutegravir to inhibit this very mutant         23   significant differences in favor of BIC
    24   virus and we did not find a statistically        24   and two statistically significant
    25   significant difference in -- in activity.        25   differences on the other side in favor of
                                               Page 199                                            Page 201
     1             So a little more than half              1   dolutegravir?
     2   of the literature would indicate there's          2             Those results would be
     3   no difference.                                    3   inconsistent with each other, right? You
     4        Q. By the way, you didn't find               4   shouldn't find that BIC is statistically
     5   a statistically significant difference,           5   significantly better than dolutegravir on
     6   but that doesn't mean there is no                 6   one hand -- one study and then find it
     7   difference, correct, that's the way               7   the other way around in another, correct?
     8   statistics works?                                 8         A. Well, I disagree with that,
     9        A. So, my understanding of                   9   because in different studies people take
    10   statistics is that -- is a measure or not        10   approaches that are consistent with their
    11   of whether or not the null hypothesis is         11   own laboratory. And as I discussed in my
    12   supported. So the null hypothesis here,          12   opening report, there's many different
    13   as far as I understand, would be there is        13   factors that come into establishing these
    14   no difference between bictegravir and            14   types of experiments. Whether or not one
    15   dolutegravir.                                    15   test indicates in the end that there
    16             But my understanding of this           16   might be a statistically numerical
    17   case is it's not a literal infringement          17   significance in one direction and a
    18   case. It's a doctrine -- doctrine of             18   similar test in a completely different
    19   equivalence case.                                19   setting comes up with a conclusion of a
    20             And because it's doctrine of           20   statistically numerically difference in
    21   equivalence, I believe that the                  21   the opposite direction, that wouldn't
    22   plaintiffs say that there are numerical          22   surprise me at all.
    23   differences between bictegravir and              23         Q. Dr. Engelman, my question is
    24   dolutegravir.                                    24   a little bit different.
    25             So P-values that are                   25             It's, now that we know what
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     1   the Hughes 2018 article and Zhang article          1        Q. Dr. Engelman, I want to just
     2   actually say, which is there's no finding          2   make sure I heard you correctly when you
     3   of a statistically significant                     3   said something a little bit earlier.
     4   difference, the data in those articles             4             You said, "In different
     5   is, in fact, consistent with in reality            5   studies people take approaches that are
     6   there being a difference between                   6   consistent with their own laboratory.
     7   bictegravir and dolutegravir, correct?             7   There's many different factors that come
     8             MR. WILCOX: Objection.                   8   into establishing these types of
     9         Ambiguous.                                   9   experiments."
    10             THE WITNESS: My                         10             Whether or not one test
    11         understanding, even though I'm not          11   indicates in the end that there might be
    12         a lawyer of the doctrine of                 12   a statistical numerical significance and
    13         equivalence, is that we should              13   similar task in another setting comes up
    14         expect numerical differences.               14   with a conclusion of a statistical
    15   BY MR. MORTARA:                                   15   difference in the opposite direction,
    16         Q. That's not my question.                  16   that wouldn't surprise you at all.
    17             Is the actual finding, the              17             That's what you said,
    18   actual data in Hughes 2018 and Zhang              18   correct?
    19   2018, consistent with there, in fact,             19        A. That wouldn't surprise me.
    20   being a statistically significant                 20   That's correct.
    21   difference between bictegravir and                21        Q. Dr. Engelman, without
    22   dolutegravir for the G140S/Q148H mutant?          22   spending all the time to discuss all the
    23         A. If I understood the question             23   typos that you found in your report so
    24   correctly, the data presented in Smith            24   far, can you tell me how many typos you
    25   2018 and Zhang 2018, as well as some of           25   found?
                                                Page 203                                            Page 205
     1   the data in Hassounah 2017 and data in             1         A. I haven't tabulated the
     2   Cook 2020, indicates there is no                   2   list, because I haven't been given that
     3   statistically numerical significant                3   task. I would say about five or six
     4   difference in the activity of bictegravir          4   across the three reports.
     5   versus dolutegravir to inhibit the                 5         Q. Five or six. How long have
     6   infection of the G140S/Q148H mutant                6   you spent looking?
     7   virus.                                             7         A. I wrote the reports. And I
     8         Q. The data in the articles you              8   re-read each of them approximately two or
     9   just cited does not rule out that there            9   three times.
    10   is, in fact, a real and statistically             10         Q. I know you characterize
    11   significant difference between                    11   what's going on here in the highlighted
    12   bictegravir and dolutegravir as to this           12   clause of the sentence in Paragraph 386
    13   mutant, correct?                                  13   as a typo. Would you characterize this
    14         A. That's a -- that's a                     14   as an error or a misconception?
    15   hypothetical. As a scientist, I must              15            MR. WILCOX: Objection.
    16   interpret the data at hand. I can just            16         Ambiguous.
    17   tell you that what the papers report,             17            THE WITNESS: It's a
    18   they clearly report a difference in the           18         typographical error, as I
    19   activities of these two mutant viruses            19         explained.
    20   that is statistically numerically                 20   BY MR. MORTARA:
    21   insignificant.                                    21         Q. Dr. Engelman, your report
    22         Q. That is not a finding of a               22   uses the phrase first-generation INSTI --
    23   quality, that is merely a nonfinding of           23   excuse me -- to describe raltegravir and
    24   statistical difference, correct?                  24   elvitegravir, correct?
    25         A. That is correct.                         25         A. I use that language. My
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     1   interpretation is that's field-standard           1        Q. You were instructed as part
     2   language here.                                    2   of your analysis of insubstantial
     3        Q. And you have relied on data               3   differences, you should compare
     4   comparing both bictegravir and                    4   bictegravir and dolutegravir to those
     5   dolutegravir to those first-generation            5   prior art compounds, correct?
     6   INSTIs to conclude that bictegravir and           6        A. I wasn't instructed by
     7   dolutegravir are similar, correct?                7   anyone about what to do. The reports you
     8        A. My conclusions are the                    8   see in front of you are fully penned by
     9   behaviors of bictegravir and dolutegravir         9   my hand.
    10   in in vitro assays together are much             10        Q. You understood that as part
    11   different than the behaviors of                  11   of your analysis of insubstantial
    12   raltegravir and elvitegravir in                  12   differences, you could compare
    13   side-by-side tests.                              13   bictegravir and dolutegravir to those
    14        Q. And you have relied on data              14   prior art compounds, correct?
    15   comparing bictegravir and dolutegravir to        15        A. I could compare them to
    16   raltegravir and elvitegravir to conclude         16   elvitegravir and raltegravir, in the
    17   that bictegravir and dolutegravir are            17   broad literature, that's correct.
    18   similar, correct?                                18        Q. I'd like to go back now to
    19        A. To conclude that bictegravir             19   Exhibit 9, which is the Cherepanov
    20   and dolutegravir are insubstantially             20   Science article from 2020. If you want
    21   different.                                       21   to get that out, sir.
    22        Q. Dr. Engelman, you understand             22            Do you have it there?
    23   that the first-generation INSTIs                 23        A. It's loading on my screen.
    24   raltegravir and elvitegravir are part of         24        Q. Take your time, sir. Let me
    25   the prior art in this case, right?               25   know when you've got it.
                                               Page 207                                           Page 209
     1         A. I understand that                        1        A. It's loading. Okay. Seems
     2   raltegravir and elvitegravir are                  2   to be fully loaded.
     3   classified as first-generation strand             3        Q. We talked a little bit
     4   transfer inhibitors.                              4   earlier about the section at the back,
     5         Q. And you understand that they             5   the author contributions. Do you
     6   are part of what's called the prior art           6   remember that?
     7   in this case, correct?                            7        A. Well, I can turn to that and
     8         A. I don't recollect if I have              8   read it. Yeah, I can see it.
     9   used that language in my report.                  9        Q. What were your contributions
    10         Q. Well, paragraph 43 of your              10   to this work?
    11   opening report. You received an                  11        A. So it stated in the article
    12   instruction from your friends, the ViiV          12   is that Wen Li, who is my trainee, and
    13   lawyers, who used the phrase prior art.          13   myself designed the simian
    14   What did you think that meant?                   14   immunodeficency virus in red-capped
    15         A. Well, my interpretation, if             15   mangabey vector and carried out HIV-1 and
    16   it's a whole body of literature on the           16   SIVrcm infectivity assays.
    17   research of HIV integrase, HIV                   17            Further down, "Dr.
    18   integration, as well as the INSTIs that          18   Cherepanov and Dr. Engelman wrote the
    19   might have been licensed for patient use         19   manuscript with contributions from all
    20   before dolutegravir.                             20   authors."
    21         Q. So you understand that the              21        Q. So turning here to Figure 3,
    22   first-generation INSTIs raltegravir and          22   which represents some of the results of
    23   elvitegravir are part of the prior art in        23   the experiment your contribution in your
    24   this case, correct?                              24   lab, you did what I'm about to highlight
    25         A. That sounds accurate.                   25   on the screen, these assays, correct?
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     1        A. These are some of the assays              1   structure of the reported -- we did not
     2   that are reported in the papers that were         2   solve the structures of the reported
     3   performed in my laboratory.                       3   structures in this paper, that's correct.
     4        Q. And I'm referring to figure               4        Q. And you were not responsible
     5   3B. And I highlighted that on the                 5   for the insertion of the highlighted
     6   screen. Your lab and you did not perform          6   yellow lines that appear here next to
     7   in any way the experiments shown in               7   G118 in Figure 2C were you?
     8   Figure 3A, correct?                               8        A. Well, I was involved with
     9        A. That's correct. 3A, the                   9   that. I can recall one of the reviewers
    10   experiments that came out in publication         10   of the paper questioned the use of those
    11   as Figure 3A were performed in                   11   yellow lines. And I was involved with
    12   Dr. Cherepanov's laboratory.                     12   the response to that request. So I was
    13        Q. Similarly, going back to                 13   involved in the peer review process, and
    14   Figure 2 on the previous page which takes        14   the yellow lines came up in the peer
    15   up approximately 75 percent of Page 3 of         15   review process.
    16   4 of the article -- I'll blow up bigger          16        Q. And the yellow lines
    17   too, but frankly it's 75 percent of the          17   remained in the paper, correct?
    18   page.                                            18        A. The yellow lines remained in
    19            So you and your lab were                19   the paper. They're there to highlight
    20   responsible for the segment I'm                  20   the approach of the A rings of both
    21   highlighting in Figure 2A, these cellular        21   dolutegravir and bictegravir to the
    22   assays and curves disclosed there,               22   beta4-alpha2 connector, which is
    23   correct?                                         23   understood as G118 in this figure.
    24        A. That's correct.                          24        Q. Is that what the paper says,
    25        Q. And you and your lab were                25   sir?
                                               Page 211                                              Page 213
     1   not responsible for the generation of the         1        A. I believe it is. It does
     2   data, the experimental work, or what              2   say that the A rings of both compounds
     3   appears in B, C, D, E, or F, of Figure 2,         3   approach and make close contact with the
     4   correct?                                          4   beta4-alpha2 connector.
     5        A. We did not generate the                   5        Q. Let's talk about those
     6   data, but as stated, the final                    6   contacts. Referring to Page 2 of the
     7   presentation of the paper was a very              7   article, there is a sentence -- two
     8   close collaboration between                       8   sentences I know that you're highly
     9   Dr. Cherepanov and myself.                        9   familiar with.
    10        Q. You did not generate -- go               10             "Dolutegravir and
    11   ahead.                                           11   bictegravir intimately contact the
    12        A. In particular, Panels E and              12   backbone atoms of those from the
    13   F there were only generated in response          13   integrase beta4-alpha2 connector making
    14   to reviewers' comments. So it came in            14   eight and 12 contacts respectively with
    15   much later in the paper.                         15   interatomic distances less than or equal
    16        Q. Well, let's focus on panel               16   to five angstroms. Moreover, bictegravir
    17   C. You and your lab had nothing to do            17   makes three contacts with interatomic
    18   with the generation of this figure, did          18   distances of 3.9 to 4 angstroms,"
    19   you?                                             19   correct?
    20        A. I did not generate that                  20        A. That's correct, and that's
    21   figure.                                          21   what I said earlier, the paper says that
    22        Q. And you did not perform the              22   the -- or implies from this sentence that
    23   experiments that led to the generation of        23   the A-rings of both drugs make intimate
    24   Figure 2C, either?                               24   contacts with the backbone atoms of the
    25        A. We did not solve the                     25   integrase beta 4-alpha 2 connector.
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     1        Q. Who wrote these two                     1   that we've been talking about, in my
     2   sentences?                                      2   expert opinion, are insubstantial based
     3        A. So Dr. Cherepanov penned the            3   on the assays I've evaluated and the data
     4   original draft and then it was an               4   I've evaluated.
     5   iterative process of back and forth             5        Q. But you understand that some
     6   between us to come up with the final            6   other scientists have interpreted your
     7   draft that was shared with other authors.       7   article, and the findings of
     8   This language in large part, I think,           8   Dr. Cherepanov here, to be consistent and
     9   reflects what was there in the original         9   a possible explanation for what they
    10   draft but I haven't compared the language      10   believe is bictegravir's superior
    11   in the final published paper to the            11   resistance profile, correct?
    12   various drafts.                                12        A. I think it's possible that
    13        Q. And these sentences refer to           13   other scientists have made that leap.
    14   experimental work and analysis done in         14        Q. I'm going put Exhibit 11
    15   Dr. Cherepanov's lab, correct?                 15   into the mix here. Should be coming up.
    16        A. That's correct.                        16             (Document marked for
    17        Q. You are close friends with             17        identification as Exhibit
    18   Peter Cherepanov, correct?                     18        Engelman-11.)
    19        A. He's a longtime colleague of           19   BY MR. MORTARA:
    20   mine and we stay in touch mainly through       20        Q. Do you see it, sir?
    21   our correspondence with Science. I would       21        A. Is this Exhibit 11? Yeah, I
    22   consider him a friend.                         22   see it.
    23        Q. You've co-authored over 30             23        Q. Exhibit 11 is a poster
    24   articles with Dr. Cherepanov, correct?         24   presented by Bluma Brenner and others at
    25        A. That sounds correct.                   25   the CROI research conference in 2020.
                                             Page 215                                            Page 217
     1        Q. You consider him to be                  1   You are familiar with it, correct?
     2   honest?                                         2        A. That's correct.
     3        A. I consider him to be a                  3        Q. You know that this poster
     4   scientist of great integrity.                   4   cites Dr. Cherepanov's research and the
     5        Q. And you at least agree that             5   article you co-authored with him for the
     6   these two sentences identify two                6   proposition that the enhanced resistance
     7   differences between bictegravir and             7   profile of bictegravir might be due to
     8   dolutegravir. One being that bictegravir        8   van der Waal's interactions of the larger
     9   makes numerically more contacts with the        9   oxazepine ring with the alpha 2-beta 4
    10   beta 4-alpha 2 connector, and the second       10   loop integrase that may act as an
    11   being that bictegravir's contacts are          11   additional anchor Q148H/G140S. You know
    12   closer, correct?                               12   that this poster presented at CROI says,
    13        A. I agree with the statement             13   correct?
    14   in the paper and I think that's                14        A. I agree that that's what
    15   consistent with doctrine of equivalence        15   this poster, which is not a peer reviewed
    16   where we expect differences.                   16   publication, has stated.
    17        Q. You understand that a number           17        Q. Your expert reports are not
    18   of scientists have interpreted this            18   peer reviewed, are they, sir?
    19   sentence to be consistent with an              19        A. They certainly are not.
    20   explanation for bictegravir's superiority      20        Q. Dr. Engelman, bictegravir
    21   over dolutegravir, don't you?                  21   has an oxazepine ring, right?
    22        A. My interpretation of the               22        A. So I'm not -- my expertise
    23   literature as a whole is there is no           23   is not chemistry. I'm not 100 percent
    24   superiority of bictegravir over                24   sure if that's the correct chemical
    25   dolutegravir. The numerical differences        25   characterization of the ring. I do
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     1   admit, based on the structures you showed       1        A. That's correct.
     2   me previously, that those were the three        2        Q. In fact, it was held in
     3   drugs.                                          3   Boston, correct, or was supposed to be
     4        Q. Dolutegravir does not have              4   held in Boston?
     5   an oxazepine ring, correct?                     5        A. That is correct.
     6        A. Dolutegravir has a different            6        Q. Were you going to go?
     7   A-ring configuration, that's correct.           7        A. I was registered to go. I
     8        Q. And Bluma Brenner and her               8   was traveling the week before and I was
     9   colleagues are familiar with results of         9   actually sitting at the gate in the
    10   Dr. Cherepanov's work from the Science         10   Houston International Airport on my way
    11   2020 article and the article you               11   to a separate conference when I got the
    12   co-authored with him. They looked at           12   no travel order starting on Monday from
    13   that and concluded that bictegravir's          13   my employer. So I was traveling right
    14   enhanced resistance profile could be           14   beforehand. I was asked to lead a
    15   because it had this larger ring that made      15   discussion session at the CROI 2020
    16   contact in the alpha 2-beta 4 loop,            16   conference, and I ended up doing that
    17   correct?                                       17   virtually from my home.
    18        A. That's what is stated in --            18        Q. Now -- oh, so you
    19   at the end of this poster, that's              19   participated in CROI from -- virtually
    20   correct.                                       20   from your house?
    21        Q. And going back to                      21        A. That's correct.
    22   Figure 9.2 C of your Science 2020 article      22        Q. Anyone can go online now and
    23   with Dr. Cherepanov, that larger ring is       23   get the abstract and this -- and this
    24   what's shown here in purple next to the        24   associated poster that Bluma Brenner
    25   yellow lines. That's bictegravir,              25   presented at CROI 2020, correct?
                                             Page 219                                           Page 221
     1   correct?                                        1        A. That's my understanding. I
     2        A. That's correct.                         2   haven't taken the time to do that myself.
     3   Dolutegravir is modeled in yellow and           3        Q. And down here you see it
     4   bictegravir is modeled in purple, in            4   says contact, and Bluma Brenner has
     5   terms of the backbone end.                      5   provided her e-mail address. You see
     6        Q. And that's bictegravir's                6   that?
     7   bigger ring, correct?                           7        A. Yeah.
     8        A. I haven't done a volume                 8        Q. So anyone could go online,
     9   calculation to know in this                     9   get the abstract, and they can contact
    10   three-dimensional space which ring is          10   Bluma Brenner and engage her on whether
    11   bigger or not. But I would confirm that        11   she is reading the Science 2020
    12   the purple is definitely the bictegravir       12   Cherepanov article and data correctly or
    13   ring.                                          13   her conclusions are correct, right?
    14        Q. Now, Dr. Brenner and her               14        A. It's a hypothetical, but I
    15   colleagues presented this poster at CROI,      15   suppose so.
    16   correct?                                       16        Q. And well, it's true, because
    17        A. That's my understanding,               17   Bluma Brenner decided to present her work
    18   correct.                                       18   in a public forum and subject it to
    19        Q. And you've been a frequent             19   viewing by scientific colleagues,
    20   attendee at CROI in the past, correct?         20   correct?
    21        A. I have attended CROI in the            21        A. That seems like an accurate
    22   past, that's correct.                          22   characterization, correct.
    23        Q. And you understand because             23        Q. But you disagree with Bluma
    24   of COVID-19 CROI 2020 was held online,         24   Brenner's conclusions in this poster,
    25   correct?                                       25   correct?
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     1        A. Well, my interpretation of              1   correct?
     2   the data of the poster, as I put in my          2        A. I have not spent an
     3   supplemental report, indicates there            3   extensive time overviewing Dr. Brenner's
     4   seems to be a phenotypic difference             4   CV or literature.
     5   between dolutegravir and bictegravir in         5            I can say, based on this
     6   one of the four sets of experiments that        6   paper and I think -- I believe following
     7   are presented in the middle column.             7   reading this poster, I did go back and
     8   So...                                           8   read Article Number 6 and the references
     9        Q. My question is a little                 9   and acknowledgments section, which, if I
    10   narrower, which is, you disagree with the      10   recall correctly is an AIDS article from
    11   sentence I highlighted earlier that cites      11   2018 where Dr. Brenner served as
    12   the Cherepanov work in the Science 2020        12   corresponding author, I'm under the
    13   article right here, correct?                   13   impression.
    14        A. That's because my reading of           14            So based on my reading of
    15   the literature is very inconclusive in         15   those -- this poster and that paper, I
    16   terms of the enhanced resistance profile       16   think she could be characterized as
    17   of BIC versus dolutegravir, even to            17   virologist, yes.
    18   inhibit the Q148H/G140S virus.                 18        Q. I understand that you
    19        Q. And have you -- have you               19   mentioned one of them already. You had
    20   told Bluma Brenner and her colleagues          20   some criticisms of this work. One of
    21   that you disagree with the statement in        21   those criticisms is that this work has
    22   her presentation at CROI?                      22   not been peer reviewed, correct?
    23        A. I have not.                            23        A. Well, I think it's just a
    24        Q. Have you told Bluma Brenner            24   statement that the work has not been peer
    25   and her colleagues that you disagree with      25   reviewed.
                                             Page 223                                             Page 225
     1   how she is reading the article that you         1            And as we've talked about
     2   are a co-author of and that                     2   today, the data -- papers can -- it can
     3   Dr. Cherepanov's work contained therein?        3   change rather dramatically during the
     4         A. I have not done it in this             4   peer review process, based on the
     5   case, nor do I do it in any case unless         5   comments provided by editors and
     6   I'm asked to review a paper through peer        6   reviewers.
     7   review.                                         7        Q. Dr. Engelman, you are aware
     8         Q. Have you publicly presented            8   that Dr. Cherepanov has stated in
     9   anywhere in your criticisms of                  9   correspondence that he believes his data
    10   Dr. Brenner's poster?                          10   shows why bictegravir has an improved
    11         A. I have not. That's also in            11   resistance profile over dolutegravir,
    12   my mind unprofessional.                        12   correct?
    13         Q. Have you publicly said                13        A. I have seen copies of
    14   anywhere that no one should read the           14   e-mails shared between, I think it was,
    15   Science article with your name on it the       15   Dr. Reynolds and Dr. Cherepanov.
    16   way Bluma Brenner is reading it?               16        Q. I'm going to put Exhibit 7,
    17         A. Again, to put that out in             17   which is that correspondence, into the
    18   the public, I would consider that highly       18   shared folder for you.
    19   unprofessional.                                19            (Document marked for
    20         Q. Who is Bluma Brenner?                 20        identification as Exhibit
    21         A. I do not recall ever meeting          21        Engelman-7.)
    22   Dr. Brenner in person. I believe --            22   BY MR. MORTARA:
    23   let's see. She's a scientist at the Lady       23        Q. And I've got it on the
    24   Davis Institute.                               24   screen. Going down to the first e-mail
    25         Q. She is a virologist,                  25   of the chain. In the first e-mail,
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     1   Dr. Reynolds asked Dr. Cherepanov for the      1        Q. It was a fairly public
     2   data underlying an abstract that you and       2   presentation, 2- to 300 people, isn't it?
     3   Dr. Cherepanov had published, correct?         3        A. That's correct.
     4        A. Yeah, an abstract of a                 4        Q. Yet, you felt uncomfortable
     5   presentation of a meeting. I usually           5   putting that same data into your highly
     6   reserve publication for something that's       6   confidential expert report in this case
     7   come out in a journal.                         7   after Dr. Cherepanov has shown it to 200
     8        Q. Did you present that                   8   to 300 people. Can you explain that to
     9   material at the meeting?                       9   me, sir?
    10        A. I was present at the                  10        A. Again, my feeling is that --
    11   meeting. The presentation I believe was       11   the thought pattern that I heard, is what
    12   given by Dr. Cherapanov.                      12   I explained to you early, and I will
    13        Q. And at the meeting where the          13   enumerate once again as follows.
    14   presentation was made by Dr. Cherepanov       14            I personally wouldn't have
    15   of the data underlying the science            15   been able to do that with a clear
    16   article, how many people were there?          16   conscious about sharing data unless I
    17        A. I would have to give you a            17   would have contacted my colleagues in
    18   ballpark estimate of 2- to 300. I have        18   this study, Dr. Cherepanov and minimally
    19   no idea what the absolute number is.          19   Dr. Rosta, who, like myself, are senior
    20        Q. So you showed the data                20   investigators who run research
    21   underlying what came out in Science to 2-     21   laboratories.
    22   to 300 people. When was that?                 22            And I made the decision on
    23        A. If we are talking about the           23   my own not to involve them because of the
    24   same meeting, I believe it would have         24   confidential -- confidential nature of
    25   been June 2019. I think that's                25   this case.
                                            Page 227                                            Page 229
     1   referenced in my report.                       1         Q. Even though it had already
     2        Q. Take your time to confirm it           2   been shown to 2- to 300 people publicly
     3   if you wish.                                   3   the past June?
     4             MR. WILCOX: Adam, do you             4         A. The results have been
     5        have a better copy of Exhibit 7?          5   discussed at meetings. At this point in
     6             On the first page it's               6   time, it was just about when we submitted
     7        cutting off the last line of the          7   the first draft of the manuscript. But
     8        e-mail. And on the second page,           8   it was not the final paper that would
     9        it's cutting off the top line of          9   have come out. And now the paper has
    10        the e-mail with the exhibit              10   come out, and in my supplemental report,
    11        sticker.                                 11   I do discuss the paper.
    12             MR. MORTARA: We'll have to          12         Q. When you were writing your
    13        live with it.                            13   first report, you knew that this data
    14             THE WITNESS: Okay. Sir,             14   that Dr. Cherepanov had generated, was
    15        I've identified Page 15 of my            15   pretty important to the case, didn't you?
    16        reply report. I can confirm that         16         A. I would say it was likely to
    17        this meeting took place on               17   become pertinent.
    18        June 27th and June 28th, 2019.           18         Q. Even though the data had
    19   BY MR. MORTARA:                               19   been shown to 200 to 300 people, you
    20        Q. So in June of 2019, you               20   didn't feel comfortable putting it in
    21   and -- you were there and Dr. Cherepanov      21   your confidential expert report for the
    22   presented the data underlaying the 2020       22   reasons that you've given, correct?
    23   publication that went into Science to 2-      23         A. That's correct.
    24   to 300 people, correct?                       24         Q. Now, in the first e-mail on
    25        A. That's -- that's accurate.            25   the screen, Dr. Reynolds asked
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     1   Dr. Cherepanov for the data, correct?           1        related to that. But nowhere in
     2            MR. WILCOX: I'm going to               2        the paper that I recall, the
     3        object to this line of questioning         3        published 2020 paper, do we
     4        on this document because, like I           4        pontificate that the difference in
     5        pointed out to counsel before,             5        contacts that are made may explain
     6        there are lines that are cut off.          6        a better performances of the
     7            So we don't have the full              7        compound as reported by Steve
     8        e-mail. It's a standing objection          8        Hughes' lab.
     9        to these questions on Exhibit 7.           9             And, moreover, I believe
    10            Dr. Engelman, you can go              10        Peter has made this statement
    11        ahead.                                    11        without having read the Hughes lab
    12   BY MR. MORTARA:                                12        paper at the same level of detail
    13        Q. In the first e-mail,                   13        that I have.
    14   Dr. Reynolds asks Dr. Cherepanov for the       14   BY MR. MORTARA:
    15   data that underlay the presentation and        15        Q. Do you know that? Other
    16   abstract, correct?                             16   times today you've been -- you've been
    17        A. I'm reading it now. Yes.               17   discouraged by your counsel from
    18   He e-mailed Peter explaining who he was.       18   speculating. Are you speculating right
    19   It seems like he gave a brief explanation      19   now, sir?
    20   in relation to this case as well.              20             MR. WILCOX: Objection.
    21        Q. And in response Dr.                    21        Argumentive.
    22   Cherepanov wrote quite a long e-mail           22   BY MR. MORTARA:
    23   back, which I want to ask you about one        23        Q. You have no idea how closely
    24   paragraph that you reviewed and commented      24   Dr. Cherepanov has read that 2018 Hughes
    25   on in your expert reports already. And         25   article, do you?
                                             Page 231                                           Page 233
     1   it's right here.                                1        A. I do not.
     2             "We suspected already for             2        Q. Dr. Engelman, here
     3   some time that contacts with that" --           3   Dr. Cherepanov says, "Interestingly BIC
     4   same thing I couldn't pronounce before --       4   makes more intimate contacts via its
     5   "we call as beta4-alpha2 connector might        5   extended structure," and cites the Hughes
     6   be the critical feature of the                  6   work.
     7   second-generation property INSTIs.              7            You see that, right?
     8   Interestingly, BIC makes more intimate          8        A. Yes, sir.
     9   contacts via its extended structure,            9        Q. And when you first read that
    10   which I believe explains a better              10   e-mail, you decided to write in your
    11   performance of the compound reported by        11   reply report that you weren't sure what
    12   Steve Hughes' lab."                            12   your close friend and colleague meant,
    13             Do you see that?                     13   correct?
    14         A. I do see that.                        14        A. Well, because the statement
    15         Q. And that -- is it fair to             15   in Dr. Cherepanov's e-mail was ambiguous.
    16   say that's a paraphrase of the language        16   He believes and explains a better
    17   from Exhibit 9, the Science 2020 article       17   performance of the compound, but it's
    18   that we were just discussing, eight and        18   unclear -- or actually he makes no
    19   12 contacts, bictegravir makes 12,             19   comparison of the compound to what. It's
    20   dolutegravir makes eight. Bictegravir's        20   completely ambiguous in the statement
    21   contacts are closer. This is a                 21   that you've highlighted.
    22   paraphrase of that same language,              22        Q. Yeah, I think you wrote in
    23   correct?                                       23   your reply report, it wasn't clear to you
    24             MR. WILCOX: Object to form.          24   what he meant, right?
    25             THE WITNESS: I think it's            25        A. That's correct.
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     1        Q. Did you call him and ask him            1   And I -- I addressed what I thought it
     2   or send him an e-mail saying, Peter,            2   meant in my report. That's right.
     3   what's your thoughts on whether there's a       3        Q. And how long did that take
     4   difference between bictegravir and              4   you? Did it take you longer or shorter
     5   dolutegravir based on the experiments you       5   than it would have taken you just to ask
     6   did and wrote up in our article that            6   Dr. Cherepanov what his views are about
     7   appeared in Science, do you think there's       7   the research he had done and written up
     8   a difference?                                   8   in an article you were a co-author of?
     9            Did you -- did you ask your            9        A. At this point in time, I
    10   close friend that question?                    10   almost feel obliged that I need to reach
    11        A. So again, I would have                 11   out to Dr. Cherepanov to mention to him
    12   considered that completely, you know,          12   that he is a co-author on papers with
    13   unprofessional. The thoughts and the           13   Dr. Hughes which has recycled data over
    14   opinions I've opined in these -- in these      14   numerous years. I'm not sure he's aware
    15   expert reports, I approach them as work        15   of that.
    16   produced under the confidentiality --          16        Q. Have you -- Dr. Engelman,
    17   confidentiality between myself and legal       17   have you said anything to Dr. Cherepanov
    18   counsel. And I did not want to engage in       18   about your views about Dr. Stephen
    19   direct conversation with things like           19   Hughes' article?
    20   that, with -- with other scientists.           20        A. I have not.
    21        Q. You didn't want to check               21            MR. MORTARA: And again, I
    22   whether you're reading other scientists'       22        move to strike the newly disclosed
    23   words correctly and talk to them, and you      23        opinion that keeps popping up in
    24   thought you couldn't because this work is      24        response to questions. It's
    25   confidential?                                  25        completely nonresponsive.
                                             Page 235                                            Page 237
     1        A. This is surely a                        1            Mr. Wilcox, go ahead.
     2   confidential e-mail. It's not meant for         2            MR. WILCOX: Yeah, I would
     3   me.                                             3        oppose that motion.
     4        Q. You didn't have to mention              4   BY MR. MORTARA:
     5   the e-mail to ask Dr. Cherepanov what his       5        Q. Dr. Engelman, you ultimately
     6   views are about what his experiments            6   found out, in fact, what Dr. Cherepanov
     7   showed, did you?                                7   meant in his e-mail to Dr. Reynolds,
     8        A. Sir, I'm a very busy person.            8   correct?
     9   I run a research laboratory with seven          9        A. I believe that was clarified
    10   different grant applications funding my        10   by a subsequent e-mail, that's correct.
    11   work. I have better things to do with my       11        Q. And I'm moving into the
    12   time than follow up on a confidential          12   folder Exhibit 6.
    13   e-mail to ask for an opinion of a              13            (Document marked for
    14   colleague.                                     14        identification as Exhibit
    15        Q. Well, instead of following             15        Engelman-6.)
    16   up on the scientific view that one of          16   BY MR. MORTARA:
    17   your colleagues had about experiments he       17        Q. Exhibit 6 is an e-mail --
    18   did and he wrote up, you decided to write      18   excuse me. Exhibit 6 is a full copy of
    19   in your reply report that you didn't know      19   the e-mail that Mr. Wilcox was objecting
    20   what he meant and proceed to analyze what      20   to before. We'll go back to Exhibit 7
    21   he might have meant, correct?                  21   which has the response.
    22        A. In my reply report, I                  22            At the top you see the
    23   highlighted the ambiguity of this e-mail       23   response. "Hi Chuck, apologies if my
    24   that was shared with me through a highly       24   e-mail was not clear. Yes, I was
    25   confidential route with -- by counsel.         25   discussing the differences between
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     1   dolutegravir and bictegravir.
     2            And indeed, I believe that
     3   the more intimate contacts with integrase
     4   backbone explain improved resistance
     5   profile of BIC versus dolutegravir which
     6   was shown by Hughes' lab?"
     7            Do you see that?
     8        A. I do see that.
     9        Q. It is Dr. Cherepanov's view
    10   of the research he did, and he wrote up,
    11   in a paper with you as a co-author, that
    12   bictegravir makes more intimate contacts
    13   with the integrase backbone than
    14   dolutegravir, correct?
    15        A. Yes. I agree with the
    16   statement in the paper, whereas
    17   bictegravir makes 12 contacts,
    18   dolutegravir makes 8 contacts.
    19        Q. And bictegravir makes closer
    20   contacts too, right, Doctor? That's what
    21   it says in the sentence right afterwards.
    22        A. That's right. Bictegravir
    23   has four contacts within the interatomic
    24   distance of 3.9 to 4 angstroms.

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     4        Q. And you are being paid by
     5   ViiV's lawyers, correct?
     6        A. I'm compensated for the time
     7   that I've put into this case.
     8            And let me clarify, the
     9   approach that I have taken in generating
    10   my expert reports is the exact same
    11   approach I have taken over my career to
    12   closely analyze data that's shown before
    13   me in terms of grants, reviewing grant
    14   applications or reviewing manuscripts and
    15   the peer review process. It's the exact
    16   same approach as I've taken in my expert
    17   reports, or when I work pro bono as a
    18   reviewer for grants. I am paid $200 each
    19   time I serve on an NIH study section.




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                                                         1   did.
                                                         2            In your mind that didn't
                                                         3   constitute considering them?
                                                         4        A. I did not consider the data
                                                         5   that was part of the draft manuscript
                                                         6   that we had been working on as part of
                                                         7   the information I considered in
                                                         8   formulating my opinion in the opening
                                                         9   report.
    10           MR. MORTARA: Let's take a              10        Q. Did you talk to the ViiV
    11       break. About ten minutes? Is               11   lawyers during the break?
    12       that all right? 15? What do you            12        A. I did not.
    13       want?                                      13        Q. You spend a fair amount of
    14           Dr. Engelman, up to you, 10            14   space in your expert reports talking
    15       or 15?                                     15   about something called dissociation
    16           THE WITNESS: Let's reconvene           16   kinetics, correct?
    17       at 3:25.                                   17        A. That's one of the metrics
    18           MR. MORTARA: 3:25.                     18   that I analyzed in my report, that's
    19       Perfect. Thank you.                        19   correct.
    20           THE VIDEOGRAPHER: Going off            20        Q. And you reviewed a poster by
    21       the video record at 3:12 Eastern           21   Kirsten White at Gilead, correct?
    22       time.                                      22        A. Poster from Kirsten White,
    23           (Short break.)                         23   publication from Hightower, et al.
    24           THE VIDEOGRAPHER: We are               24        Q. Right. I'm going to put
    25       now back on the video record.              25   both of those into your folder. I have
                                             Page 243                                              Page 245
     1        It's 3:26 p.m., Eastern time.              1   prefatory questions first. Those will be
     2   BY MR. MORTARA:                                 2   Exhibit 15 and 27.
     3        Q. Hello again, Dr. Engelman.              3            (Document marked for
     4        A. Good afternoon.                         4        identification as Exhibit
     5        Q. Talking again about the data            5       Engelman-15 .)
     6   from the Exhibit 9, the Science 2020            6            (Document marked for
     7   article with Dr. Cherepanov as the last         7        identification as Exhibit
     8   listed author.                                  8       Engelman-27.)
     9             You would agree that you              9   BY MR. MORTARA:
    10   considered and rejected the idea of            10       Q. You don't need to look at
    11   talking about the Cherepanov experiments       11   them yet. I'm just getting them over
    12   that had been disclosed at that                12   there:
    13   presentation in June and that material         13            MR. MORTARA: Hightower
    14   that underlay the science manuscript in        14       would be 15. And that poster will
    15   your first expert report, correct?             15       be 27.
    16        A. That's correct.                        16   BY MR. MORTARA:
    17        Q. Why did you not place the              17       Q. Both of those articles use a
    18   draft manuscript or the data on the list       18   technique called SPA or scintillation
    19   of materials you considered in your            19   proximity assay, correct?
    20   expert report then?                            20       A. That's correct.
    21        A. Well, it's because I didn't            21       Q. Prior to your first expert
    22   consider them.                                 22   report in this case, you had never, not
    23        Q. I just asked you if you                23   once, published research where you
    24   considered and rejected the idea, talking      24   reported on SPA experiments; is that
    25   about the experiments, and you said you        25   right?
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     1        A. That's correct. My                     1   for the half-life of dolutegravir -- I'm
     2   laboratory has not performed that              2   speaking specifically about the mutant
     3   particular SPA assay.                          3   Q148H/G140S of a 14-hour half-life, are
     4        Q. Now, the Cherepanov Science            4   they in agreement with the Hightower
     5   2020 article has some SPA experiments in       5   paper?
     6   it, doesn't it?                                6            And that is Exhibit 15, sir.
     7        A. That's correct.                        7   Let's do it this way. Go ahead and take
     8        Q. And we earlier looked at               8   a look at Exhibit 15, which you now have
     9   some of the results generated by those         9   in your folder. But I'll put it up on
    10   experiments in Figure 3A. Do you              10   the screen. Table 2, from Exhibit 15.
    11   remember that?                                11   You have reviewed the Hightower paper for
    12        A. I can recall that, yes.               12   your report, correct?
    13        Q. You and your lab had nothing          13        A. That's correct.
    14   to do with the performance of the SPA         14        Q. And of course, at some point
    15   experiments in the Cherepanov Science         15   you reviewed the paper that you're a
    16   2020 article, correct?                        16   corresponding author on with
    17        A. As prior stated on the                17   Dr. Cherepanov and his experiments,
    18   record, these experiments were performed      18   correct?
    19   in Dr. Cherepanov's laboratory.               19        A. That's correct.
    20        Q. And you have never done SPA           20        Q. What explains the different
    21   experiments yourself, correct?                21   results here, 14 hours in an experiment
    22        A. We have not done this SPA             22   Dr. Cherepanov did and 3.3 hours in an
    23   experiment ourselves, correct.                23   experiment Dr. Hightower did?
    24        Q. And thus, you have zero               24        A. Well, it's of course
    25   performance in performing SPA                 25   difficult to come up with a concrete
                                            Page 247                                            Page 249
     1   experiments, correct?                          1   answer, because no control experiment has
     2        A. We have not run SPA                    2   been tested side by side to address this.
     3   experiments within my laboratory, that's       3             My expert opinion, though,
     4   correct.                                       4   is this likely is to be in part explained
     5        Q. Do you know whether                    5   by the temperature at which the
     6   Dr. Cherepanov asked anyone for help in        6   experiment was conducted.
     7   designing or performing the SPA                7             The experiment in Hightower,
     8   experiments in the Cherepanov Science          8   et al., was conducted at 37 degrees
     9   2020 article?                                  9   celsius; whereas, the experiment in Cook,
    10        A. It's very difficult for me            10   et al., was conducted at room
    11   to comment on what Dr. Cherepanov might       11   temperature, approximately 22 to
    12   have done.                                    12   25 degrees celsius.
    13        Q. I'm just asking if you know           13             I am aware of reports at
    14   whether Dr. Cherepanov asked anyone for       14   meetings and in the literature that have
    15   help in designing or performing the SPA       15   conducted this experiment both at
    16   experiments in the Cherepanov Science         16   37 degrees celsius and at 25 degrees
    17   2020 article?                                 17   celsius.
    18        A. I am -- I am not privy to             18        Q. So here, the different
    19   that information.                             19   experimental methods yielded different
    20        Q. Dr. Engelman -- do you have           20   absolute results, correct, 14 hours in
    21   something to add?                             21   the Cook, et al., paper and 3.3 hours in
    22        A. No. Sorry. Please go                  22   Hightower, correct?
    23   ahead.                                        23        A. Again, my opinion is it's
    24        Q. The results that                      24   difficult to come up with a concrete
    25   Dr. Cherepanov got in his SPA experiments     25   explanation because the proper control
    Golkow Litigation Services                                           Page: 63 (246 - 249)
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                                             Page 250                                            Page 252
     1   experiments have not been conducted, but        1   Table 3. I'll blow that up on the
     2   the feeling is that the longer value on         2   screen.
     3   the left panel that you've highlighted at       3            And you understand that
     4   14 hours, is likely in part, at least in        4   there's two different models that were
     5   part, due to the different temperature          5   used to calculate the half-lives. One is
     6   under which the experiment was conducted.       6   the exponential decay model, and one is
     7             To paraphrase, the warmer             7   the equilibrium binding model. You
     8   things are cooked, the faster the               8   understand that, right?
     9   molecules will move, hence leading to the       9        A. Yes. I believe the two
    10   apparent faster dissociation in this           10   examples that you had on the screen from
    11   example under the higher temperature in        11   Cook 2020 and Hightower 2011, they had
    12   Table 2.                                       12   approached data analysis by the
    13        Q. And you can't come up with a           13   exponential decay model.
    14   concrete explanation comparing these two       14        Q. And that's the one I want to
    15   experiments because of the absence of a        15   ask you about.
    16   control between them; is that right?           16            The difference between the
    17        A. The absence of a carefully             17   observed half-lives between bictegravir
    18   controlled experiment to address the           18   and dolutegravir is 56 hours, correct?
    19   differences that you've brought up,            19        A. That looks -- that looks to
    20   that's correct. So for example, a              20   be accurate, that's correct.
    21   carefully controlled experiment would be       21        Q. Would you agree that
    22   for one investigator to repeat the             22   bictegravir dissociates from HIV
    23   experiment, if they had the wherewithal        23   wild-type integrase much more slowly than
    24   to do it, with this mutant and this            24   dolutegravir because its half-life in
    25   compound at the two temperatures side by       25   these experiments is 56 hours longer?
                                             Page 251                                            Page 253
     1   side directly.                                  1        A. Well, that's by the
     2        Q. And you can't come up with a            2   exponential decay model. The difference
     3   concrete explanation comparing these two        3   in the equilibrium binding model is -- is
     4   experiments in part because of that             4   a smaller number. That seems to be about
     5   difference in temperature in the two            5   22 hours.
     6   methods, correct?                               6        Q. Just focusing on the
     7        A. I think the difference in               7   exponential decay model, would you agree
     8   temperature is one of the -- one of the         8   that bictegravir dissociates from HIV
     9   differences between the two experiments         9   integrase much more slowly than
    10   that I would highlight in this discussion      10   dolutegravir in these experiments?
    11   as I have, correct.                            11        A. I would agree with
    12        Q. And that's a difference in             12   language --
    13   the way the experiments are performed,         13            MR. WILCOX: Object to form.
    14   correct?                                       14            THE WITNESS: -- that it --
    15        A. The temperature under which            15        that it seems to dissociate more
    16   the dissociation phase of the experiments      16        slowly.
    17   were performed. That's correct.                17   BY MR. MORTARA:
    18        Q. I'd like to refer you now to           18        Q. You don't agree that the
    19   Exhibit 27, which is the White poster.         19   56-hour increase in half-life represents
    20   You are familiar with the Kirsten White,       20   much slower disassociation?
    21   et al., poster from Gilead, correct?           21            MR. WILCOX: Object to form.
    22        A. That's correct. I have                 22            THE WITNESS: Yes, I
    23   reviewed it.                                   23        disagree with that. I have to do
    24        Q. And I want to talk about the           24        a more complete analysis. The
    25   dissociation half-life data shown on           25        analysis that I provided is that
    Golkow Litigation Services                                            Page: 64 (250 - 253)
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     1        the dissociation rate of                                              So I was surely
     2        bictegravir versus dolutegravir         2   aware of the use of Monogram Biosciences
     3        from HIV integration complexes is       3   and the type of data they provided
     4        insubstantially different.              4   because it's my impression, as I opined
     5   BY MR. MORTARA:                              5   in my reports, that much of the data
     6        Q. I want to talk to you about                                             was
     7   Monogram Biosciences PhenoSense integrase    7   generated by Monogram Biosciences.
     8   assay.
     9            You have never once written
    10   an article where the Monogram assay was
    11   used or cited in any way, correct?
    12        A. We have not used the
    13   services at Monogram Biosciences.
    14        Q. Monogram Biosciences has            14        Q. Dr. Engelman, did you tell
    15   never asked you to consult with them in     15   us in your expert reports that
    16   any way, shape or form, correct?
    17        A. That's correct.
    18        Q. Do you know even anyone who         18       A.   I did not --
    19   works at Monogram Biosciences?
    20        A. I do not know of anybody who
    21   works at Monogram Biosciences.
    22        Q. In fact, prior to this case,
    23   you had zero experience with Monogram       23        Q. Dr. Engelman, did you
    24   Biosciences or using or interpreting        24   disclose in your expert reports that
    25   their assay, correct?
                                          Page 255                                               Page 257
     1        A. Prior to this case, I was
     2   aware of Monogram Biosciences, but I had
     3   not used them or interpreted their data
     4   prior to this case.
     5        Q. So the only time you've done
     6   anything having anything to do with
     7   Monogram Biosciences PhenoSense integrase
     8   assay is when you were being paid by ViiV
     9   lawyers in this case, correct?
    10        A. Monogram Biosciences data is
    11   one of 400 different data sources I
    12   considered in forming my expert opinion
    13   in this case.
    14        Q. So the only time you've had
    15   anything to do with Monogram Biosciences
    16   assays is when you were being paid by
    17   ViiV's lawyers in this case, correct?
    18        A. I've read numerous papers on
    19   HIV integrase and integrase strand
    20   transfer inhibitors. So I've read about
    21   Monogram Biosciences and their results
    22   prior to this case.


                                                     25            MR. WILCOX: Counsel, I'm
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     1      going to object as argumentive.           1             Dr. Engelman, we're going to
     2      You need to calm down and not be          2        let the tape roll, we're going to
     3      yelling into the screen at                3        take up my time while I decide
     4      Dr. Engelman.                             4        what to do on this on my own time.
     5   BY MR. MORTARA:                              5        Thank you.
                                                      6             We'll stay on the...
                                                      7             (Pause in the proceedings.)
                                                      8             MR. WILCOX: Just to be
                                                      9        clear, we've been on the record
                                                     10        the whole time now.
                                                     11             MR. MORTARA: Oh, yeah,
                                                     12        that's exactly right, because I
                                                     13        didn't want you to talk to your
                                                     14        witness. Thanks, Mr. Wilcox.
                                                     15   BY MR. MORTARA:
                                                     16        Q. Dr. Engelman,
                                                                                              , you had
                                                     18   already been retained by ViiV Healthcare,
    19            MR. MORTARA: We're going to        19   correct?
    20        take a break for 20 minutes. And       20        A. That's incorrect. That was
    21        we're going to come back on the        21   before they first contacted me.
    22        record.
    23   BY MR. MORTARA:
    24        Q. Dr. Engelman, I'm asking you
    25   not to talk to the ViiV lawyers during
                                          Page 259                                                 Page 261
     1   this break.
     2             MR. MORTARA: And counsel,
     3        I'd like you to confirm that you
     4        will not talk to the witness
     5        during the break, or I will seek
     6        emergency relief from the court.
     7             MR. WILCOX: Counsel, I
     8        think this is totally
     9        inappropriate. You know, if we
    10        were in person at an office, that
    11        if there was a breakout, we would
    12        go back in a conference room. So
    13        you've got no basis --
    14             MR. MORTARA: Absolutely
    15        not --
    16             MR. WILCOX: -- to tell
    17        me --
    18             MR. MORTARA: We're going to
    19        stay -- we're going to stay on
    20        the -- we're going to stay on the      20        Q. What date exactly were you
    21        record. You are not talking to         21   retained by ViiV Healthcare?
    22        your witness about this frankly        22        A. I don't have the exact date
    23        shocking and blockbuster               23   in front of me. I don't have access to
    24        disclosure. We are staying on the      24   the retention agreement. It was some
    25        record.                                25   time in August 2016.
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     1        Q. When were you first                      1       the precise date. But that sounds
     2   contacted by ViiV healthcare in                  2       like a conversation that we had
     3   connection with this case? Exact date,           3       quite recently, within the last
     4   please.                                          4       one to two weeks.
     5        A. I apologize, sir, but I                  5   BY MR. MORTARA:
     6   don't have the exact date at hand. It            6       Q. That would be the first time
     7   would have been sometime around early            7   you told the ViiV lawyers that
     8   August 2016.
     9        Q. You can find out the exact
    10   date, can't you?                                10       A. That's the best of my
    11        A. My colleague, Lindsey Miller            11   recollection, yes.
    12   might know.
    13        Q. We'll ask her at a different
    14   time.
    15            Dr. Engelman, did you reach
    16   out to ViiV Healthcare or did ViiV
    17   Healthcare reach out to you?                    17       A. That's right. We
    18        A. My recollection is that I               18   highlight -- excuse me, I misspoke.
    19   was contacted by Michael Stadnick, a name
    20   that I brought up earlier, by telephone.
    21        Q. Did you tell the ViiV                   21       Q. When you said "we," who did
    22   lawyers at any point that                       22   you mean?
                                                         23       A. I meant myself only.
    25       A.   I believe a question like
                                              Page 263                                                Page 265
     1   that is covered by attorney/client
     2   privilege.
     3        Q. They're not your lawyers,
     4   sir.                                             4            Do you see that?
     5            MR. MORTARA: Mr. Wilcox,                5       A.    I do.
     6        are you going to let him ask the            6       Q.    You did not disclose that
     7        question?
     8            MR. WILCOX: Restate your
     9        question, Mr. Mortara.                      9        A. I did not.
    10   BY MR. MORTARA:                                 10        Q. And in fact, you didn't
    11        Q. Did you tell the ViiV                   11   disclose it until I asked you under oath
    12   lawyers at any point that                       12   that question, correct?
                                                         13        A. That's correct.
                                                         14        Q. You weren't going to
    15           MR. WILCOX: You can answer              15   disclose it unless someone asked you
    16       that yes or no, Dr. Engelman.               16   under oath whether that was true, were
    17           THE WITNESS: Yes.                       17   you?
    18   BY MR. MORTARA:                                 18           MR. WILCOX: Objection.
    19       Q. When did you tell the ViiV               19        Argumentative.
    20   lawyers that


    23           MR. WILCOX: You can answer              23   BY MR. MORTARA:
    24       that with a date, Dr. Engelman.             24       Q. Your report is highly
    25           THE WITNESS: I don't have               25   confidential, isn't it, sir? It says
    Golkow Litigation Services                                                Page: 67 (262 - 265)
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     1   that on the front.
     2        A. That's right. And that's
     3   why I answered your question under oath,
     4   because this is also highly confidential.
     5        Q. Dr. Engelman, none of your
     6   reports disclose that


     9       A.   No.




    22       Q. And you nowhere told us
    23   about that in your expert reports,
    24   correct?
    25       A. That's correct.
                                                Page 267                    Page 269




    18       Q.   And then you say, noting --




    23          Do you see that?
    24       A. Yes, I do see that.


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                                       Page 270                                                Page 272
                                                   1       Q. Did you think -- did it
                                                   2   occur to you that
                                                                                         that
                                                   4   someone might be misled in reading your
                                                   5   expert reports from the truth which is
                                                   7          MR. WILCOX: Objection.
                                                   8       Argumentative.
                                                   9          THE WITNESS: No, I didn't.
                                                  10       What I was doing was


                                                  13   BY MR. MORTARA:
                                                  14       Q. You don't think that your
                                                  15   expert report is misleading for not


                                                  18       A. That's correct.
                                                  19       Q. When you told the ViiV
                                                  20   lawyers that

                                                                    did you discuss with the
                                                  23   ViiV lawyers whether that should be
                                                  24   disclosed to Gilead?
                                                  25           MR. WILCOX: I'm going to
                                       Page 271                                                Page 273
     1        MR. WILCOX: Objection.               1       instruct you not to answer that
     2     Argumentative.                          2       question, Dr. Engelman, that falls
                                                   3       under Rule 26, protections.
                                                   4           MR. MORTARA: Again,
                                                   5       Mr. Wilcox, we're going to take
     6   BY MR. MORTARA:                           6       this one up with the court. And
                                                   7       if you want to give him the
                                                   8       opportunity to answer the question
                                                   9       yes or no right now, that will
    10     A.   Excuse me?                        10       save him from coming back and
                                                  11       having a potentially quite lengthy
                                                  12       redeposition on this subject.
                                                  13           MR. WILCOX: Yeah, I'll take
                                                  14       it under advisement, Counsel.
                                                  15           MR. MORTARA: Go ahead and
                                                  16       let me know if you're going to --
                                                  17       willing to let him answer that
                                                  18       question.
                                                  19   BY MR. MORTARA:
                                                  20       Q. In any event, Dr. Engelman,
                                                  21   you did not disclose to me or to anyone
                                                  22   from Gilead or to the court prior to
                                                  23   today that
                                                            did you?
                                                  25       A. I did not disclose.
    Golkow Litigation Services                                       Page: 69 (270 - 273)
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                                                Page 274                                                   Page 276
                                                            1   portion of the report, I didn't -- I
                                                            2   suppose I felt like it wasn't pertinent.




                                                Page 275                                                   Page 277




                                                            9        Q. Dr. Engelman, you are on the
                                                           10   editorial board of Retrovirology, we
                                                           11   discussed that earlier, right?
                                                           12        A. That's correct.
                                                           13        Q. Were you one of the peer
                                                           14   reviews of the Hughes NIH 2018 article?
                                                           15        A. I already stated that I'm
                                                           16   99.99 percent sure I was not. So I was
                                                           17   not.



    21       Q.   Why did you choose not to
    22   reveal


    25      A.    When I -- when I wrote this
    Golkow Litigation Services                                                 Page: 70 (274 - 277)
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                                                           1   didn't identify, but you gave the number,
                                                           2   in your expert report.
                                                           3            You agree you did not, in
                                                           4   fact, identify all those 32 typographical
                                                           5   errors, correct?
                                                           6        A. I did not. I think in my
                                                           7   report, I believe in my report I
                                                           8   highlighted some more of the egregious
                                                           9   ones which we've already talked about
                                                          10   one, the misinterpretation of the data.
                                                          11        Q. That was the sentence where
                                                          12   you and I can't agree about the meaning
                                                          13   of the Philadelphia Eagles sentence that
                                                          14   I showed on the screen, right? That was
                                                          15   one.
                                                          16            That's one, correct?
                                                          17        A. That's one, that's correct.
                                                          18        Q. Another is the numbers in
                                                          19   the figure here that I'm showing on the
                                                          20   screen are off by one, correct?
                                                          21        A. Yes. This figure is very
                                                          22   difficult to follow, because the numbers
                                                          23   in the first column, most of those are
                                                          24   incorrect.
                                                          25        Q. And then a third appears in
                                               Page 279                                             Page 281
                                                           1   Supplemental Table 1, which I will get to
                                                           2   momentarily, which is where for G118R,
                                                           3   there's a greater than sign but also an
                                                           4   "NS" designation, correct?
                                                           5        A. Yeah, this table is very
                                                           6   confusing and riddled with errors.
                                                           7        Q. Those are three, though,
     8       Q. In hindsight, do you think                 8   right, three that I just identified?
     9   you made a mistake in not disclosing in           9        A. Those are three.
    10   your expert report that                          10        Q. Would you please now, go
                                                          11   through and identify the other 29
                           , would you admit that         12   typographical errors that you found in
    13   you made a mistake?                              13   the Hughes 2018 article?
    14       A. I think I could have been                 14        A. I can do that. It will take
    15   more accurate if                                 15   up the rest of our time.
                                                          16        Q. Well, I don't know if it's
                                                          17   going to take up the rest of our time. I
    18        Q. Dr. Engelman, you had                    18   have very little left other than that.
    19   referred a couple times to 32                    19   So I'm willing to use my time to have you
    20   typographical errors, that you cited the         20   tell me what those errors are.
    21   number in your expert report, in the             21        A. Okay. Which -- I'll go to
    22   Hughes 2018 NIH article, correct?                22   my left screen. I apologize. Once
    23        A. That's correct.                          23   again, remind me of the exhibit number.
    24        Q. I'm asking you only about                24        Q. It is 25. And please, we
    25   the 32 typographical errors that you             25   can go through the article in order. And
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     1   you can tell me the page, and we'll              1   other ones we can look at right on this
     2   highlight it on the screen as we go.             2   table. This is a table that has a lot of
     3        A. The first one would be on                3   them.
     4   Page 3. "Only bictegravir potently               4        Q. Dr. Engelman, I want to
     5   inhibited the well known                         5   continue asking you about the tabulation
     6   raltegravir-resistant integrase double           6   that you have that you didn't give us.
     7   mutant virus" --                                 7            You have a tabulation of the
     8        Q. That's one of the three that             8   so-called 32 typographical errors on your
     9   we already counted. But if you want to           9   laptop; is that correct?
    10   just count 32.                                  10        A. Well, I went through and I
    11        A. I want to -- I want to                  11   counted them. I came up with a number of
    12   highlight when I think it's an error,           12   32. And I think that's correct. I have
    13   because -- because the authors are              13   a PDF version where I believe all of
    14   pointing out that the value is less than        14   those are highlighted.
    15   or equal to five. But if we go to the           15            MR. MORTARA: Mr. Wilcox,
    16   table --                                        16        could we get the PDF version and
    17             Oh, boy. Okay. The mouse              17        save Dr. Engelman the time of
    18   is kind of working. We're now going to          18        going through and identifying all
    19   Supplemental Table S1.                          19        32 of them? I am willing to
    20             And we're in the fourth               20        accept the PDF that only has the
    21   column from the left. The value for             21        32 that he was talking about in
    22   dolutegravir is 5.8. The value for              22        his reports.
    23   bictegravir is 5.5. I don't see how 5.5         23            MR. WILCOX: Let me take
    24   is less than or equal to five.                  24        that under -- let me take that
    25             The value for G118R for               25        under advisement. I'll get back
                                              Page 283                                             Page 285
     1   dolutegravir is 13.0, for bictegravir            1       to you after the next break or if
     2   it's 5.4.                                        2       you want to take a break now.
     3             My interpretation is that              3   BY MR. MORTARA:
     4   5.4 is not less than five. But that's            4       Q. Well, Dr. Engelman, let me
     5   really one of those typographical errors.        5   ask you what you would prefer.
     6         Q. How many of those -- how                6       A. I want to defer to my
     7   many typographical errors do you                 7   counsel here.
     8   believe -- how many did that account for,        8           MR. MORTARA: Okay. Why
     9   this sentence, you don't like the way            9       don't we take that break.
    10   it's written compared to the data, 5.4          10           Mr. Wilcox, I would request
    11   rounded to five is confusing to you, 5.5        11       that, consistent with the rules of
    12   for the other one, you don't think that's       12       the court, you not discuss the
    13   five. How many is that? Is that three?          13       substance of the witness's
    14         A. I think it was one or two.             14       testimony. I'm not finished with
    15   You know, to be -- I have a tabulated           15       my exam.
    16   value on my own laptop that highlights          16           And that you also consider
    17   all the typographical errors. This will         17       whether you're going to let him
    18   go much faster if you want me to go get         18       answer whether he discussed with
    19   my laptop.                                      19       you and your co-counsel whether or
    20         Q. Why didn't you submit with             20       not to disclose to us that
    21   your expert report, the tabulated
    22   typographical errors, the 32 that you
    23   were talking about, in your reports?            23           But please do not discuss
    24         A. Well, I did highlight the              24       the substance of the witness's
    25   most egregious errors. So some of the           25       testimony with him. Thank you.
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     1           MR. WILCOX: Yeah, and I
     2      don't need a reminder on that,
     3      Mr. Mortara. I'm well aware of
     4      the rules of the court and I
     5      follow them at all times.
     6           So let's go ahead and take a
     7      break. We can go off the record.          7        Q. Dr. Engelman, I'm moving
     8           THE VIDEOGRAPHER: Going off          8   into the admitted exhibits folder what
     9      the record. The time is 4:14 p.m.         9   will be Deposition Exhibit 44.
    10      Eastern time.                            10            (Document marked for
    11           (Short break.)                      11        identification as Exhibit
    12           THE VIDEOGRAPHER: Going             12        Engelman-44.)
    13      back on the record. The time is          13   BY MR. MORTARA:
    14      4:21 p.m. Eastern time.                  14        Q. Deposition Exhibit 44 begins
    15           MR. MORTARA: Mr. Wilcox,            15   with a November 1st, 2010, e-mail from
    16      can I have the PDF?                      16   you to Damian McColl, Manuel Tsiang, and
    17           MR. WILCOX: Mr. Mortara, we         17   Hans Reiser. It says, "Dear Damian and
    18      will -- we will provide the PDF to       18   Manuel."
    19      you. Would you like us to e-mail         19            You can read it to yourself.
    20      it to you now?                           20            "We have studied residual
    21           MR. MORTARA: No, that's             21   INSTI function after cell pretreatment."
    22      fine. Actually, yeah, sure. Send         22            It goes on.
    23      it now so I can check it before I        23            It talks about the results.
    24      conclude my examination. That            24   It says, "This would seem to differ from
    25      would be really great.                   25   what you presented at the 49th ICAAC in
                                          Page 287                                            Page 289
     1          MR. WILCOX: Yeah, because I           1   2009, though I'm guessing relative degree
     2      want to make sure that you're             2   likely accounts for the differences
     3      going to have this thing now.             3   between the study. Our paper is
     4      And I don't want this to be               4   attached."
     5      something that's going to hold the        5            You go on to say, "It would
     6      record up.                                6   be interesting to follow-up with
     7          MR. MORTARA: I would not --           7   additional drugs (GS9160, others) in
     8      I would not hold the record open          8   these established assays and/or further
     9      for that, but I will hold it open         9   characterize EVG persistence and
    10      for plenty of other things.              10   virucidal function. Labeled EVG would
    11          MR. WILCOX: Yeah, and                11   work well for these later studies.
    12      we'll -- I'm sure we'll disagree         12            "Please let me know if you
    13      about that.                              13   have interest in these research areas."
    14          So we will send that over to         14            Do you see that?
    15      you.                                     15        A. I do see it.
    16          MR. MORTARA: Great.                  16        Q. All right. In this e-mail
    17          MR. WILCOX: And then -- and          17   you were asking Gilead for its support,
    18      then I will withdraw my                  18   in particular providing materials, for
    19      instruction on that question that        19   your research, correct?
    20      you previously asked.                    20        A. It doesn't look like I'm
    21          MR. MORTARA: I understand.           21   directing requesting materials. It looks
    22   BY MR. MORTARA:                             22   like I'm discussing -- I had completely
                                                     23   forgotten about this e-mail. It's now
                                                     24   approximately ten years old. I have
                                                     25   obviously hundreds of thousands of
    Golkow Litigation Services                                          Page: 73 (286 - 289)
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     1   e-mails since then.                            1           TJ, can you pull up
     2            It looks like I'm discussing          2       Exhibit 25 for me, please.
     3   the results of the paper that we had           3           THE VIDEOGRAPHER: Sure can.
     4   published. And discussing the                  4           Okay. Adam, could you stop
     5   possibility of further work in that            5       this feature for me? Thank you.
     6   arena, which never materialized.               6           MR. WILCOX: Oh, and Adam,
     7        Q. And you were suggesting that           7       you know, your -- your firm asked
     8   Gilead might supply to you some materials      8       that all the counsel who are
     9   for you to do research with. Isn't that        9       taking and defending be on the
    10   what this means?                              10       camera. So could you please come
    11        A. In discussing the results of          11       back on the camera?
    12   a published paper, discussing possible        12           MR. MORTARA: Sure. I
    13   follow-up experiments. I don't recall         13       thought it would be less
    14   the original e-mail honestly. And I           14       distracting.
    15   don't remember any follow-up after this       15           MR. WILCOX: TJ, could you
    16   e-mail.                                       16       go to Page 3 of Exhibit 25.
    17        Q. And you asked Gilead if they          17           And then could you go down
    18   had interest in your proposed research        18       to the area, "however." Could you
    19   areas, correct?                               19       highlight that sentence?
    20        A. "Please let me know in case           20       "However, only BIC." Right down
    21   you have interest in these research           21       here where my cursor is.
    22   areas." That's correct.                       22           THE VIDEOGRAPHER: I can't
    23        Q. And Gilead never expressed            23       see your cursor. However...
    24   any interest in your research, did they?      24           MR. WILCOX: "However only
    25        A. I apologize, sir, I don't             25       BIC." Yeah, that's --
                                            Page 291                                             Page 293
     1   recall this original e-mail. And I don't       1            THE VIDEOGRAPHER: Is that
     2   recall whether or not there was a reply        2        in the left-hand column?
     3   e-mail. I apologize.                           3        Left-hand column.
     4            MR. MORTARA: I have no                4            MR. WILCOX: Yeah, left-hand
     5       further questions.                         5        column, you're right there.
     6            MR. WILCOX: Why don't we go           6            THE VIDEOGRAPHER: All
     7       ahead and take a ten-minute break.         7        right.
     8            MR. MORTARA: Sure.                    8   BY MR. WILCOX:
     9            THE WITNESS: Thank you.               9        Q. Actually Dr. Engelman, can
    10            THE VIDEOGRAPHER: Going off          10   you see on Page 3 of Exhibit 25,
    11       the video record. The time is             11   left-hand column, starting with,
    12       4:26 p.m.                                 12   "However." Do you see that sentence?
    13            (Short break.)                       13            "However, only BIC." Do you
    14            THE VIDEOGRAPHER: Back on            14   see that sentence?
    15       the video record. The time is             15        A. I do.
    16       4:35 p.m. Eastern time.                   16        Q. Okay. Now, Mr. Mortara
    17               - - -                             17   asked you some questions about this
    18              EXAMINATION                        18   particular sentence today. And I want to
    19               - - -                             19   know if you agree with the statement that
    20   BY MR. WILCOX:                                20   only bictegravir inhibited G140/Q148H.
    21       Q. Dr. Engelman, I have some              21   Do you agree with that?
    22   questions for you.                            22        A. I do not agree with that.
    23            MR. WILCOX: So -- so could           23   Only BIC totally inhibited. That's a
    24       somebody please pull up                   24   misstatement. It's clear that the
    25       Exhibit 25.                               25   potency of bictegravir and dolutegravir
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     1   can inhibit that mutant virus with a            1   site-directed mutant viruses and patient
     2   statistically numerically insignificant         2   strains would be an insubstantial
     3   result.                                         3   difference.
     4        Q. Now, as part of your                    4            MR. WILCOX: I pass the
     5   analysis in this case, approximately how        5        witness.
     6   many mutant viruses did you consider?           6            MR. MORTARA: Thank you,
     7        A. Throughout my total analysis            7        Mr. Wilcox.
     8   in this case I've analyzed data for             8            At this time Gilead has no
     9   upwards of 200 different integrase mutant       9        further questions. However,
    10   viruses.                                       10        Mr. Wilcox, I'll advise you that
    11        Q. And based on all the data              11        we will hold the deposition open,
    12   that you considered, what would a person       12        pending a possible motion
    13   of ordinary skill in the art conclude          13        regarding the nondisclosure of
    14   about the differences between the in                                                      as
    15   vitro activity of dolutegravir and             15        well as a couple other objections
    16   bictegravir to inhibit the infection of        16        that came up, although I think,
    17   site-directed mutations?                       17        I'm not 100 percent sure, those
    18        A. With all the evidence I've             18        were for the most part resolved.
    19   considered, a person of ordinary skill in      19            We'll meet and confer with
    20   the art would conclude that the potency        20        you about any such motion. And
    21   for bictegravir versus dolutegravir to         21        I'm sure you will disagree with
    22   inhibit the infection of site-directed         22        our assessment.
    23   mutant viruses to be insubstantially           23            MR. WILCOX: And I'd like to
    24   different.                                     24        note -- confirm that you received
    25        Q. Based on all the data that             25        the PDF that we sent you with
                                             Page 295                                              Page 297
     1   you considered, what would a person of          1       the -- with the upwards of 30
     2   ordinary skill in the art conclude about        2       errors.
     3   the differences between the in vitro            3            MR. MORTARA: Thank you very
     4   dissociation half-lives of dolutegravir         4       much. I did receive the PDF, and
     5   and bictegravir?                                5       at this time Gilead has no
     6        A. Based on all the data that              6       questions about it.
     7   I've considered, a person of ordinary           7            MR. WILCOX: And are any of
     8   skill in the art will conclude that the         8       your reasons for holding open the
     9   in vitro dissociation half-lives of             9       deposition, do those pertain to
    10   bictegravir versus dolutegravir are            10       that PDF because if you --
    11   insubstantially different.                     11            MR. MORTARA: No. As I
    12        Q. So based on all the data               12       earlier confirmed to you,
    13   that you considered, what would a person       13       Mr. Wilcox, no, they do not.
    14   of ordinary skill in the art conclude          14            My reasons for holding open
    15   about any differences in the overall           15       the deposition is Gilead's
    16   performance in vitro of dolutegravir and       16       potential motion for litigation
    17   bictegravir?                                   17       sanctions against ViiV for its
    18        A. Based on all the information           18       nondisclosure of
    19   and all the data that I've considered, a
    20   person of ordinary skill in the art
    21   would -- would conclude that the               21           MR. WILCOX: We obviously
    22   differences between dolutegravir and           22       disagree with that contention,
    23   bictegravir to inhibit HIV integrase           23       but, you know, we can meet and
    24   activity, the infection of wild-type           24       confer after this.
    25   HIV-1 strains, the infection of                25           MR. MORTARA: Yes, I've
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     1    rarely met the adversary that                 1
     2    agrees with a sanctions motion.
                                                        2            CERTIFICATE
                                                        3
     3        This deposition is concluded              4
     4    from Gilead's perspective.                    5           I HEREBY CERTIFY that the
     5    Mr. Wilcox?                                       witness was duly sworn by me and that the
                                                        6   deposition is a true record of the
     6        MR. WILCOX: It is                             testimony given by the witness.
     7    concluded.                                    7
     8        MR. MORTARA: Madame court                             It was requested before
                                                        8   completion of the deposition that the
     9    reporter, may I place on the                      witness, ALAN ENGELMAN, PH.D., have the
    10    record Gilead's sincere thanks for            9   opportunity to read and sign the
                                                            deposition transcript.
    11    your hard work in this, our first            10
    12    ever, this case's and my first               11
    13    ever, online deposition.
                                                       12       __________________________________
                                                                MICHELLE L. GRAY,
    14        I'd also like to thank my                13       A Registered Professional
    15    colleagues from FTI, as well as                       Reporter, Certified Shorthand
    16    our videographer. Thank you very
                                                       14       Reporter, Certified Realtime
                                                                Reporter and Notary Public
    17    much. This has been a tough day.             15       Dated: May 18, 2020
    18    I really appreciate it, all of               16
                                                       17
    19    you. Thank you. And everybody                               (The foregoing certification
    20    have a good and safe day.                    18   of this transcript does not apply to any
    21        THE VIDEOGRAPHER: This                   19   reproduction of the same by any means,
                                                       20   unless under the direct control and/or
    22    concludes the deposition for                 21   supervision of the certifying reporter.)
    23    today. And we're going off the               22
                                                       23
    24    video record. The official time              24
    25    is 4:42 p.m. Eastern time.                   25

                                            Page 299                                               Page 301
     1        (Excused.)                                1        INSTRUCTIONS TO WITNESS
     2        (Deposition concluded                     2
     3    approximately 4:42 p.m. Eastern               3            Please read your deposition
     4    standard time.)                               4   over carefully and make any necessary
     5                                                  5   corrections. You should state the reason
     6                                                  6   in the appropriate space on the errata
     7                                                  7   sheet for any corrections that are made.
     8                                                  8            After doing so, please sign
     9                                                  9   the errata sheet and date it.
    10                                                 10            You are signing same subject
    11                                                 11   to the changes you have noted on the
    12                                                 12   errata sheet, which will be attached to
    13                                                 13   your deposition.
    14                                                 14            It is imperative that you
    15                                                 15   return the original errata sheet to the
    16                                                 16   deposing attorney within thirty (30) days
    17                                                 17   of receipt of the deposition transcript
    18                                                 18   by you. If you fail to do so, the
    19                                                 19   deposition transcript may be deemed to be
    20                                                 20   accurate and may be used in court.
    21                                                 21
    22                                                 22
    23                                                 23
    24                                                 24
    25                                                 25


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     2           - - - - - -                                    3   ____ ____ ____________________________
     3                                                          4   ____ ____ ____________________________
     4   PAGE LINE CHANGE                                       5   ____ ____ ____________________________
     5   ____ ____ ____________________________                 6   ____ ____ ____________________________
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    20     REASON: ____________________________                20   ____ ____ ____________________________
    21   ____ ____ ____________________________                21   ____ ____ ____________________________
    22     REASON: ____________________________                22   ____ ____ ____________________________
    23   ____ ____ ____________________________                23   ____ ____ ____________________________
    24     REASON: ____________________________                24   ____ ____ ____________________________
    25                                                         25

                                                    Page 303
     1
     2       ACKNOWLEDGMENT OF DEPONENT
     3
     4           I,_____________________, do
     5   hereby certify that I have read the
     6   foregoing pages, 1 - 304, and that the
     7   same is a correct transcription of the
     8   answers given by me to the questions
     9   therein propounded, except for the
    10   corrections or changes in form or
    11   substance, if any, noted in the attached
    12   Errata Sheet.
    13
    14
    15   _______________________________________
    16   ALAN ENGELMAN, PH.D.          DATE
    17
    18
    19   Subscribed and sworn
         to before me this
    20   _____ day of ______________, 20____.
    21   My commission expires:______________
    22
         ____________________________________
    23   Notary Public
    24
    25


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                    EXHIBIT D
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                                   24889



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


  VIIV HEALTHCARE COMPANY,
  SHIONOGI & CO., LTD., and VIIV
  HEALTHCARE UK (NO. 3) LIMITED,         C.A. No.1:18-cv-00224-CFC-CJB

      Plaintiffs,                        JURY TRIAL DEMANDED

      v.
  GILEAD SCIENCES, INC.,

      Defendant.



              OPENING EXPERT REPORT OF ALAN ENGELMAN, PH.D.
              CONCERNING INSUBSTANTIAL DIFFERENCES BETWEEN
                     DOLUTEGRAVIR AND BICTEGRAVIR




 Dated: November 15, 2019
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                              Hassounah 2017 at -536-37, Figures 1 and 2.

        406.    Although the 7.4 fold change in EC50 value noted in Table 3 for DTG to inhibit

 HIV-1 integrase mutant virus G140S/Q148H was numerically significantly different from the 4.8

 fold change value noted for BIC with this virus, other investigators have reported EC50 and fold

 change values for BIC and DTG to inhibit the G140S/Q148H mutant virus that do not significantly

 differ from one another. See Smith 2018; Zhang 2018. In light of all of those other instances, any

 differences in DTG and BIC’s EC50 and fold change values reported in Hassounah 2017 do not

 change my opinion that any differences in DTG and BIC’s activity against site-directed mutant

 viruses are insubstantial.

        407.    Both DTG and BIC performed similarly in TZM-bl cells and CBMC cultures,

 demonstrating comparable resistance profiles and inhibition activity. This further suggests that

 DTG and BIC have similar resistance profiles and further supports my opinion that the in vitro

 data of DTG and BIC are insubstantially different from one another.

                        b.       Smith 2018

        408.    Retrovirology published an article by Dr. Steven Smith, among others, entitled

 Efficacies of Cabotegravir and Bictegravir Against Drug-resistant HIV-1 Integrase Mutants.

 Steven J. Smith et al., Efficacies of Cabotegravir and Bictegravir Against Drug-resistant HIV-1

 Integrase Mutants, 15 RETROVIROLOGY 1 1–18 (2018) (accessed through Open Access,

 https://retrovirology.biomedcentral.com/track/pdf/10.1186/s12977-018-0420-7)       (supplemental

 materials “Smith 2018 Supplement”8 ) (collectively “Smith 2018”).




 8
  The supplemental materials are available at
 https://static-content.springer.com/esm/art%3A10.1186%2Fs12977-018-0420-
 7/MediaObjects/12977_2018_420_MOESM1_ESM.pdf


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        409.     Smith 2018 illustrates EC50 values “in single round infection assays” (n=4),

 discussed above, “using vectors that carry the INSTI-resistant mutations in INSTI-resistant IN

 mutants.”     VIIVUS00001366-383 at -368.        As discussed in further detail in the following

 paragraphs, Smith 2018 demonstrates that DTG’s and BIC’s respective resistance profiles against

 site-directed mutant viruses are very similar. Although a handful of mutant viruses sometimes led

 to greater resistance to BIC and sometimes led to greater resistance to DTG, overall, both BIC and

 DTG have resistance profiles that are drastically different from those of first-generation INSTIs.

        410.     Smith 2018 reports the differences between, on the one hand, DTG, BIC, and CAB

 and, on the other hand, RAL and EVG. For example, Smith 2018 acknowledges that “[g]enerally

 speaking, the second generation INSTIs (DTG, BIC, and CAB) are much more proficient at

 inhibiting these INSTI-resistant mutants than RAL and EVG. Based on the data from our panel

 of mutants, DTG and BIC are more broadly effective against the mutants than CAB (Fig. 3).” Id.

 at -376. Smith 2018 also acknowledges that “DTG, BIC, and CAB are similar chemically and

 structurally” and “given the problems that arise with drug resistance, it is likely that, among related

 compounds [such as DTG and BIC], those that are more broadly effective against resistant viruses

 [such as DTG and BIC] will have an advantage in the clinic.” Id. at -375 Smith 2018 concludes

 that, based on their ability to inhibit the 57 INSTI-resistant mutants selected and tested, BIC

 performed better than DTG against 14 mutants and DTG performed better than BIC against 10

 mutants. See id. at -374;

        411.     Smith 2018 also notes that “[g]iven the complexities of pharmacology, a significant

 difference in the behavior of a drug against a particular mutant (or mutants) may or may not

 translate directly into a desirable clinical outcome.” Id. at -375;




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        41 2.   However, putting aside that the assay results may not translate into the clinic, there

 are issues with Smith 2018 that raise questions about its analysis and results.

        41 3.   First, Smith 201 8 obtained ECso values for DTG against site-directed mutant virus



 Margot 201 9; Tsiang Dep. Ex. l ; Tables 1.1-1.3. While it is not uncommon for scientists to run

 an assay only 3 or 4 times



                                                   This suggests to me that the Smith 201 8 assay

 methodology, the limited number of times the assay was run (n=4), or experimental error may be

 the cause. Id. at -376, Figure 9.




                                                                         This indicates to me that if

 Smith 2018 had used Gilead's assays, instead of his own, or run its assays more times, Smith 201 8

 may have reached a different conclusion.

                 Mutant Virus                                             Smith 2018
        DTG      WT                                                       0.7 - 2.5 nM
                                                                              (n=4)
        DTG      G l 40S/Q l 48R                                         19.4- 33 nM
                                                                              (n=4)
        DTG      Nl 55H/Ql48R                                             5.1- 9. 1 nM
                                                                              (n=4)
        DTG      R263K                                                   7.9 -14.7 nM
                                                                              (n=4)




 9
  Tables 1.1 and 2.1 include Gilead's in vitro data from Tsiang Dep. Ex. 1, including
 BICVIIVUS0068588.


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        414.    Second, Smith 2018 attributes the differences in DTG, BIC, and CAB’s resistance

 profiles to the structural differences on the “left side,” or ring A, of these INSTIs. Id. at -366, -

 374, -376. This directly contradicts Gilead’s presentation to the public at ASM Microbe 2016,

 which attributes the differences to the “right side,” or ring D, of these INSTIs.

 BICVIIVUS0251877-891 at -886-877;




        415.    In addition to my opinion that the above issues call the data and conclusions in

 Smith 2018 into question, I disagree with some of the conclusions that Smith 2018 draws from its

 individual assay panels. Instead, as discussed in further detail below, those panel results further

 support my opinion that any in vitro differences between DTG and BIC are insubstantial. Smith

 2018 ran 7 assay panels 4 times each: (Panel 1) primary INSTI-resistant mutants; (Panel 2) other

 common INSTI-resistant single mutants; (Panel 3) double-mutants with primary mutation at Q148;

 (Panel 4) double-mutants with primary mutations at T66I and N155H; (Panel 5) triple-mutants

 with primary mutation Q148H/K/R; (Panel 6) triple-mutants with primary mutation at T66I and

 N155H; and (Panel 7) triple-mutants with primary mutation G140S/Q148H.




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       416.   Panel 1, Primary INSTI-Resistant Mutants – Figure 2, Table S1. In the first

 panel, Smith 2018 tested WT and primary INSTI-resistant mutants, including: Y143R, N155H,

 G140S/Q148H, T66I, E92Q, H51Y, G118R, R263K, H51Y/R263K, and E138K/E263K.

 VIIVUS00001366-383 at -367-368, Figure 2; Smith 2018 Supplement at Table S1A. DTG and

 BIC both inhibited at least WT, Y143R, N155H, T66I, E92Q, H51Y, G118R, and E138K/R263K.

 Smith 2018 Supplement at Table S1A.




                                 Smith 2018 at 3, Figure 2.



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          417.   Smith 2018 claims that only BIC potently inhibited G140S/Q148H and G118R.

 VIIVUS00001366-383 at -368 (“However, only BIC potently inhibited the well-known RAL-

 resistant IN double mutant G140S/Q148H and the DTG-resistant IN mutant[] G118R[.]”). I

 disagree. Regarding G140S/Q148H, the Smith 2018 supplemental materials indicate that both

 DTG and BIC had EC50 values > 5 nM, and these values were insubstantially different from one

 another (DTG: 5.8 ± 0.5 nM; BIC: 5.5 ± 0.7 nM). Smith 2018 Supplement, Table S1A; Smith

 2018 Supplement at Table S1B (“G140S/Q148H DTG-BIC NS [not significant]”). Therefore, I

 believe these two compounds performed similarly against the G140S/Q148H mutant. Regarding

 G118R, the Smith 2018 supplemental materials indicate that both DTG and BIC had EC50 values

 > 5 nM, and these values were not statistically significant (DTG: 13.0 ± 5.0 nM; BIC: 5.4 ± 0.6

 nM). Smith 2018 Supplement at Table S1A; Smith 2018 Supplement at Table S1B (“G118R BIC

 > DTG NS [not significant]”).10




                                Smith 2018 Supplement, Table S1A.

          418.   Less concentration of BIC was required to inhibit H51Y (DTG: 3.2 ± 0.2 nM; BIC:

 2.2 ± 0.1 nM), R263K (DTG: 11.3 ± 3.4 nM; BIC: 4.1 ± 1.1 nM) and H51Y/R263K (DTG: 16.0

 ± 1.9 nM; BIC: 3.5 ± 1.0 nM) than DTG. However, as illustrated below, Smith 2018 obtained

 EC50 values for DTG against site-directed mutants

                                                       See Margot 2019; Tsiang Dep. Ex. 1.



 10
      This “G118R BIC > DTG NS [not significant]” may be a typographical error.

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                           Compare Smith 201 8, Table Sl with Margot 2019 at 2 191-2 192 and

 Tsiang Dep. Ex. 1. While it is not uncommon for scientists to nm an assay only 3 or 4 times, the

 great data disparity here suggests to me that the Smith 201 8 assay methodology and/or the limited

 number of times the assay was mn (n=4) may be the cause. For example, if Smith 2018 had

 conducted more mns or used Gilead's assays, instead of his own, Smith 2018 may have reached a

 different conclusion.

        41 9.



                                 According to Smith 2018's in vitro data, Smith 2018 ran assay

 panels on DTG against site-directed mutant R263K only 4 times and produced ECso values ranging

 from 7.9 - 14.7 nM,                                                                           See

 VIIVUS00001366-383 at -368, Figure 2; Smith 2018 Supplement, Table SIA.




                                                              R263K
           ECso (nM)                                                        Smith 2018
                DTG                                                        7.9 -14.7 nM
                                                                                (n=4)
                BIC                                                         3.0 - 5.2nM
                                                                                (n=4)

        420.

            In Smith 2018, DTG and BIC exhibited similar efficacy against site-directed mutant



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   Tables 1.1 and 2. 1 include Gilead's in vitro data. from Tsiang Dep. Ex. 1, including
 BICVIIVUS0068588.


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 viruses as a whole, suggesting that DTG and BIC have similar resistance profiles and markedly

 better resistance profiles than first-generation INSTIs. This further supports my opinion that the

 in vitro data of DTG and BIC are insubstantially different from one another.

        421.    Panel 2, Other Common INSTI-Resistant Single Mutants – Figure 4, Table S2.

 In the second panel, Smith 2018 tested other common INSTI-resistant mutants, including: M50I,

 L74M, T97A, S119R, E138K, G140S, Q146L, Q146P, Q148H, Q148K, Q148R, and S153Y.

 VIIVUS00001366-383 at -371, Figure 4; Smith 2018 Supplement, Table S2A. DTG and BIC both

 inhibited M50I, L74M, T97A, S119R, E138K, G140S, Q146P, Q148H, Q148K, Q148R, and

 S153Y.




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                                          Smith 2018 at 6.




                               Smith 2018 Supplement, Table S2A.

        422.    Smith 2018 reported that “BIC potently inhibited this entire panel of INSTI-

 resistant mutants with EC50 values below 5 nM, which was comparable to DTG. … Most of the

 INST-resistant single mutants in this panel caused significant drops in susceptibility to the first

 generation INSTIs, RAL and EVG[.]” VIIVUS00001366-383 at -369. DTG performed slightly

 better than BIC for a handful of mutants. Id. (“Based on the data obtained with the mutants in this

 panel, DTG was better than CAB and BIC … DTG was significantly better than CAB against six

 of the mutants and better than BIC against four mutants.”). However, as a whole, DTG and BIC

 demonstrated similar efficacy against the site-directed mutants tested in Panel 2.

        423.    BIC had an EC50 against the Q146L mutant virus that was slightly higher than 5

 nM (5.2 ± 1.3 nM), and slightly higher than that of DTG (2.1 ± 0.8 nM). Smith 2018 Supplement,

 Table S2A. In my opinion, these differences are insubstantial.

        424.    DTG and BIC performed similarly in Panel 2 and markedly better than RAL and

 EVG. In Smith 2018, DTG and BIC exhibited similar efficacy against site-directed mutant viruses

 as a whole, suggesting that DTG and BIC have similar resistance profiles and markedly better


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 resistance profiles than first-generation INSTIs. This further supports my opinion that the in vitro

 data of DTG and BIC are insubstantially different from one another.

        425.    Panel 3, Double-Mutants with Primary Mutation at Q148 – Figure 5, Table

 S3. In the third panel, Smith 2018 tested double-mutants with a primary mutation at Q148

 (H/K/R), or Y143R or N155H and a secondary mutation at E138 (A/K) or G140 (A/C/S).

 VIIVUS00001366-383 at -372, Figure 5; Smith 2018 Supplement, Table S3A. DTG and BIC both

 inhibited G140A/Q148H, Y143R/Q148H, Q148H/N155H, G140S/Q148K, E138A/Q148R,

 E138K/Q148R, and G140C/Q148R.




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                                    Smith 2018 at 7 Figure 5.




                              Smith 2018 Supplement, Table S3A.

        426.   According to Smith 2018, DTG and BIC had EC50 values against the G140S/Q148R

 mutant virus that were numerically statistically different from one another, with an associated p

 value of 0.008 reported. Smith 2018 Supplement, Table S3A (reporting EC50 values for BIC and

 DTG against G140S/Q148R) and Table S3B (reporting BIC > DTG and a p value of 0.008 for

 G140S/Q148R).




 Compare Smith 2018, Table S3 with Margot 2019 at 2191-2192                              While it

 is not uncommon for scientists to run an assay only 3 or 4 times, the great data disparity here

 suggests to me that the Smith 2018 assay methodology and/or the limited number of times the

 assay was run (n=4) may be the cause. For example, if Smith 2018 had conducted more runs or

 used Gilead’s assays, instead of his own, Smith 2018 may have reached a different conclusion.



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                                                                                     . Smith 201 8

 also ran assay panels on DTG against site-directed double-mutant G140S/Q148R, but Smith 201 8

 ran the panels only 4 times, and Smith 2018 produced ECso values ranging from 19.4 - 33 nM,

                                                         See VIIVUS00001366-383 at -372, Figure

 5; Smith Supplement, Table S3A.

                                                           G140S/Q148R
           ECso (nM)                                                        Smith 2018
             DTG                                                            19.4 - 33 nM
                                                                                (n=4)
               BIC                                                          4.8 - 7.4nM
                                                                                (n=4)

        427.    Less concentration ofDTG was required to inhibit Gl40A/Ql48R than BIC (DTG:

 4.1 ± 0.3 nM; BIC: 10.0 ± 2.5 nM), while less concentration of BIC was required to inhibit

 Q148R/N155H than DTG (DTG: 7.1 ± 2.0 nM; BIC: 2.0 ± 0.4 nM). VIIVUS00001366-383 at -

 372, Figure 5; Smith 2018 Supplement, Table S3A. In my opinion, the fact that sometimes less

 concentration of DTG is required to inhibit one mutant vims while sometimes less concentration

 of BIC is required to inhibit a different mutant vims does not create a substantial difference

 between the in vitro data. ofBIC and DTG.

        428.    Indeed, both DTG and BIC had instances where they were more effective than the

 other in this panel. VIIVUSOOOO 1366-383 at -369 ("BIC was significantly better than DTG against

 five of these double mutants . ... [H]owever, DTG was better than BIC for four of the mutants[.]").

        429.    The key point is that, overall, both DTG and BIC perfo1med similarly in Panel 3

 and markedly better than RAL and EVG. In Smith 2018, DTG and BIC exhibited similar efficacy



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 against site-directed mutant viruses as a whole, suggesting that DTG and BIC have similar

 resistance profiles and markedly better resistance profiles than first-generation INSTIs. This

 further supports my opinion that the in vitro data of DTG and BIC are insubstantially different

 from one another.

        430.   Panel 4, Double-Mutants with Primary Mutations at T66I and N155H – Figure

 6, Table S4. In the fourth panel, Smith 2018 tested the EVG-resistant double-mutant T66I/E157Q

 and INSTI-resistant double-mutants with a primary mutation at N155H and one of the following

 secondary mutations identified in the figure and table below. DTG and BIC both inhibited all

 Panel 4 strains: T661/E157Q, E92Q/N155H, G140S/N155H, Y143H/N155H, Y143R/N155H,

 and N155H/G163R. Smith 2018 Supplement at Table S6A.




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                                   24903




                                     Smith 2018 at 8 Figure 6.




                               Smith 2018 Supplement, Table S4A.

        431.    As illustrated in Figure 6 and Table S4, DTG and BIC performed similarly against

 these six mutant viruses, and markedly better than first-generation INSTIs. Indeed, Smith 2018

 reported a clear distinction in Panel 4 between first and second generation INSTIs: “The first

 generation INSTIs, RAL and EVG, failed to potently inhibit any of these double mutants. Based

 on this panel of mutants, the antiviral profiles of the three second generation INSTIs were similar

 to each other.” VIIVUS00001366-383 at -369.

        432.    In sum, both DTG and BIC performed similarly in Panel 4 and markedly better than

 RAL and EVG. In Smith 2018, DTG and BIC exhibited similar efficacy against site-directed

 mutant viruses as a whole, suggesting that DTG and BIC have similar resistance profiles and

 markedly better resistance profiles than first-generation INSTIs. This further supports my opinion

 that the in vitro data of DTG and BIC are insubstantially different from one another.




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        433.   Panel 5, Triple-Mutants with Primary Mutation Q148H/K/R – Figure 8, Table

 S5. In the fifth panel, Smith 2018 tested triple-mutants that included a primary mutation at Q148

 (H/K/R) with two additional mutations at primary or secondary positions, including:

 T97A/Y143R/Q148H, T97A/Q148H/N155H, E138K/G140A/Q148K, L74M/G140A/Q148R,

 L74M/G140C/Q148R, E138K/G140C/Q148R, and E138A/S147G/Q148R. VIIVUS00001366-

 383 at -375, Figure 8; Smith 2018 Supplement, Table S5A. DTG and BIC both inhibited at least

 T97A/Y143R/Q148H and T97A/Q148H/N155H. Smith 2018 Supplement at Table S6A.




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                                   Smith 2018 at 10, Figure 8.




                              Smith 2018 Supplement, Table SA5.

        434.   As illustrated in Figure 8 and Table S5, DTG and BIC performed similarly against

 these seven mutant viruses, and markedly better than first-generation INSTIs. Indeed, Smith 2018

 reported that “[o]verall, DTG and BIC showed similar antiviral profiles against these triple

 mutants.” VIIVUS00001366-383 at -371. They were both more effective than CAB. Id. Both

 DTG and BIC exhibited a slight loss in potency in the presence of the E138K/G140C/Q148R

 mutant. Id. Both DTG and BIC were also less potent against the L74M/G140A/Q148R triple

 mutant. Id. Neither DTG nor BIC performed well against E138K/G140A/Q148K (DTG: 212.1 ±

 46.0 nM; BIC: 223.0 ± 30.7 nM). Id.

        435.   In sum, both DTG and BIC performed similarly in Panel 5 and markedly better than

 RAL and EVG. In Smith 2018, DTG and BIC exhibited similar efficacy against site-directed

 mutant viruses as a whole, suggesting that DTG and BIC have similar resistance profiles and


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 markedly better resistance profiles than first-generation INSTIs. This further supports my opinion

 that the in vitro data of DTG and BIC are insubstantially different from one another.

        436.     Panel 6, Triple-Mutants with Primary Mutation at T66I and N155H – Figure

 9, Table S6. In the sixth panel, Smith 2018 tested triple-mutants that included T66I/T97A/E157Q,

 T97A/Y143R/N155H, G140S/Y143R/N155H, and E92Q/N155H/G163R. VIIVUS00001366-383

 at -376, Figure 9; Smith 2018 Supplement, Table S6A. DTG and BIC both inhibited at least

 T66I/T97A/E157Q, G140S/Y143R/N155H, and E92Q/N155H/G163R. Smith 2018 Supplement

 at Table S6A.




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                                    Smith 2018 at 11, Figure 9.




                                Smith 2018 Supplement, Table S6A

        437.     As illustrated in Figure 9 and Table S6, DTG and BIC performed nearly identically

 against these four mutant viruses and markedly better than first-generation INSTIs. Indeed, Smith

 2018 found that “DTG (0.5 ± 0.1 nM), BIC (0.4 ± 0.2 nM), and CAB (0.8 ± 0.1 nM) retained full

 potency against [T66I/T97A/E157Q].” VIIVUS00001366-383 at -372, -376, Figure 9; Smith 2018

 Supplement, Table S6. Smith 2018 further reported that “DTG, BIC, and CAB retained high

 antiviral potencies against the E92Q/N155H/G163R INSTI-resistant triple mutant (EC50 < 5 nM)”

 and that “[t]he G140S/Y143R/N155H triple mutant was susceptible to both DTG (2.6 ± 0.3 nM)

 and BIC (2.1 ± 0.1 nM), but it caused a moderate loss in potency to CAB (20.0 ± 3.5 nM).” Id.

 DTG and BIC were also more effective against the T97A/Y143R/N155H triple mutant than CAB.

 Id. (“Both DTG and BIC retained significant potency against the T97A/Y143R/N155H triple

 mutant, 8.5 ± 1.5 nM and 8.2 ± 1.7 nM, respectively, whereas CAB lost substantial potency (142.2

 ± 8.3 nM).”).

        438.     In sum, both DTG and BIC performed similarly in Panel 6 and markedly better than

 RAL and EVG. In Smith 2018, DTG and BIC exhibited similar efficacy against site-directed

 mutant viruses as a whole, suggesting that DTG and BIC have similar resistance profiles and




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 markedly better resistance profiles than first-generation INSTIs. This further supports my opinion

 that the in vitro data of DTG and BIC are insubstantially different from one another.

        439.    Panel 7, Triple-Mutants with Primary Mutation G140S/Q148H – Figure 10,

 Table S7. In the seventh panel, Smith 2018 tested triple-mutants that included the RAL-resistant

 G140S/Q148H double mutations with an additional mutation: T97A, E138A/K, Y143R, N155H,

 or G163K. VIIVUS00001366-383 at -377, Figure 10; Smith 2018 Supplement, Table S7A. As

 was the case throughout the Smith 2018 panels, first generation INSTIs, RAL and EVG, were

 ineffective against this panel. VIIVUS00001366-383 at -372.




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                                   Smith 2018 at 12, Figure 10.




                               Smith 2018 Supplement, Table S7A.

        440.    Neither DTG nor BIC were effective against T97A/G140S/Q148H. Smith 2018

 Supplement, Table S7; VIIVUS00001366-383 at -373. There was also a significant reduction in

 potency for both DTG and BIC against G140S/Q148H/N155H. Smith 2018 Supplement, Table

 S7.

        441.    Although Smith 2018 reported that “for this panel of mutants, BIC was more

 effective than DTG in retaining potency,” VIIVUS00001366-383 at -373, I believe that that

 conclusion contradicts other peer-reviewed literature and is not supported by the data presented,

 especially given the disparity in results between the Gilead and Smith 2018 data for the same site-

 directed mutations. Therefore, that finding does not alter my opinion that the in vitro data of DTG

 and BIC are insubstantially different from one another.

        442.    In sum, both DTG and BIC performed similarly in Panel 7 and markedly better than

 RAL and EVG. In Smith 2018, DTG and BIC exhibited similar efficacy against site-directed


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 mutant viruses as a whole, suggesting that DTG and BIC have similar resistance profiles and

 markedly better resistance profiles than first-generation INSTIs. This further supports my opinion

 that the in vitro data of DTG and BIC are insubstantially different from one another.

        443.    In conclusion, the data from Smith 2018 demonstrate that both DTG and BIC

 performed similarly in these 7 panels of site-directed mutant viruses, and markedly better than

 first-generation INSTIs. Thus, the data support my opinion that the in vitro data of DTG and BIC

 are insubstantially different from one another.

                iv.     ACTIVITY AGAINST PATIENT-DERIVED ISOLATES

        444.    Third parties conducted in vitro testing to measure the activity of DTG and BIC

 against integrase in patient-derived isolates. The data appear in third party publications and

 supplemental materials, including: Neogi 2018, Zhang 2018, and Saladini 2019.

        445.    This data supports my opinion that DTG and BIC similarly inhibit integrase strand-

 transfer, resulting in reduced HIV-1 replication. Moreover, this data supports my opinion that

 DTG and BIC perform similarly against patient-derived isolates and markedly better than first-

 generation INSTIs. Finally, this data supports my opinion that the in vitro data of DTG and BIC

 are insubstantially different from one another.

                        a.     Neogi 2018

        446.    Neogi 2018, also discussed infra, illustrates EC50 values in a drug sensitivity assay

 performed using recombinant HIV-1 subtype B (“HIV-1B”) (n=6), HIV-1C (n=14) and A-like

 (A1, 01_AE and 02_AG; n=4) viruses that were derived from INSTI naïve patients. See Neogi

 2018, VIIVUS00917200-207 at -200. It also provides an analysis of the integrase sequences from

 a patient cohort. Neogi 2018 at -203.

        447.    Drug Sensitivity Assay. According to the Neogi 2018 data, the median EC50 and

 EC50 interquartile ranges for RAL (5.31 (1.56-6.7)) and EVG (2.82 (1.69-5.39)) “were


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                    EXHIBIT E
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


     VIIV HEALTHCARE COMPANY,
     SHIONOGI & CO., LTD., and VIIV
     HEALTHCARE UK (NO. 3)                   C.A. No.1:18-cv-00224-CFC-CJB
     LIMITED,
                                             JURY TRIAL DEMANDED
         Plaintiffs,

         v.
     GILEAD SCIENCES, INC.,

         Defendant.



                  REPLY EXPERT REPORT OF ALAN ENGELMAN, PH.D.
                 CONCERNING INSUBSTANTIAL DIFFERENCES BETWEEN
                         DOLUTEGRAVIR AND BICTEGRAVIR




    Dated: February 5, 2020
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        74.     The lack of substantive discussion or analysis by Drs. Richman, Cullen,

 MacMillan, Taft, and Reynolds further supports my opinions. For example, Drs. Richman and

 Cullen hastily address each of the studies that I analyzed in my Opening Report without explaining

 why any of the alleged differences that they identied are substantial. The lack of substantive

 discussion in these reports further supports my opinion that there are no significant differences

 between the in vitro data of DTG and BIC.

                       1.      SMITH 2018

        75.     Of the in vitro data that they considered, Dr. Richman and Dr. Cullen spend a

 substantial portion of their reports discussing Smith 2018. Smith 2018 is a peer-reviewed

 publication from Retrovirology that came out of the laboratory of Dr. Stephen Hughes.

        76.     Dr. Stephen Hughes is a Senior Investigator at the NIH in the HIV Dynamics and

 Replication Program.       Stephen H. Hughes, Ph.D., NATIONAL INSTITUTES            OF   HEALTH,

 https://irp.nih.gov/pi/stephen-hughes (last visited February 1, 2020). Dr. Hughes is a good friend

 of mine, and I overall have great respect for his work. We have collaborated together many times

 over the years, yielding a total of 6 joint publications. See, e.g., Vasudevan Achuthan et al.,

 Capsid-CPSF6 Interaction Licenses Nuclear HIV-1 Trafficking to Sites of Viral DNA Integration,

 24 CELL HOST MICROBE 392 (2018); Yasuhiro Koh et al., Differential Effects of Human

 Immunodeficiency Virus Type 1 Capsid and Cellular Factors Nucleoporin 153 and LEDGF/p75

 on the Efficiency and Specificity of Viral DNA Integration, 87 J. VIROLOGY 648 (2013); Hao Wang

 et al., HRP2 Determines the Efficacy and Specificity of HIV-1 Integration in LEDGF/p75 Knockout

 Cells but does not Contribute to the Antiviral Activity of a Potent LEDGF/p75-Binding Site

 Integrase Inhibitor 40 NUCLEIC ACIDS RESEARCH 11518 (2012); Zandrea Ambrose et al., Human

 Immunodeficiency Virus Type 1 Capsid Mutation N74D Alters Cyclophiliin A Dependence and

 Impairs Macrophage Infection, 86 J. VIROLOGY 4708 (2012); Kyeong Eun Lee et al., Flexible Use


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 of Nuclear Import Pathways by HIV-I, 7       CELL   HosT MICROBE 221 (2010); Andrea L. Ferris, et

 al., Lens Epithelium-Derived Growth Factor Fusion Proteins Redirect HIV-I DNA Integration,

  107 PR.oc. NATL. AcAD. SCI. USA 3135 (2010).

        77.      I addressed Smith 2018 in my Opening Report.            Engelman Rpt. 'i['i[ 184-185

 (discussing Smith 2018 assay methodology), 'if'il 408-443 (discussing Smith 2018 and Smith 2018

 Supplement).

        78.      Dr. Richman and Dr. Cullen accuse me of "criticizing" Dr. Hughes's work in my

 Opening Report, which is simply untrue. I merely conducted a rigorous analysis of the Smith 2018

 publication and underlying data, as I systematically do when reviewing articles. I believe that it

 is important to acknowledge inaccuracies and possible errors, as well as place the data in the

 appropriate context by considering other information that is available to me through the published

 literature. Through a close reading of the Smith 2018 article, I have identified 32 typographical

 errors, which in some cases precludes the interpretation of the data (as discussed below). Although

 one or 2 typographical errors is not uncommon in a published study such as Smith 2018, 32 seems

 exceptionally high to me. I am of the opinion that Dr. Hughes and colleagues neglected to carefully

 read the paper as it went through the publication process at the journal Retrovirology, which

 precludes the interpretation of some of the data and may call into question the accuracy of other

 data that is not necessarily linked to obvious typographical error.

                                 a.      There Are Meaningful Errors In Smith 2018 That Would
                                         Cause A Person Of Skill To Doubt Its Accuracy.

        79.      In Dr. Cullen's opinion, "there is nothing that would cause a person of skill to doubt

 the accuracy or reliability of Smith 2018 's results                  ." Cullen Rpt. 'if 77. However,

 with respect to the Smith 2018 manuscript, I disagree. I have identified a number of errors that




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 call the data and conclusions in Smith 2018 into question and suggest that the authors did not

 consider these errors in formulating their conclusions.

        80.     For example, Smith 2018 states that the bridged A-ring of “BIC is more flexible,

 which would allow it to be more conformationally adaptable.” Smith 2018, VIIVUS00001366-

 383 at -376. Smith 2018 further explains that “[t]he greater flexibility of the extended ring system

 of BIC may help it adapt to changes in the geometry in the IN active site, allowing BIC to overcome

 many of the known IN resistance mutations.” Smith 2018, VIIVUS00001366-383 at -376. Dr.

 Reynolds adopts the “greater flexibility” argument in Smith 2018. Reynolds Rpt. ¶ 63 (“I

 hypothesize that the spherical shape [of BIC] may be responsible for the ‘greater flexibility’ of the

 BIC A-ring described in the Smith et al. paper.”). Similarly, Dr. Richman reviewed Dr. Reynolds’s

 report and concluded that Dr. Reynolds’s report and comments from Dr. Cherepanov supported

 his opinion. Richman Rpt. ¶ 156. I disagree. In my opinion, Dr. Cherepanov’s email does not

 support the conclusions that Dr. Reynolds is drawing regarding flexibility. Moreover, as I discuss

 above, it is my understanding that the addition of a bridge to the A-ring, as in BIC, makes the ring

 structures less flexible, not more flexible. Wipf Opening Rpt. ¶¶ 423-424. As discussed above,

 our data from the SIVrcm system further supports this point, as analog 1 lacking the A-ring

 maintained full second-generation INSTI potency against wild type HIV-1 but was 80-fold less

 potent in its ability to inhibit infection of the HIV-1 Q148H/G140S INSTI resistant virus. See

 supra Section VI.A. Dr. Cherepanov agrees. Cherepanov Email ¶ 9, BICVIIVUS3029295-296 at

 -295 (“The contacts with Gly118-Asn117 make the compound[s] more still in the active site.”);

 Cook 2020 at 2, 3 (“DTG and BIC intimately contact the backbone atoms of Asn 117 and Gly118

 from the IN β4-α2 connector, making respectively 8 and 12 contacts with interatomic distances ≤

 5 Å.” “We note that although DTG and BIC maximally extend to the β4-α2 connector, they leave




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 substantial free space in the IN active site, which is occupied by solute molecules in our structures

 (movie S1).” (emphasis added)).

        81.     As another example, Smith 2018 concludes in part that “only BIC potently inhibited

 the well-known RAL-resistant IN double mutant G140S/Q148H and the DTG-resistant IN mutants

 G118R…with EC50 values < 5 nM.” Smith 2018 at 3; Richman Rpt. ¶ 146. I disagree. Regarding

 G140S/Q148H, the Smith 2018 supplemental materials reveal that both DTG and BIC had EC50

 values > 5 nM, and, contrary to the main text statement, the difference between these values was

 not statistically significant (DTG: 5.8 ± 0.5 nM; BIC: 5.5 ± 0.7 nM); indeed, these values indicate

 that both compounds have similar potency against this mutant virus. Supplement to Steven J.

 Smith et al., Efficacies of Cabotegravir and Bictegravir Against Drug Resistant HIV-1 Integrase

 Mutants,       15      Retrovirology        1,      1            (2018),             accessible       at

 https://staticcontent.springer.com/esm/art%3A10.1186%                                       2Fs12977-

 01804207/MediaObjects/12977_2018_420_MOESM1_ESM.pdf), VIIVUS15547175-181 at -175

 (“Smith 2018 Supplement”). Similarly, regarding G118R, the Smith 2018 supplemental materials

 indicate that both DTG and BIC had EC50 values > 5 nM, and the difference between these values

 was not statistically significant (DTG: 13.0 ± 5.0, 8.1 FC3; BIC: 5.4 ± 0.6, 2.8 FC). Smith 2018

 Supplement, VIIVUS15547175-181 at -175. However, the lack of precision in presentation style

 makes it entirely unclear whether DTG and BIC potencies differed in a statistically meaningful

 manner for the G118R mutant. In addition to the Supplemental Tables provided with the article,

 Smith 2018 compiled results of statistical analyses in Figures 3 and 7 of the main paper. Figure 3

 itself harbors numerous errors, as the notations to actual Figures 4, 5, 6, 8, 9, and 10 are erroneously




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   I calculated the fold change values by dividing the EC50 value for the mutant by the EC50 value
 for wild-type. See Smith 2018 Supplement, VIIVUS15547175-181.


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 tabulated as Figures 3, 4, 5, 6, 7, and 8, respectively. Nevertheless, with respect to the Figure 3

 data, DTG and BIC are not listed as having significantly different potencies against the G118R

 mutant virus. Consistent with this interpretation, Smith 2018 Supplement at Table S1B lists:

 “G118R BIC > DTG NS [not significant].” However, elsewhere in the Supplemental Tables, “ >

 ” is meant to indicate that there is a statistically relevant difference. One therefore is forced to read

 between the lines as to whether there is or is not a statistically significant difference in DTG and

 BIC potencies with respect to inhibition of the G118R mutant virus in the Smith 2018 paper. In

 my opinion, based on the preponderance of evidence reported in Figure 3 and Supplemental Table

 1B of the Smith 2018 article, the potencies of DTG and BIC against G118R do not differ from one

 another in a meaningful way. The G118R mutation conferred partial resistance to both DTG and

 BIC, and both BIC and DTG inhibited G118R mutant viral infection at similar potencies. See

 Engelman Rpt. ¶ 417 (citing Smith 2018 Supplement at Table S1A;); see Richman Rpt. ¶ 148. The

 inconsistent reporting of DTG and BIC potencies and significance values against the important

 Q148H/G140S and G118R mutant viruses are some of the more troubling issues identified within

 Smith 2018. Especially with regards to Q148H/G140S, Smith 2018’s own data does not support

 its ultimate conclusion. These and other errors surely call into question underlying aspects of the

 statistical analysis and conclusions reached in Smith 2018.

                                 b.      Despite These Errors, Dr. Richman And Dr. Cullen Fully
                                         Adopt The Statistical Analysis And Conclusions In Smith
                                         2018 And Criticize My Common Sense Approach To The
                                         Analysis.

         82.     Dr. Richman and Dr. Cullen fully adopt the statistical analysis in Smith 2018,

 highlighting that “[t]he p value cut-offs used in Smith 2018 are rigorous” and concluding that “Dr.

 Hughes identified a large number of statistically significant differences between bictegravir and

 dolutegravir’s in vitro assay profiles, even at very high levels of statistical rigor.” Richman Rpt.



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                                CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that true and correct copies of the foregoing

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